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                                        Measured    Processing   Processing      Processing      Processing
                                        Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                        Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area      District        Ballot      Ballot       Ballot          Ballot          Ballot
              Capital
 10/24/2020   Metro     Atlanta             17330       84.89%        95.35%          98.71%         98.92%
              Capital
 10/24/2020   Metro     Baltimore           10410       84.21%        89.82%          93.51%         95.63%
              Capital
 10/24/2020   Metro     Capital             14952       92.98%        97.24%          98.20%         98.44%
              Capital   Greater S
 10/24/2020   Metro     Carolina            11936       92.25%        97.52%          98.93%         99.07%
              Capital
 10/24/2020   Metro     Greensboro          15761       83.60%        89.68%          96.57%         96.77%
              Capital
 10/24/2020   Metro     Mid-Carolinas       11164       90.56%        96.01%          97.65%         97.81%
              Capital   Norther
 10/24/2020   Metro     Virginia            11774       91.55%        95.32%          96.81%         96.98%
              Capital
 10/24/2020   Metro     Richmond             9994       92.46%        97.16%          98.67%         98.74%

 10/24/2020 Eastern     Appalachian          1932       58.85%        62.47%          63.41%         63.82%

                        Central
 10/24/2020 Eastern     Pennsylvania        28344       78.46%        90.50%          98.91%         99.36%

 10/24/2020 Eastern     Kentuckiana           734       37.60%        49.86%          52.86%         53.95%

 10/24/2020 Eastern     Norther Ohio        35407       91.84%        98.73%          99.44%         99.47%

 10/24/2020 Eastern     Ohio Valley         25323       95.08%        98.68%          99.36%         99.40%

                        Philadelphia
 10/24/2020 Eastern     Metropo             18137       91.55%        95.09%          98.90%         99.13%

 10/24/2020 Eastern     South Jersey        21338       95.54%        97.48%          98.22%         98.70%

 10/24/2020 Eastern     Tennessee            3207       88.74%        96.41%          98.66%         98.66%

                        Western New
 10/24/2020 Eastern     York                10333       96.20%        98.29%          99.27%         99.27%
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                                           Measured    Processing   Processing      Processing      Processing
                                           Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                           Inbound     Inbound      Inbound         Inbound         3: Inbound
Date         Area         District         Ballot      Ballot       Ballot          Ballot          Ballot

                          Western
 10/24/2020 Eastern       Pennsylvania         34031       98.08%        99.17%          99.72%         99.73%

 10/24/2020 Great Lakes Central Illinois       17965       89.89%        94.03%          96.85%         98.99%

 10/24/2020 Great Lakes Chicago                11581       90.71%        91.97%          92.56%         95.81%

 10/24/2020 Great Lakes Detroit                 5811       74.05%        92.63%          97.37%         98.14%

 10/24/2020 Great Lakes Gateway                 9036       93.46%        97.08%          98.05%         98.15%
                        Greater
 10/24/2020 Great Lakes Indiana                  946       72.41%        91.75%          98.63%         98.63%
                        Greater
 10/24/2020 Great Lakes Michigan                6128       91.66%        96.88%          97.99%         98.01%

 10/24/2020 Great Lakes Lakeland                1883       81.73%        93.73%          95.65%         95.91%

 10/24/2020 Northeast     Albany                9972       95.19%        98.44%          99.22%         99.27%

 10/24/2020 Northeast     Caribbean             9670       99.63%        99.89%          99.92%         99.92%

                          Connecticut
 10/24/2020 Northeast     Valley               12229       95.55%        97.74%          98.63%         98.80%
                          Greater
 10/24/2020 Northeast     Boston               40938       96.03%        98.45%          99.02%         99.04%

 10/24/2020 Northeast     Long Island          14887       96.61%        98.34%          98.81%         98.86%

 10/24/2020 Northeast     New York              7336       91.15%        95.16%          99.17%         99.43%

                          Northern New
 10/24/2020 Northeast     England               1472       76.56%        94.16%          99.18%         99.18%

                          Northern New
 10/24/2020 Northeast     Jersey               30568       96.50%        97.68%          98.05%         98.11%

 10/24/2020 Northeast     Triboro               5767       83.09%        85.76%          86.58%         86.68%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/24/2020 Northeast    Westchester           8540       92.76%        95.94%          97.31%         97.45%

 10/24/2020 Pacific      Bay-Valley           58733       98.43%        99.12%          99.29%         99.31%
 10/24/2020 Pacific      Honolulu             26641       97.22%        98.96%          99.17%         99.25%

 10/24/2020 Pacific      Los Angeles          55431       98.59%        99.16%          99.38%         99.38%

 10/24/2020 Pacific      Sacramento           58967       96.75%        99.28%          99.35%         99.37%

 10/24/2020 Pacific      San Diego            90880       98.85%        99.49%          99.66%         99.66%

 10/24/2020 Pacific      San Francisco        36290       98.32%        99.17%          99.45%         99.47%

 10/24/2020 Pacific      Santa Ana            45991       99.02%        99.61%          99.75%         99.76%

 10/24/2020   Pacific    Sierra Coastal       32415       98.49%        99.35%          99.58%         99.59%
 10/24/2020   Southern   Alabama                620       65.65%        92.26%          96.61%         96.61%
 10/24/2020   Southern   Arkansas               761       91.46%        96.32%          98.55%         98.55%
 10/24/2020   Southern   Dallas                3105       94.59%        97.81%          98.58%         98.65%

 10/24/2020 Southern     Ft. Worth             1887       90.04%        94.70%          96.08%         96.13%

 10/24/2020 Southern     Gulf Atlantic        18641       90.81%        96.31%          98.68%         98.78%
 10/24/2020 Southern     Houston               2696       84.64%        89.50%          91.58%         91.73%

 10/24/2020 Southern     Louisiana              561       77.18%        90.73%          98.04%         98.04%

 10/24/2020 Southern     Mississippi            469       85.50%        95.10%          98.51%         98.51%

 10/24/2020 Southern     Oklahoma               385       75.32%        91.69%          97.40%         97.40%

 10/24/2020 Southern     Rio Grande            3433       91.09%        95.22%          98.11%         98.11%

 10/24/2020   Southern   South Florida         9778       92.91%        96.32%          98.65%         98.66%
 10/24/2020   Southern   Suncoast             47876       96.63%        98.55%          99.25%         99.26%
 10/24/2020   Western    Alaska                4101       79.59%        88.03%          89.32%         89.61%
 10/24/2020   Western    Arizona             121164       97.56%        99.35%          99.48%         99.53%
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                                       Measured    Processing   Processing      Processing      Processing
                                       Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                       Inbound     Inbound      Inbound         Inbound         3: Inbound
Date        Area      District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/24/2020 Western   Central Plains        7267       96.72%        98.53%          99.04%         99.04%

                      Colorado/Wyo
 10/24/2020 Western   ming                 20592       69.94%        89.58%          91.89%         91.97%
 10/24/2020 Western   Dakotas              10696       96.23%        99.09%          99.70%         99.70%
 10/24/2020 Western   Hawkeye              13338       95.25%        98.03%          98.49%         98.53%

 10/24/2020 Western   Mid-Americas          8549       93.81%        97.58%          99.33%         99.49%

 10/24/2020 Western   Nevada Sierra        24281       97.86%        99.44%          99.67%         99.70%

 10/24/2020 Western   Northland             6158       97.30%        99.40%          99.71%         99.71%
 10/24/2020 Western   Portland             98843       92.49%        99.09%          99.37%         99.40%

 10/24/2020 Western   Salt Lake City       39858       98.78%        99.54%          99.75%         99.81%
 10/24/2020 Western   Seattle              97905       97.75%        99.07%          99.36%         99.42%
            Capital
 10/26/2020 Metro     Atlanta              18005       89.44%        94.66%          97.46%         98.51%
            Capital
 10/26/2020 Metro     Baltimore            18531       91.27%        95.61%          97.91%         99.00%
            Capital
 10/26/2020 Metro     Capital              14799       93.21%        97.13%          98.89%         99.24%
            Capital   Greater S
 10/26/2020 Metro     Carolina             12565       87.10%        93.55%          96.93%         98.30%
            Capital
 10/26/2020 Metro     Greensboro           17827       82.71%        94.01%          96.31%         97.02%
            Capital
 10/26/2020 Metro     Mid-Carolinas        11441       86.12%        93.56%          95.01%         95.58%
            Capital   Norther
 10/26/2020 Metro     Virginia             19824       93.50%        97.23%          97.78%         98.12%
            Capital
 10/26/2020 Metro     Richmond             15749       91.18%        96.08%          97.58%         98.21%

 10/26/2020 Eastern   Appalachian           3070       74.89%        81.30%          82.31%         82.67%

                      Central
 10/26/2020 Eastern   Pennsylvania         53225       78.76%        92.10%          99.30%         99.49%
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                                           Measured    Processing   Processing      Processing      Processing
                                           Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                           Inbound     Inbound      Inbound         Inbound         3: Inbound
Date         Area         District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/26/2020 Eastern       Kentuckiana            914       64.55%        71.99%          74.40%         76.59%

 10/26/2020 Eastern       Norther Ohio         45561       92.64%        97.97%          98.62%         98.86%

 10/26/2020 Eastern       Ohio Valley          30988       94.80%        98.56%          99.12%         99.41%

                          Philadelphia
 10/26/2020 Eastern       Metropo              48371       93.03%        95.80%          97.39%         97.78%

 10/26/2020 Eastern       South Jersey         17535       90.88%        94.47%          95.73%         96.37%

 10/26/2020 Eastern       Tennessee             8691       92.82%        97.25%          98.60%         98.92%

                          Western New
 10/26/2020 Eastern       York                 15455       96.60%        98.65%          99.06%         99.18%

                          Western
 10/26/2020 Eastern       Pennsylvania         41674       97.26%        98.87%          99.33%         99.43%

 10/26/2020 Great Lakes Central Illinois       28945       94.36%        97.62%          98.45%         98.77%

 10/26/2020 Great Lakes Chicago                20128       87.63%        93.06%          94.26%         94.81%

 10/26/2020 Great Lakes Detroit                12486       73.60%        93.01%          96.82%         98.06%

 10/26/2020 Great Lakes Gateway                14960       93.18%        95.74%          96.97%         97.25%
                        Greater
 10/26/2020 Great Lakes Indiana                 3008       79.72%        93.85%          96.71%         98.74%
                        Greater
 10/26/2020 Great Lakes Michigan               14148       87.29%        96.85%          98.32%         98.54%

 10/26/2020 Great Lakes Lakeland                3359       87.44%        93.24%          95.86%         98.21%

 10/26/2020 Northeast     Albany               22560       96.32%        98.70%          99.26%         99.43%

 10/26/2020 Northeast     Caribbean             4885       98.67%        99.65%          99.77%         99.82%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

                         Connecticut
 10/26/2020 Northeast    Valley               30949       94.79%        96.83%          97.34%         97.72%
                         Greater
 10/26/2020 Northeast    Boston               74158       96.96%        98.66%          98.96%         99.17%

 10/26/2020 Northeast    Long Island          19994       96.02%        97.68%          98.02%         98.24%

 10/26/2020 Northeast    New York             50926       96.49%        98.33%          98.91%         99.05%

                         Northern New
 10/26/2020 Northeast    England               2476       84.41%        92.89%          96.81%         99.23%

                         Northern New
 10/26/2020 Northeast    Jersey               30033       96.76%        98.05%          98.32%         98.46%

 10/26/2020 Northeast    Triboro              14115       89.13%        91.12%          91.85%         92.04%

 10/26/2020 Northeast    Westchester          14707       94.53%        97.42%          97.89%         98.09%

 10/26/2020 Pacific      Bay-Valley           49831       96.85%        98.04%          98.28%         98.39%
 10/26/2020 Pacific      Honolulu             23767       94.72%        97.46%          97.84%         97.88%

 10/26/2020 Pacific      Los Angeles          42125       96.39%        97.45%          97.98%         98.22%

 10/26/2020 Pacific      Sacramento           46644       97.07%        97.92%          98.09%         98.14%

 10/26/2020 Pacific      San Diego            75559       98.07%        99.29%          99.57%         99.64%

 10/26/2020 Pacific      San Francisco        36399       97.83%        98.83%          99.05%         99.13%

 10/26/2020 Pacific      Santa Ana            35113       97.65%        99.01%          99.36%         99.46%

 10/26/2020   Pacific    Sierra Coastal       34953       97.96%        98.64%          98.87%         98.99%
 10/26/2020   Southern   Alabama               1302       74.19%        92.63%          97.24%         98.16%
 10/26/2020   Southern   Arkansas              1292       91.95%        97.21%          98.45%         99.61%
 10/26/2020   Southern   Dallas                3465       91.98%        97.00%          98.44%         98.67%

 10/26/2020 Southern     Ft. Worth             2262       88.68%        92.00%          93.10%         93.28%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/26/2020 Southern     Gulf Atlantic        17639       85.83%        94.26%          96.49%         97.27%
 10/26/2020 Southern     Houston              10599       90.23%        95.71%          96.81%         97.29%

 10/26/2020 Southern     Louisiana             1217       74.03%        88.17%          94.91%         97.29%

 10/26/2020 Southern     Mississippi            679       73.93%        86.89%          95.29%         98.09%

 10/26/2020 Southern     Oklahoma               761       77.92%        91.59%          95.80%         98.29%

 10/26/2020 Southern     Rio Grande            4308       87.74%        94.27%          96.49%         98.58%

 10/26/2020   Southern   South Florida         7053       90.40%        96.21%          98.03%         98.67%
 10/26/2020   Southern   Suncoast             45685       94.38%        96.93%          97.78%         98.24%
 10/26/2020   Western    Alaska                4347       82.54%        89.90%          92.48%         92.71%
 10/26/2020   Western    Arizona              95042       97.90%        99.10%          99.47%         99.62%

 10/26/2020 Western      Central Plains        9837       90.81%        93.16%          94.40%         94.67%

                         Colorado/Wyo
 10/26/2020 Western      ming                 31817       61.45%        78.91%          84.32%         86.41%
 10/26/2020 Western      Dakotas              10329       94.98%        97.88%          98.65%         98.96%
 10/26/2020 Western      Hawkeye              28066       97.57%        98.63%          99.05%         99.14%

 10/26/2020 Western      Mid-Americas         10582       86.68%        97.51%          98.67%         99.08%

 10/26/2020 Western      Nevada Sierra        19331       87.15%        89.31%          89.80%         89.98%

 10/26/2020 Western      Northland             5418       92.23%        97.29%          98.27%         99.04%
 10/26/2020 Western      Portland             83842       97.24%        98.49%          99.04%         99.23%

 10/26/2020 Western      Salt Lake City       36892       97.83%        99.15%          99.42%         99.76%
 10/26/2020 Western      Seattle              80239       96.26%        98.18%          98.69%         98.88%
            Capital
 10/27/2020 Metro        Atlanta              10340       39.68%        97.79%          98.72%         99.20%
            Capital
 10/27/2020 Metro        Baltimore             6906       85.04%        96.41%          97.81%         99.06%
            Capital
 10/27/2020 Metro        Capital              15659       88.95%        98.72%          99.00%         99.36%
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                                           Measured    Processing   Processing      Processing      Processing
                                           Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                           Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area        District         Ballot      Ballot       Ballot          Ballot          Ballot
              Capital     Greater S
 10/27/2020   Metro       Carolina             12358       79.98%        97.97%          98.80%         99.26%
              Capital
 10/27/2020   Metro       Greensboro           15839       75.50%        93.79%          95.69%         98.32%
              Capital
 10/27/2020   Metro       Mid-Carolinas        13457       70.49%        95.04%          95.89%         96.16%
              Capital     Norther
 10/27/2020   Metro       Virginia              2476       60.74%        89.58%          91.48%         92.53%
              Capital
 10/27/2020   Metro       Richmond              7021       82.57%        97.31%          98.09%         98.59%

 10/27/2020 Eastern       Appalachian           1007       49.45%        81.43%          86.89%         89.77%

                          Central
 10/27/2020 Eastern       Pennsylvania         15337       56.16%        95.72%          97.88%         99.20%

 10/27/2020 Eastern       Kentuckiana            367       55.59%        82.56%          86.65%         87.74%

 10/27/2020 Eastern       Norther Ohio         34974       91.43%        98.95%          99.30%         99.35%

 10/27/2020 Eastern       Ohio Valley          29215       94.81%        98.14%          99.61%         99.68%

                          Philadelphia
 10/27/2020 Eastern       Metropo              29503       96.06%        98.66%          99.18%         99.65%

 10/27/2020 Eastern       South Jersey         29801       96.71%        99.12%          99.24%         99.35%

 10/27/2020 Eastern       Tennessee             6287       91.97%        98.66%          99.20%         99.55%

                          Western New
 10/27/2020 Eastern       York                 17060       98.19%        99.51%          99.60%         99.63%

                          Western
 10/27/2020 Eastern       Pennsylvania         43583       97.25%        99.58%          99.67%         99.89%

 10/27/2020 Great Lakes Central Illinois       18769       85.02%        93.71%          96.76%         99.23%

 10/27/2020 Great Lakes Chicago                15529       90.04%        92.99%          93.41%         93.59%
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                                       Measured    Processing   Processing      Processing      Processing
                                       Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                       Inbound     Inbound      Inbound         Inbound         3: Inbound
Date         Area       District       Ballot      Ballot       Ballot          Ballot          Ballot

 10/27/2020 Great Lakes Detroit             4987       48.63%        93.48%          97.33%         98.03%

 10/27/2020 Great Lakes Gateway             2595       80.00%        95.22%          96.69%         97.38%
                        Greater
 10/27/2020 Great Lakes Indiana              903       40.64%        91.03%          94.80%         98.34%
                        Greater
 10/27/2020 Great Lakes Michigan            3785       55.01%        96.46%          97.99%         98.65%

 10/27/2020 Great Lakes Lakeland             729       52.54%        79.97%          83.13%         85.46%

 10/27/2020 Northeast   Albany              3825       82.33%        97.80%          98.25%         98.51%

 10/27/2020 Northeast   Caribbean          10197       99.57%        99.87%          99.93%         99.97%

                        Connecticut
 10/27/2020 Northeast   Valley              2061       75.25%        94.03%          95.88%         96.51%
                        Greater
 10/27/2020 Northeast   Boston             24869       93.70%        99.28%          99.55%         99.63%

 10/27/2020 Northeast   Long Island        14681       97.16%        98.53%          98.67%         98.73%

 10/27/2020 Northeast   New York           25905       94.94%        98.89%          99.24%         99.34%

                        Northern New
 10/27/2020 Northeast   England              525       54.29%        91.81%          95.05%         97.33%

                        Northern New
 10/27/2020 Northeast   Jersey             45985       97.51%        99.37%          99.42%         99.49%

 10/27/2020 Northeast   Triboro            14824       95.52%        96.51%          96.63%         96.64%

 10/27/2020 Northeast   Westchester         2090       70.43%        93.64%          94.26%         94.31%

 10/27/2020 Pacific     Bay-Valley        102048       99.08%        99.60%          99.64%         99.64%
 10/27/2020 Pacific     Honolulu           29231       96.43%        99.67%          99.79%         99.84%

 10/27/2020 Pacific     Los Angeles        83720       99.22%        99.61%          99.67%         99.70%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/27/2020 Pacific      Sacramento           84978       97.93%        98.92%          98.94%         98.98%

 10/27/2020 Pacific      San Diego           156005       99.13%        99.82%          99.90%         99.92%

 10/27/2020 Pacific      San Francisco        68141       99.33%        99.72%          99.77%         99.79%

 10/27/2020 Pacific      Santa Ana            65500       99.14%        99.70%          99.75%         99.76%

 10/27/2020   Pacific    Sierra Coastal       54310       98.72%        99.43%          99.46%         99.49%
 10/27/2020   Southern   Alabama                529       50.85%        89.79%          95.46%         97.35%
 10/27/2020   Southern   Arkansas               259       66.02%        92.28%          94.98%         95.37%
 10/27/2020   Southern   Dallas                2032       85.19%        97.19%          98.38%         99.02%

 10/27/2020 Southern     Ft. Worth              716       73.74%        89.25%          91.20%         92.46%

 10/27/2020 Southern     Gulf Atlantic        16084       84.80%        97.86%          98.76%         99.14%
 10/27/2020 Southern     Houston               1637       74.95%        91.02%          92.06%         93.40%

 10/27/2020 Southern     Louisiana              462       63.42%        93.29%          95.45%         97.19%

 10/27/2020 Southern     Mississippi            648       83.95%        98.15%          98.46%         99.07%

 10/27/2020 Southern     Oklahoma               353       60.34%        87.82%          91.78%         98.30%

 10/27/2020 Southern     Rio Grande            3186       84.46%        96.52%          98.09%         98.84%

 10/27/2020   Southern   South Florida        11024       94.50%        98.81%          99.12%         99.34%
 10/27/2020   Southern   Suncoast             62477       97.13%        99.20%          99.49%         99.63%
 10/27/2020   Western    Alaska                3543       81.23%        93.73%          94.98%         95.17%
 10/27/2020   Western    Arizona             166638       98.35%        99.74%          99.80%         99.86%

 10/27/2020 Western      Central Plains        8075       95.62%        98.54%          98.72%         98.98%

                         Colorado/Wyo
 10/27/2020 Western      ming                 28379       77.12%        90.99%          93.32%         95.40%
 10/27/2020 Western      Dakotas              11656       92.66%        99.26%          99.50%         99.71%
 10/27/2020 Western      Hawkeye              20590       97.70%        99.04%          99.18%         99.25%
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                                       Measured    Processing   Processing      Processing      Processing
                                       Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                       Inbound     Inbound      Inbound         Inbound         3: Inbound
Date        Area      District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/27/2020 Western   Mid-Americas          9768       95.01%        99.21%          99.57%         99.73%

 10/27/2020 Western   Nevada Sierra        30872       97.69%        99.47%          99.67%         99.71%

 10/27/2020 Western   Northland             6702       95.48%        99.19%          99.42%         99.63%
 10/27/2020 Western   Portland            102037       97.79%        99.68%          99.84%         99.91%

 10/27/2020 Western   Salt Lake City       61571       88.99%        99.69%          99.80%         99.92%
 10/27/2020 Western   Seattle             136547       98.09%        99.65%          99.74%         99.77%
            Capital
 10/28/2020 Metro     Atlanta              18127       94.97%        96.49%          98.98%         99.24%
            Capital
 10/28/2020 Metro     Baltimore            16862       94.19%        94.80%          96.75%         99.42%
            Capital
 10/28/2020 Metro     Capital              17375       96.44%        96.99%          99.03%         99.36%
            Capital   Greater S
 10/28/2020 Metro     Carolina             13036       91.10%        92.42%          97.87%         98.32%
            Capital
 10/28/2020 Metro     Greensboro           22926       90.91%        91.63%          96.46%         97.18%
            Capital
 10/28/2020 Metro     Mid-Carolinas        15516       90.07%        91.22%          97.11%         97.53%
            Capital   Norther
 10/28/2020 Metro     Virginia             16389       97.03%        97.94%          98.82%         98.93%
            Capital
 10/28/2020 Metro     Richmond             16093       96.90%        97.66%          99.03%         99.23%

 10/28/2020 Eastern   Appalachian           1943       88.78%        89.29%          93.82%         93.88%

                      Central
 10/28/2020 Eastern   Pennsylvania         37819       83.25%        83.76%          98.90%         99.44%

 10/28/2020 Eastern   Kentuckiana            492       59.96%        64.84%          83.74%         84.96%

 10/28/2020 Eastern   Norther Ohio         46266       97.63%        97.98%          99.31%         99.36%

 10/28/2020 Eastern   Ohio Valley          27916       97.97%        98.34%          99.55%         99.79%
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                                           Measured    Processing   Processing      Processing      Processing
                                           Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                           Inbound     Inbound      Inbound         Inbound         3: Inbound
Date         Area         District         Ballot      Ballot       Ballot          Ballot          Ballot

                          Philadelphia
 10/28/2020 Eastern       Metropo              48472       96.70%        97.04%          98.90%         99.37%

 10/28/2020 Eastern       South Jersey         26594       97.45%        97.76%          98.29%         98.42%

 10/28/2020 Eastern       Tennessee             5605       94.08%        96.25%          99.18%         99.41%

                          Western New
 10/28/2020 Eastern       York                 16349       98.53%        99.25%          99.68%         99.72%

                          Western
 10/28/2020 Eastern       Pennsylvania         41157       98.52%        98.95%          99.80%         99.90%

 10/28/2020 Great Lakes Central Illinois       31272       96.12%        97.52%          99.09%         99.25%

 10/28/2020 Great Lakes Chicago                20434       95.89%        96.09%          97.18%         97.28%

 10/28/2020 Great Lakes Detroit                 6999       78.91%        81.91%          95.46%         98.27%

 10/28/2020 Great Lakes Gateway                11603       95.67%        96.59%          98.47%         98.57%
                        Greater
 10/28/2020 Great Lakes Indiana                 1554       86.16%        91.12%          96.98%         98.33%
                        Greater
 10/28/2020 Great Lakes Michigan                7955       95.50%        97.06%          99.01%         99.16%

 10/28/2020 Great Lakes Lakeland                2162       92.83%        94.54%          96.48%         96.76%

 10/28/2020 Northeast     Albany               22833       98.31%        98.62%          99.30%         99.44%

 10/28/2020 Northeast     Caribbean             7612       99.50%        99.57%          99.75%         99.79%

                          Connecticut
 10/28/2020 Northeast     Valley               13825       98.12%        98.37%          99.00%         99.09%
                          Greater
 10/28/2020 Northeast     Boston               66087       97.73%        98.26%          99.53%         99.62%

 10/28/2020 Northeast     Long Island          24045       99.00%        99.15%          99.45%         99.48%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/28/2020 Northeast    New York             24947       97.35%        98.16%          99.04%         99.27%

                         Northern New
 10/28/2020 Northeast    England                955       82.41%        87.64%          96.44%         96.96%

                         Northern New
 10/28/2020 Northeast    Jersey               43225       97.28%        97.39%          97.98%         98.05%

 10/28/2020 Northeast    Triboro              13782       88.14%        88.42%          88.62%         88.67%

 10/28/2020 Northeast    Westchester          17295       97.89%        98.14%          98.61%         98.65%

 10/28/2020 Pacific      Bay-Valley           83496       99.19%        99.34%          99.48%         99.52%
 10/28/2020 Pacific      Honolulu             39244       98.96%        99.23%          99.71%         99.80%

 10/28/2020 Pacific      Los Angeles          67520       98.87%        99.14%          99.37%         99.40%

 10/28/2020 Pacific      Sacramento           70093       99.33%        99.48%          99.62%         99.64%

 10/28/2020 Pacific      San Diego           134611       99.32%        99.55%          99.81%         99.85%

 10/28/2020 Pacific      San Francisco        49668       98.90%        99.34%          99.58%         99.61%

 10/28/2020 Pacific      Santa Ana            60227       99.66%        99.76%          99.87%         99.90%

 10/28/2020   Pacific    Sierra Coastal       47137       98.83%        99.05%          99.27%         99.30%
 10/28/2020   Southern   Alabama                626       71.09%        75.88%          93.93%         95.85%
 10/28/2020   Southern   Arkansas               864       94.68%        96.06%          98.61%         98.73%
 10/28/2020   Southern   Dallas                3017       93.87%        96.85%          99.04%         99.20%

 10/28/2020 Southern     Ft. Worth             1678       95.11%        96.13%          96.78%         96.84%

 10/28/2020 Southern     Gulf Atlantic        19732       93.99%        94.77%          99.08%         99.31%
 10/28/2020 Southern     Houston               7144       95.04%        96.01%          97.12%         97.19%

 10/28/2020 Southern     Louisiana              431       65.43%        74.94%          91.42%         96.98%

 10/28/2020 Southern     Mississippi            540       91.48%        93.70%          98.15%         99.07%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/28/2020 Southern     Oklahoma               154       62.99%        79.22%          94.81%         98.70%

 10/28/2020 Southern     Rio Grande            3714       91.65%        94.32%          98.41%         98.90%

 10/28/2020   Southern   South Florida         9167       94.97%        96.33%          98.65%         99.08%
 10/28/2020   Southern   Suncoast             51569       96.43%        97.09%          99.32%         99.45%
 10/28/2020   Western    Alaska                4966       93.76%        96.34%          98.79%         99.05%
 10/28/2020   Western    Arizona             159578       98.07%        98.36%          98.71%         98.78%

 10/28/2020 Western      Central Plains        7609       96.49%        97.23%          98.00%         98.19%

                         Colorado/Wyo
 10/28/2020 Western      ming                 20098       78.74%        81.18%          88.12%         89.74%
 10/28/2020 Western      Dakotas              10662       96.60%        97.77%          99.59%         99.75%
 10/28/2020 Western      Hawkeye              19854       98.47%        98.83%          99.25%         99.29%

 10/28/2020 Western      Mid-Americas          9351       95.63%        97.22%          99.11%         99.38%

 10/28/2020 Western      Nevada Sierra        25585       98.03%        98.54%          99.30%         99.39%

 10/28/2020 Western      Northland             5279       97.08%        97.90%          99.19%         99.79%
 10/28/2020 Western      Portland             94205       98.12%        98.31%          99.79%         99.85%

 10/28/2020 Western      Salt Lake City       55214       98.09%        98.65%          99.79%         99.86%
 10/28/2020 Western      Seattle             101359       98.25%        99.17%          99.71%         99.78%
            Capital
 10/29/2020 Metro        Atlanta              15289       93.10%        94.59%          95.21%         96.52%
            Capital
 10/29/2020 Metro        Baltimore            18039       95.63%        98.20%          98.72%         99.47%
            Capital
 10/29/2020 Metro        Capital              13989       94.93%        98.10%          98.57%         99.12%
            Capital      Greater S
 10/29/2020 Metro        Carolina             13099       77.48%        95.23%          96.29%         98.34%
            Capital
 10/29/2020 Metro        Greensboro           18629       89.14%        95.28%          95.91%         97.44%
            Capital
 10/29/2020 Metro        Mid-Carolinas        14055       84.35%        95.30%          96.04%         97.60%
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                                           Measured    Processing   Processing      Processing      Processing
                                           Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                           Inbound     Inbound      Inbound         Inbound         3: Inbound
Date        Area          District         Ballot      Ballot       Ballot          Ballot          Ballot
            Capital       Norther
 10/29/2020 Metro         Virginia             13428       95.12%        96.75%          97.16%         97.91%
            Capital
 10/29/2020 Metro         Richmond             14007       93.69%        97.99%          98.58%         98.86%

 10/29/2020 Eastern       Appalachian           1847       89.50%        93.99%          94.86%         96.05%

                          Central
 10/29/2020 Eastern       Pennsylvania         40290       69.17%        96.93%          97.19%         99.51%

 10/29/2020 Eastern       Kentuckiana            679       83.51%        83.80%          87.78%         90.28%

 10/29/2020 Eastern       Norther Ohio         30000       86.10%        98.35%          98.45%         98.70%

 10/29/2020 Eastern       Ohio Valley          25227       95.49%        98.06%          98.45%         98.81%

                          Philadelphia
 10/29/2020 Eastern       Metropo              25639       90.92%        95.50%          96.22%         98.51%

 10/29/2020 Eastern       South Jersey         21478       95.44%        97.15%          97.35%         98.21%

 10/29/2020 Eastern       Tennessee             5076       96.43%        97.14%          98.07%         98.82%

                          Western New
 10/29/2020 Eastern       York                 14292       96.68%        97.93%          99.01%         99.16%

                          Western
 10/29/2020 Eastern       Pennsylvania         27811       97.25%        99.16%          99.33%         99.52%

 10/29/2020 Great Lakes Central Illinois       28470       96.83%        97.77%          98.38%         99.03%

 10/29/2020 Great Lakes Chicago                21520       95.26%        96.57%          96.74%         96.92%

 10/29/2020 Great Lakes Detroit                 8005       76.23%        91.74%          93.53%         98.36%

 10/29/2020 Great Lakes Gateway                 7865       93.20%        95.94%          96.33%         96.88%
                        Greater
 10/29/2020 Great Lakes Indiana                 1502       83.22%        87.95%          94.21%         98.87%
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                                        Measured    Processing   Processing      Processing      Processing
                                        Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                        Inbound     Inbound      Inbound         Inbound         3: Inbound
Date         Area       District        Ballot      Ballot       Ballot          Ballot          Ballot
                        Greater
 10/29/2020 Great Lakes Michigan             7122       89.15%        95.42%          96.69%         97.51%

 10/29/2020 Great Lakes Lakeland             2034       93.71%        95.62%          97.49%         98.23%

 10/29/2020 Northeast   Albany              15362       96.89%        99.18%          99.39%         99.51%

 10/29/2020 Northeast   Caribbean            5004       99.78%        99.78%          99.82%         99.92%

                        Connecticut
 10/29/2020 Northeast   Valley              10406       95.49%        97.98%          98.43%         98.78%
                        Greater
 10/29/2020 Northeast   Boston              30096       92.46%        97.90%          98.58%         98.84%

 10/29/2020 Northeast   Long Island         18104       96.99%        98.39%          98.87%         99.00%

 10/29/2020 Northeast   New York            30152       97.08%        98.67%          98.81%         99.24%

                        Northern New
 10/29/2020 Northeast   England               969       80.70%        91.43%          94.01%         98.97%

                        Northern New
 10/29/2020 Northeast   Jersey              34718       97.54%        98.64%          98.72%         98.90%

 10/29/2020 Northeast   Triboro             12646       92.35%        94.03%          94.11%         94.25%

 10/29/2020 Northeast   Westchester         12785       95.92%        97.92%          98.24%         98.62%

 10/29/2020 Pacific     Bay-Valley          65845       98.46%        98.74%          98.94%         99.09%
 10/29/2020 Pacific     Honolulu            18743       91.47%        93.42%          94.90%         99.64%

 10/29/2020 Pacific     Los Angeles         57622       98.35%        99.00%          99.08%         99.26%

 10/29/2020 Pacific     Sacramento          56128       98.56%        98.84%          98.96%         99.03%

 10/29/2020 Pacific     San Diego           94525       99.32%        99.44%          99.62%         99.73%

 10/29/2020 Pacific     San Francisco       40327       98.87%        99.04%          99.21%         99.39%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/29/2020 Pacific      Santa Ana            49426       98.58%        99.61%          99.78%         99.85%

 10/29/2020   Pacific    Sierra Coastal       41128       98.56%        99.04%          99.17%         99.28%
 10/29/2020   Southern   Alabama                863       88.99%        90.38%          92.93%         95.48%
 10/29/2020   Southern   Arkansas               991       97.68%        98.28%          98.89%         98.99%
 10/29/2020   Southern   Dallas                3395       95.32%        95.79%          97.73%         98.41%

 10/29/2020 Southern     Ft. Worth             1617       94.37%        95.05%          95.30%         96.23%

 10/29/2020 Southern     Gulf Atlantic        15182       95.80%        97.21%          98.35%         99.26%
 10/29/2020 Southern     Houston               8963       96.32%        96.89%          97.18%         97.67%

 10/29/2020 Southern     Louisiana              830       92.65%        93.37%          95.30%         97.71%

 10/29/2020 Southern     Mississippi            354       93.22%        94.07%          97.46%         98.59%

 10/29/2020 Southern     Oklahoma               370       80.27%        83.24%          88.11%         93.24%

 10/29/2020 Southern     Rio Grande            3222       94.17%        94.91%          96.06%         97.49%

 10/29/2020   Southern   South Florida         6601       96.09%        96.74%          97.45%         98.67%
 10/29/2020   Southern   Suncoast             35663       97.94%        98.26%          98.72%         99.09%
 10/29/2020   Western    Alaska                3719       83.11%        84.57%          86.31%         95.81%
 10/29/2020   Western    Arizona              62929       98.43%        98.63%          99.00%         99.33%

 10/29/2020 Western      Central Plains        7387       93.88%        96.07%          96.56%         97.44%

                         Colorado/Wyo
 10/29/2020 Western      ming                 15304       69.90%        74.69%          78.08%         86.25%
 10/29/2020 Western      Dakotas               7943       97.53%        98.00%          98.74%         99.32%
 10/29/2020 Western      Hawkeye              16522       97.65%        98.64%          98.83%         99.06%

 10/29/2020 Western      Mid-Americas          7152       95.05%        97.46%          97.94%         98.97%

 10/29/2020 Western      Nevada Sierra        24124       98.15%        99.16%          99.42%         99.59%

 10/29/2020 Western      Northland             5187       84.11%        90.53%          90.88%         99.42%
 10/29/2020 Western      Portland             45805       97.46%        98.55%          98.93%         99.05%
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                                       Measured    Processing   Processing      Processing      Processing
                                       Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                       Inbound     Inbound      Inbound         Inbound         3: Inbound
Date        Area      District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/29/2020 Western   Salt Lake City       42682       97.61%        99.16%          99.40%         99.74%
 10/29/2020 Western   Seattle              77296       98.12%        98.93%          99.26%         99.39%
            Capital
 10/30/2020 Metro     Atlanta               8233       78.22%        93.26%          94.04%         94.51%
            Capital
 10/30/2020 Metro     Baltimore            12517       90.83%        95.63%          97.15%         97.47%
            Capital
 10/30/2020 Metro     Capital              12224       92.51%        97.55%          98.13%         98.24%
            Capital   Greater S
 10/30/2020 Metro     Carolina              9127       81.95%        92.75%          95.77%         96.12%
            Capital
 10/30/2020 Metro     Greensboro           13030       80.82%        90.66%          94.98%         95.26%
            Capital
 10/30/2020 Metro     Mid-Carolinas         9915       77.29%        91.66%          96.23%         96.55%
            Capital   Norther
 10/30/2020 Metro     Virginia             13648       91.76%        95.93%          96.27%         96.41%
            Capital
 10/30/2020 Metro     Richmond             12627       90.87%        97.73%          98.68%         98.84%

 10/30/2020 Eastern   Appalachian           1486       89.77%        95.63%          96.03%         96.37%

                      Central
 10/30/2020 Eastern   Pennsylvania         21627       64.05%        93.54%          97.49%         97.82%

 10/30/2020 Eastern   Kentuckiana            559       72.45%        87.12%          87.12%         88.19%

 10/30/2020 Eastern   Norther Ohio         27347       94.97%        98.01%          98.78%         98.85%

 10/30/2020 Eastern   Ohio Valley          20704       93.75%        98.33%          99.01%         99.10%

                      Philadelphia
 10/30/2020 Eastern   Metropo              15297       86.91%        95.18%          98.07%         98.31%

 10/30/2020 Eastern   South Jersey         14792       92.51%        95.15%          96.81%         96.91%

 10/30/2020 Eastern   Tennessee             4816       91.45%        98.21%          98.32%         98.71%
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                                           Measured    Processing   Processing      Processing      Processing
                                           Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                           Inbound     Inbound      Inbound         Inbound         3: Inbound
Date         Area         District         Ballot      Ballot       Ballot          Ballot          Ballot

                          Western New
 10/30/2020 Eastern       York                 11416       97.07%        99.31%          99.35%         99.39%

                          Western
 10/30/2020 Eastern       Pennsylvania         20447       90.80%        98.70%          99.00%         99.11%

 10/30/2020 Great Lakes Central Illinois       17615       88.44%        96.70%          97.01%         97.37%

 10/30/2020 Great Lakes Chicago                10806       91.44%        95.22%          95.39%         95.69%

 10/30/2020 Great Lakes Detroit                 7070       77.04%        89.52%          96.42%         97.31%

 10/30/2020 Great Lakes Gateway                 5810       89.97%        96.73%          96.95%         97.28%
                        Greater
 10/30/2020 Great Lakes Indiana                  801       60.80%        92.76%          93.63%         96.25%
                        Greater
 10/30/2020 Great Lakes Michigan                4742       86.04%        95.74%          96.25%         96.63%

 10/30/2020 Great Lakes Lakeland                1424       86.66%        92.77%          94.66%         95.44%

 10/30/2020 Northeast     Albany               15632       95.96%        99.15%          99.44%         99.51%

 10/30/2020 Northeast     Caribbean             3525       98.70%        99.69%          99.69%         99.77%

                          Connecticut
 10/30/2020 Northeast     Valley                8035       91.28%        97.34%          97.73%         97.88%
                          Greater
 10/30/2020 Northeast     Boston               21993       93.53%        98.07%          98.30%         98.49%

 10/30/2020 Northeast     Long Island          13151       94.47%        97.92%          98.14%         98.17%

 10/30/2020 Northeast     New York             23959       93.84%        98.51%          98.94%         99.19%

                          Northern New
 10/30/2020 Northeast     England                718       72.98%        90.95%          91.09%         93.45%

                          Northern New
 10/30/2020 Northeast     Jersey               24342       97.37%        98.87%          99.01%         99.04%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/30/2020 Northeast    Triboro               9568       89.62%        93.10%          93.53%         93.57%

 10/30/2020 Northeast    Westchester          14402       95.45%        98.84%          99.10%         99.17%

 10/30/2020 Pacific      Bay-Valley           49516       98.29%        99.12%          99.17%         99.22%
 10/30/2020 Pacific      Honolulu              6249       92.32%        94.29%          95.73%         97.36%

 10/30/2020 Pacific      Los Angeles          44722       98.69%        99.27%          99.28%         99.32%

 10/30/2020 Pacific      Sacramento           40285       98.26%        99.34%          99.40%         99.43%

 10/30/2020 Pacific      San Diego            70986       97.99%        99.69%          99.70%         99.75%

 10/30/2020 Pacific      San Francisco        31287       96.32%        99.11%          99.18%         99.21%

 10/30/2020 Pacific      Santa Ana            40064       98.73%        99.65%          99.67%         99.68%

 10/30/2020   Pacific    Sierra Coastal       32885       97.97%        99.12%          99.13%         99.14%
 10/30/2020   Southern   Alabama                933       75.03%        92.39%          92.93%         93.46%
 10/30/2020   Southern   Arkansas               710       92.39%        96.48%          96.48%         96.76%
 10/30/2020   Southern   Dallas                3820       89.14%        97.41%          97.41%         97.51%

 10/30/2020 Southern     Ft. Worth             1345       80.00%        91.38%          92.79%         92.86%

 10/30/2020 Southern     Gulf Atlantic        11087       85.21%        94.34%          95.32%         95.81%
 10/30/2020 Southern     Houston               4221       86.61%        91.49%          91.64%         92.06%

 10/30/2020 Southern     Louisiana              718       83.98%        97.77%          97.77%         98.47%

 10/30/2020 Southern     Mississippi            377       72.94%        94.69%          94.96%         96.82%

 10/30/2020 Southern     Oklahoma               630       63.33%        95.24%          95.24%         98.25%

 10/30/2020 Southern     Rio Grande            2837       81.57%        94.57%          94.64%         95.52%

 10/30/2020 Southern     South Florida         6014       88.41%        96.94%          96.97%         97.46%
 10/30/2020 Southern     Suncoast             26853       93.73%        97.99%          98.04%         98.21%
 10/30/2020 Western      Alaska                5009       90.88%        96.31%          97.56%         97.88%
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                                       Measured      Processing    Processing      Processing      Processing
                                       Volume:       Score:        Score Plus 1:   Score Plus 2:   Score Plus
                                       Inbound       Inbound       Inbound         Inbound         3: Inbound
Date        Area      District         Ballot        Ballot        Ballot          Ballot          Ballot
 10/30/2020 Western   Arizona                28067        91.66%         98.31%          98.44%         98.67%

 10/30/2020 Western   Central Plains         4921        93.70%         96.65%          96.81%         96.93%

                      Colorado/Wyo
 10/30/2020 Western   ming                  12027        58.78%         70.33%          71.23%         75.61%
 10/30/2020 Western   Dakotas                6006        94.27%         98.38%          98.43%         98.65%
 10/30/2020 Western   Hawkeye               11945        95.09%         98.23%          98.58%         98.75%

 10/30/2020 Western   Mid-Americas           5465        90.59%         98.10%          98.24%         98.74%

 10/30/2020 Western   Nevada Sierra         17860        97.77%         99.40%          99.43%         99.53%

 10/30/2020 Western   Northland              3214        93.06%         98.35%          98.57%         98.72%
 10/30/2020 Western   Portland              23745        95.45%         98.73%          99.17%         99.28%

 10/30/2020 Western   Salt Lake City        50303        98.62%         99.64%          99.68%         99.80%
 10/30/2020 Western   Seattle               65332        94.61%         98.70%          98.86%         99.08%
            Capital
 10/31/2020 Metro     Atlanta                7700        57.17%         94.90%          98.27%         98.27%
            Capital
 10/31/2020 Metro     Baltimore              7184        89.05%         94.17%          97.31%         98.26%
            Capital
 10/31/2020 Metro     Capital                9758        91.69%         95.95%          98.29%         98.41%
            Capital   Greater S
 10/31/2020 Metro     Carolina               5975        76.72%         92.13%          97.19%         97.92%
            Capital
 10/31/2020 Metro     Greensboro            10924        77.90%         89.63%          94.59%         97.17%
            Capital
 10/31/2020 Metro     Mid-Carolinas          8763        75.81%         92.80%          95.91%         96.05%
            Capital   Norther
 10/31/2020 Metro     Virginia              10262        76.55%         82.84%          92.68%         92.73%
            Capital
 10/31/2020 Metro     Richmond               8651        84.73%         96.32%          98.09%         98.36%

 10/31/2020 Eastern   Appalachian             951        82.44%         94.95%          95.58%         95.90%

                      Central
 10/31/2020 Eastern   Pennsylvania          15434        52.36%         90.68%          97.60%         98.95%
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                                           Measured    Processing   Processing      Processing      Processing
                                           Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                           Inbound     Inbound      Inbound         Inbound         3: Inbound
Date         Area         District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/31/2020 Eastern       Kentuckiana            529       66.92%        78.07%          84.12%         84.12%

 10/31/2020 Eastern       Norther Ohio         15731       92.42%        96.07%          98.89%         99.00%

 10/31/2020 Eastern       Ohio Valley          17611       94.33%        97.57%          98.84%         99.35%

                          Philadelphia
 10/31/2020 Eastern       Metropo              10008       77.39%        88.01%          96.59%         98.18%

 10/31/2020 Eastern       South Jersey         11843       92.26%        94.90%          96.79%         96.99%

 10/31/2020 Eastern       Tennessee             2178       84.16%        92.88%          95.91%         95.91%

                          Western New
 10/31/2020 Eastern       York                  8851       92.97%        97.01%          98.80%         98.84%

                          Western
 10/31/2020 Eastern       Pennsylvania         14797       90.98%        95.62%          99.29%         99.41%

 10/31/2020 Great Lakes Central Illinois       16790       89.96%        96.15%          97.75%         98.06%

 10/31/2020 Great Lakes Chicago                 9830       88.32%        91.05%          91.70%         92.17%

 10/31/2020 Great Lakes Detroit                 2828       78.01%        88.54%          95.37%         95.90%

 10/31/2020 Great Lakes Gateway                 3835       87.17%        93.56%          96.92%         97.37%
                        Greater
 10/31/2020 Great Lakes Indiana                  410       53.90%        83.17%          89.76%         90.00%
                        Greater
 10/31/2020 Great Lakes Michigan                3466       68.61%        93.83%          96.91%         97.23%

 10/31/2020 Great Lakes Lakeland                1148       73.43%        91.38%          97.04%         97.13%

 10/31/2020 Northeast     Albany                7694       94.96%        97.60%          98.93%         99.06%

 10/31/2020 Northeast     Caribbean             2590       97.95%        99.42%          99.50%         99.50%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

                         Connecticut
 10/31/2020 Northeast    Valley                4085       92.04%        96.38%          98.02%         98.26%
                         Greater
 10/31/2020 Northeast    Boston               10416       90.89%        96.44%          98.39%         98.51%

 10/31/2020 Northeast    Long Island          16977       97.13%        98.69%          99.18%         99.27%

 10/31/2020 Northeast    New York              7733       90.95%        95.72%          97.79%         97.92%

                         Northern New
 10/31/2020 Northeast    England                461       61.61%        78.74%          91.54%         91.54%

                         Northern New
 10/31/2020 Northeast    Jersey               21138       94.23%        97.69%          97.92%         97.99%

 10/31/2020 Northeast    Triboro               6360       87.63%        93.14%          93.46%         93.57%

 10/31/2020 Northeast    Westchester           5963       94.62%        97.85%          98.61%         98.86%

 10/31/2020 Pacific      Bay-Valley           40547       97.85%        98.91%          99.19%         99.23%
 10/31/2020 Pacific      Honolulu              5467       85.00%        98.06%          98.39%         98.45%

 10/31/2020 Pacific      Los Angeles          37737       98.37%        99.12%          99.34%         99.34%

 10/31/2020 Pacific      Sacramento           36850       97.07%        98.87%          99.17%         99.21%

 10/31/2020 Pacific      San Diego            58224       98.10%        99.36%          99.67%         99.68%

 10/31/2020 Pacific      San Francisco        23706       96.02%        98.52%          99.07%         99.11%

 10/31/2020 Pacific      Santa Ana            30087       98.89%        99.57%          99.67%         99.68%

 10/31/2020   Pacific    Sierra Coastal       24153       97.52%        98.57%          99.31%         99.33%
 10/31/2020   Southern   Alabama                657       62.56%        81.43%          91.63%         91.63%
 10/31/2020   Southern   Arkansas               548       85.58%        91.79%          97.08%         97.08%
 10/31/2020   Southern   Dallas                3604       86.90%        95.95%          97.89%         97.89%

 10/31/2020 Southern     Ft. Worth             1748       85.35%        90.22%          92.73%         93.48%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

 10/31/2020 Southern     Gulf Atlantic         7984       83.13%        94.31%          97.82%         97.96%
 10/31/2020 Southern     Houston               3004       79.96%        89.58%          91.54%         91.84%

 10/31/2020 Southern     Louisiana              488       56.97%        89.55%          94.47%         94.47%

 10/31/2020 Southern     Mississippi            620       60.00%        90.00%          97.26%         97.58%

 10/31/2020 Southern     Oklahoma               468       70.73%        86.75%          93.16%         93.16%

 10/31/2020 Southern     Rio Grande            2781       82.74%        93.38%          96.12%         96.22%

 10/31/2020   Southern   South Florida         4228       84.32%        92.22%          96.33%         96.50%
 10/31/2020   Southern   Suncoast             15502       92.45%        96.55%          98.25%         98.26%
 10/31/2020   Western    Alaska                2815       91.72%        96.02%          97.51%         98.12%
 10/31/2020   Western    Arizona              16324       88.97%        94.47%          97.45%         97.65%

 10/31/2020 Western      Central Plains        3464       88.60%        93.76%          97.06%         97.11%

                         Colorado/Wyo
 10/31/2020 Western      ming                 10502       37.73%        53.27%          68.66%         69.92%
 10/31/2020 Western      Dakotas               3234       87.88%        94.31%          97.68%         97.80%
 10/31/2020 Western      Hawkeye               6072       94.19%        97.05%          98.53%         98.55%

 10/31/2020 Western      Mid-Americas          3804       79.23%        92.25%          98.55%         98.69%

 10/31/2020 Western      Nevada Sierra        18347       94.58%        98.82%          99.54%         99.55%

 10/31/2020 Western      Northland             2586       74.56%        94.62%          97.60%         97.68%
 10/31/2020 Western      Portland             16700       92.20%        97.76%          98.79%         99.09%

 10/31/2020 Western      Salt Lake City       28738       94.60%        98.56%          99.55%         99.56%
 10/31/2020 Western      Seattle              55003       94.65%        98.10%          98.82%         98.84%
            Capital
  11/2/2020 Metro        Atlanta               6502       60.87%        89.05%          94.56%         95.37%
            Capital
  11/2/2020 Metro        Baltimore            11639       85.20%        95.10%          98.24%         99.23%
            Capital
  11/2/2020 Metro        Capital               9328       90.33%        95.51%          97.66%         98.55%
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                                           Measured    Processing   Processing      Processing      Processing
                                           Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                           Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area        District         Ballot      Ballot       Ballot          Ballot          Ballot
              Capital     Greater S
  11/2/2020   Metro       Carolina              7776       79.99%        90.05%          94.07%         97.57%
              Capital
  11/2/2020   Metro       Greensboro           12448       70.90%        84.75%          93.04%         94.46%
              Capital
  11/2/2020   Metro       Mid-Carolinas        10219       74.16%        84.95%          94.99%         96.08%
              Capital     Norther
  11/2/2020   Metro       Virginia             13753       93.15%        95.90%          96.76%         97.12%
              Capital
  11/2/2020   Metro       Richmond             10872       89.64%        94.42%          95.91%         96.62%

  11/2/2020 Eastern       Appalachian           1178       73.17%        83.45%          85.31%         85.91%

                          Central
  11/2/2020 Eastern       Pennsylvania         26386       69.09%        89.87%          93.99%         95.13%

  11/2/2020 Eastern       Kentuckiana            612       69.28%        84.31%          89.05%         90.36%

  11/2/2020 Eastern       Norther Ohio         15457       88.22%        93.94%          96.69%         97.26%

  11/2/2020 Eastern       Ohio Valley          15518       93.36%        96.91%          98.50%         98.90%

                          Philadelphia
  11/2/2020 Eastern       Metropo              15678       79.23%        87.25%          94.14%         97.34%

  11/2/2020 Eastern       South Jersey         10357       89.18%        92.68%          95.13%         97.26%

  11/2/2020 Eastern       Tennessee             5373       87.96%        94.12%          97.71%         98.36%

                          Western New
  11/2/2020 Eastern       York                  9418       94.92%        97.71%          98.25%         98.62%

                          Western
  11/2/2020 Eastern       Pennsylvania         12187       91.66%        95.42%          96.96%         99.07%

  11/2/2020 Great Lakes Central Illinois       14663       91.35%        96.61%          97.84%         98.53%

  11/2/2020 Great Lakes Chicago                13202       70.39%        75.29%          77.06%         77.25%
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                                       Measured    Processing   Processing      Processing      Processing
                                       Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                       Inbound     Inbound      Inbound         Inbound         3: Inbound
Date        Area        District       Ballot      Ballot       Ballot          Ballot          Ballot

  11/2/2020 Great Lakes Detroit             3481       77.51%        87.88%          93.51%         95.58%

  11/2/2020 Great Lakes Gateway             3591       82.85%        90.98%          93.65%         94.96%
                        Greater
  11/2/2020 Great Lakes Indiana              921       66.34%        87.19%          93.27%         96.31%
                        Greater
  11/2/2020 Great Lakes Michigan            4811       86.80%        95.01%          97.09%         97.90%

  11/2/2020 Great Lakes Lakeland            1567       80.66%        91.83%          95.09%         96.81%

  11/2/2020 Northeast   Albany             10436       95.07%        97.70%          98.47%         98.97%

  11/2/2020 Northeast   Caribbean           1557       96.34%        98.46%          98.97%         99.04%

                        Connecticut
  11/2/2020 Northeast   Valley              6642       93.12%        96.42%          97.47%         98.09%
                        Greater
  11/2/2020 Northeast   Boston             14356       90.55%        94.54%          96.17%         97.33%

  11/2/2020 Northeast   Long Island        11047       95.08%        96.97%          97.42%         97.59%

  11/2/2020 Northeast   New York           34833       96.22%        98.14%          98.74%         99.01%

                        Northern New
  11/2/2020 Northeast   England              439       72.44%        80.64%          88.15%         95.22%

                        Northern New
  11/2/2020 Northeast   Jersey             20787       96.04%        97.36%          98.07%         98.40%

  11/2/2020 Northeast   Triboro             9903       86.10%        88.93%          89.81%         89.97%

  11/2/2020 Northeast   Westchester         5045       91.12%        94.71%          96.91%         97.26%

  11/2/2020 Pacific     Bay-Valley         31508       95.32%        98.50%          98.73%         98.87%
  11/2/2020 Pacific     Honolulu            3625       75.97%        92.50%          96.39%         96.52%

  11/2/2020 Pacific     Los Angeles        25633       96.94%        97.88%          98.19%         98.37%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

  11/2/2020 Pacific      Sacramento           30183       92.85%        96.00%          99.04%         99.08%

  11/2/2020 Pacific      San Diego            46782       97.75%        98.97%          99.38%         99.58%

  11/2/2020 Pacific      San Francisco        19383       96.16%        97.55%          97.91%         97.99%

  11/2/2020 Pacific      Santa Ana            21647       98.59%        99.13%          99.46%         99.63%

  11/2/2020   Pacific    Sierra Coastal       25857       96.85%        97.53%          97.80%         98.21%
  11/2/2020   Southern   Alabama               1136       68.66%        86.09%          94.98%         96.92%
  11/2/2020   Southern   Arkansas               903       87.15%        95.90%          98.12%         98.89%
  11/2/2020   Southern   Dallas                2692       90.71%        95.10%          98.03%         98.44%

  11/2/2020 Southern     Ft. Worth             1125       82.31%        86.22%          88.09%         89.33%

  11/2/2020 Southern     Gulf Atlantic         7167       78.61%        91.54%          95.88%         97.21%
  11/2/2020 Southern     Houston               2520       80.67%        89.60%          92.14%         93.41%

  11/2/2020 Southern     Louisiana              831       70.40%        84.12%          93.74%         95.67%

  11/2/2020 Southern     Mississippi            657       80.67%        91.17%          96.80%         98.33%

  11/2/2020 Southern     Oklahoma               797       82.31%        93.10%          95.86%         97.99%

  11/2/2020 Southern     Rio Grande            2464       82.18%        90.50%          94.44%         97.69%

  11/2/2020   Southern   South Florida         2793       73.43%        84.17%          87.79%         93.63%
  11/2/2020   Southern   Suncoast             13713       90.02%        95.23%          97.10%         97.59%
  11/2/2020   Western    Alaska                2342       79.59%        84.76%          87.36%         88.00%
  11/2/2020   Western    Arizona              10641       82.24%        94.39%          95.97%         97.97%

  11/2/2020 Western      Central Plains        3204       86.14%        92.79%          97.10%         97.72%

                         Colorado/Wyo
  11/2/2020 Western      ming                 10445       53.15%        71.30%          81.52%         89.42%
  11/2/2020 Western      Dakotas               3792       90.06%        94.33%          95.91%         97.65%
  11/2/2020 Western      Hawkeye               9544       94.34%        96.44%          97.15%         97.38%
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                                       Measured    Processing   Processing      Processing      Processing
                                       Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                       Inbound     Inbound      Inbound         Inbound         3: Inbound
Date        Area      District         Ballot      Ballot       Ballot          Ballot          Ballot

  11/2/2020 Western   Mid-Americas          3734       81.52%        91.91%          97.16%         98.15%

  11/2/2020 Western   Nevada Sierra        12070       96.99%        98.67%          99.29%         99.54%

  11/2/2020 Western   Northland             1892       86.89%        95.14%          97.83%         98.47%
  11/2/2020 Western   Portland             13627       93.67%        97.23%          98.22%         98.91%

  11/2/2020 Western   Salt Lake City       24480       96.46%        98.79%          99.34%         99.54%
  11/2/2020 Western   Seattle              38587       94.88%        97.11%          97.81%         98.25%
            Capital
  11/3/2020 Metro     Atlanta               1896       82.17%        91.51%          94.99%         96.41%
            Capital
  11/3/2020 Metro     Baltimore             6219       90.64%        96.48%          98.44%         98.91%
            Capital
  11/3/2020 Metro     Capital               4347       91.10%        98.04%          98.62%         98.78%
            Capital   Greater S
  11/3/2020 Metro     Carolina              1815       71.96%        90.41%          94.71%         97.08%
            Capital
  11/3/2020 Metro     Greensboro            6574       72.92%        94.46%          97.31%         98.02%
            Capital
  11/3/2020 Metro     Mid-Carolinas         3606       80.01%        93.82%          96.03%         96.95%
            Capital   Norther
  11/3/2020 Metro     Virginia              6049       93.14%        96.35%          96.91%         97.07%
            Capital
  11/3/2020 Metro     Richmond              3335       85.76%        93.94%          95.23%         95.71%

  11/3/2020 Eastern   Appalachian            673       42.79%        92.27%          93.61%         93.91%

                      Central
  11/3/2020 Eastern   Pennsylvania         10342       61.26%        89.25%          97.37%         98.67%

  11/3/2020 Eastern   Kentuckiana            262       62.98%        85.11%          86.64%         88.93%

  11/3/2020 Eastern   Norther Ohio          5692       92.53%        98.10%          98.91%         98.96%

  11/3/2020 Eastern   Ohio Valley           8495       94.89%        98.71%          99.27%         99.52%
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                                           Measured    Processing   Processing      Processing      Processing
                                           Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                           Inbound     Inbound      Inbound         Inbound         3: Inbound
Date         Area         District         Ballot      Ballot       Ballot          Ballot          Ballot

                          Philadelphia
  11/3/2020 Eastern       Metropo               3069       66.83%        88.63%          92.90%         94.72%

  11/3/2020 Eastern       South Jersey         10821       96.60%        98.27%          98.61%         99.04%

  11/3/2020 Eastern       Tennessee             1039       82.00%        94.71%          96.34%         97.11%

                          Western New
  11/3/2020 Eastern       York                  2698       92.59%        98.52%          99.22%         99.30%

                          Western
  11/3/2020 Eastern       Pennsylvania          5628       90.92%        97.35%          98.19%         98.51%

  11/3/2020 Great Lakes Central Illinois       10221       93.30%        97.87%          98.26%         98.60%

  11/3/2020 Great Lakes Chicago                 8950       63.63%        74.85%          75.81%         76.21%

  11/3/2020 Great Lakes Detroit                  979       78.86%        87.84%          93.26%         94.89%

  11/3/2020 Great Lakes Gateway                 1270       68.03%        92.13%          93.62%         95.28%
                        Greater
  11/3/2020 Great Lakes Indiana                  178       70.79%        91.57%          93.82%         95.51%
                        Greater
  11/3/2020 Great Lakes Michigan                 863       84.01%        95.25%          97.45%         97.68%

  11/3/2020 Great Lakes Lakeland                 659       76.18%        94.23%          98.33%         98.33%

  11/3/2020 Northeast     Albany                5354       91.31%        99.36%          99.63%         99.72%

  11/3/2020 Northeast     Caribbean             1313       98.63%        99.70%          99.85%        100.00%

                          Connecticut
  11/3/2020 Northeast     Valley                1986       93.15%        98.99%          99.30%         99.40%
                          Greater
  11/3/2020 Northeast     Boston                6922       94.39%        98.57%          98.90%         99.25%

  11/3/2020 Northeast     Long Island          11768       97.30%        99.39%          99.47%         99.52%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

  11/3/2020 Northeast    New York             10543       95.39%        99.02%          99.39%         99.63%

                         Northern New
  11/3/2020 Northeast    England                141       74.47%        86.52%          94.33%         96.45%

                         Northern New
  11/3/2020 Northeast    Jersey                6991       93.22%        98.93%          99.11%         99.34%

  11/3/2020 Northeast    Triboro               3342       91.35%        94.79%          95.63%         95.75%

  11/3/2020 Northeast    Westchester           3279       91.89%        98.57%          98.75%         98.87%

  11/3/2020 Pacific      Bay-Valley           45811       96.45%        96.94%          97.01%         97.02%
  11/3/2020 Pacific      Honolulu              3348       94.38%        97.91%          98.66%         98.84%

  11/3/2020 Pacific      Los Angeles          39991       98.62%        99.44%          99.46%         99.48%

  11/3/2020 Pacific      Sacramento           37612       98.38%        99.31%          99.34%         99.35%

  11/3/2020 Pacific      San Diego            63120       99.26%        99.85%          99.90%         99.93%

  11/3/2020 Pacific      San Francisco        16282       99.00%        99.57%          99.59%         99.67%

  11/3/2020 Pacific      Santa Ana            34015       98.08%        99.66%          99.71%         99.74%

  11/3/2020   Pacific    Sierra Coastal       16355       99.08%        99.64%          99.74%         99.81%
  11/3/2020   Southern   Alabama                410       71.95%        92.44%          95.85%         96.83%
  11/3/2020   Southern   Arkansas               167       77.84%        96.41%          98.20%         98.20%
  11/3/2020   Southern   Dallas                1152       88.54%        96.88%          97.57%         98.96%

  11/3/2020 Southern     Ft. Worth              291       87.63%        93.13%          94.85%         95.53%

  11/3/2020 Southern     Gulf Atlantic         2297       83.02%        94.95%          96.47%         97.69%
  11/3/2020 Southern     Houston                734       84.47%        95.78%          96.19%         96.59%

  11/3/2020 Southern     Louisiana              345       77.68%        95.07%          95.65%         98.84%

  11/3/2020 Southern     Mississippi            454       85.02%        97.36%          97.58%         97.58%
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                                          Measured    Processing   Processing      Processing      Processing
                                          Volume:     Score:       Score Plus 1:   Score Plus 2:   Score Plus
                                          Inbound     Inbound      Inbound         Inbound         3: Inbound
Date          Area       District         Ballot      Ballot       Ballot          Ballot          Ballot

  11/3/2020 Southern     Oklahoma               323       75.85%        97.21%          98.14%         98.45%

  11/3/2020 Southern     Rio Grande             946       85.62%        96.72%          97.78%         98.20%

  11/3/2020   Southern   South Florida         1694       85.12%        95.87%          97.11%         97.82%
  11/3/2020   Southern   Suncoast              3727       85.43%        96.11%          97.56%         98.50%
  11/3/2020   Western    Alaska                2411       87.47%        95.81%          96.39%         96.60%
  11/3/2020   Western    Arizona               5384       91.77%        97.83%          98.38%         98.96%

  11/3/2020 Western      Central Plains        1706       92.15%        97.71%          98.01%         98.36%

                         Colorado/Wyo
  11/3/2020 Western      ming                  3893       55.59%        83.23%          91.14%         93.24%
  11/3/2020 Western      Dakotas                703       77.95%        92.32%          94.88%         95.73%
  11/3/2020 Western      Hawkeye               1751       92.29%        97.72%          98.17%         98.23%

  11/3/2020 Western      Mid-Americas          1814       87.38%        97.68%          98.35%         98.62%

  11/3/2020 Western      Nevada Sierra        15251       99.12%        99.81%          99.87%         99.91%

  11/3/2020 Western      Northland             1094       53.93%        97.99%          98.63%         98.99%
  11/3/2020 Western      Portland              8903       96.52%        99.15%          99.35%         99.53%

  11/3/2020 Western      Salt Lake City       30441       83.36%        99.82%          99.85%         99.89%
  11/3/2020 Western      Seattle              44825       98.63%        99.58%          99.67%         99.69%
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                                                                 Processing   Processing
                                        Measured    Processing   Score Plus   Score Plus   Processing
                                        Volume:     Score:       1:           2:           Score Plus 3:
                                        Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area      District        Ballot      Ballot       Ballot       Ballot       Ballot
              Capital
 10/24/2020   Metro     Atlanta              4283        1.75%        7.42%       82.63%         82.65%
              Capital
 10/24/2020   Metro     Baltimore            2068       96.86%       98.16%       98.36%        98.65%
              Capital
 10/24/2020   Metro     Capital               176       49.43%       85.23%       89.77%         90.91%
              Capital   Greater S
 10/24/2020   Metro     Carolina               94       37.23%       64.89%       80.85%        81.91%
              Capital
 10/24/2020   Metro     Greensboro           2108       97.34%       99.48%       99.48%        99.53%
              Capital
 10/24/2020   Metro     Mid-Carolinas         666       91.14%       96.40%       97.45%         97.45%
              Capital   Norther
 10/24/2020   Metro     Virginia               54       44.44%       92.59%       92.59%        92.59%
              Capital
 10/24/2020   Metro     Richmond               59       84.75%       94.92%       98.31%        98.31%

 10/24/2020 Eastern     Appalachian            70       68.57%       90.00%       98.57%        98.57%

                        Central
 10/24/2020 Eastern     Pennsylvania         3916        1.33%       99.46%       99.46%         99.46%

 10/24/2020 Eastern     Kentuckiana            36       61.11%       83.33%       86.11%        86.11%

 10/24/2020 Eastern     Norther Ohio         4547        4.84%       98.88%       98.94%         98.97%

 10/24/2020 Eastern     Ohio Valley          1117       95.08%       98.12%       98.12%        98.12%

                        Philadelphia
 10/24/2020 Eastern     Metropo               198       39.90%       55.05%       56.57%         56.57%

 10/24/2020 Eastern     South Jersey       508953       99.97%       99.97%       99.97%         99.97%

 10/24/2020 Eastern     Tennessee             124       39.52%       87.10%       92.74%         92.74%

                        Western New
 10/24/2020 Eastern     York                   28       57.14%      100.00%      100.00%       100.00%
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                                                                    Processing   Processing
                                           Measured    Processing   Score Plus   Score Plus   Processing
                                           Volume:     Score:       1:           2:           Score Plus 3:
                                           Outbound    Outbound     Outbound     Outbound     Outbound
Date         Area         District         Ballot      Ballot       Ballot       Ballot       Ballot

                          Western
 10/24/2020 Eastern       Pennsylvania         19006       98.13%       98.86%       99.46%        99.82%

 10/24/2020 Great Lakes Central Illinois        1014        2.76%       68.74%       99.61%         99.61%

 10/24/2020 Great Lakes Chicago                   59       81.36%       94.92%       98.31%        98.31%

 10/24/2020 Great Lakes Detroit                  498       80.12%       85.94%       86.55%         97.19%

 10/24/2020 Great Lakes Gateway                 2609       83.94%       97.55%       98.93%        98.93%
                        Greater
 10/24/2020 Great Lakes Indiana                  125       78.40%       86.40%       94.40%         94.40%
                        Greater
 10/24/2020 Great Lakes Michigan                2937       83.59%       87.44%       96.97%        98.91%

 10/24/2020 Great Lakes Lakeland                 107       27.10%       49.53%       74.77%         74.77%

 10/24/2020 Northeast     Albany                  18       66.67%       88.89%       94.44%        94.44%

 10/24/2020 Northeast     Caribbean                4      100.00%      100.00%      100.00%       100.00%

                          Connecticut
 10/24/2020 Northeast     Valley               22989       98.84%       98.89%      100.00%       100.00%
                          Greater
 10/24/2020 Northeast     Boston                 116       87.07%       94.83%       95.69%         95.69%

 10/24/2020 Northeast     Long Island             12       83.33%      100.00%      100.00%       100.00%

 10/24/2020 Northeast     New York                53       90.57%       94.34%       94.34%        94.34%

                          Northern New
 10/24/2020 Northeast     England                 22       81.82%       95.45%       95.45%        95.45%

                          Northern New
 10/24/2020 Northeast     Jersey               22579       99.58%       99.64%       99.66%        99.66%

 10/24/2020 Northeast     Triboro                 72       73.61%       90.28%       97.22%        97.22%
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/24/2020 Northeast    Westchester             16       81.25%      100.00%      100.00%       100.00%

 10/24/2020 Pacific      Bay-Valley             125       21.60%       43.20%       43.20%         43.20%
 10/24/2020 Pacific      Honolulu                65       32.31%       36.92%       36.92%         36.92%

 10/24/2020 Pacific      Los Angeles            189       79.89%       84.13%       84.13%         84.66%

 10/24/2020 Pacific      Sacramento            2939       81.39%       94.42%       94.49%        94.79%

 10/24/2020 Pacific      San Diego            12366       99.70%       99.87%       99.91%        99.93%

 10/24/2020 Pacific      San Francisco           42       40.48%       59.52%       59.52%        64.29%

 10/24/2020 Pacific      Santa Ana            10303       96.62%       96.68%       98.78%        98.79%

 10/24/2020   Pacific    Sierra Coastal        3680       99.29%       99.59%       99.59%        99.65%
 10/24/2020   Southern   Alabama                 55       34.55%       80.00%       89.09%        89.09%
 10/24/2020   Southern   Arkansas                31       45.16%       96.77%       96.77%        96.77%
 10/24/2020   Southern   Dallas                  23       69.57%       86.96%       86.96%        86.96%

 10/24/2020 Southern     Ft. Worth              649       97.38%       98.15%       99.69%         99.69%

 10/24/2020 Southern     Gulf Atlantic         1969        3.61%       13.76%       85.07%         91.37%
 10/24/2020 Southern     Houston                 41       19.51%       80.49%       82.93%         82.93%

 10/24/2020 Southern     Louisiana               25       32.00%       68.00%       72.00%        72.00%

 10/24/2020 Southern     Mississippi             38       36.84%       84.21%       94.74%        94.74%

 10/24/2020 Southern     Oklahoma                20       70.00%       80.00%       85.00%        90.00%

 10/24/2020 Southern     Rio Grande              54       55.56%       83.33%       90.74%        90.74%

 10/24/2020   Southern   South Florida          137       22.63%       33.58%       34.31%         68.61%
 10/24/2020   Southern   Suncoast             29921       60.56%       61.62%       62.19%         99.06%
 10/24/2020   Western    Alaska                  25       36.00%       44.00%       44.00%         72.00%
 10/24/2020   Western    Arizona              41454       79.09%       84.32%       97.23%         97.46%
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                                                                Processing   Processing
                                       Measured    Processing   Score Plus   Score Plus   Processing
                                       Volume:     Score:       1:           2:           Score Plus 3:
                                       Outbound    Outbound     Outbound     Outbound     Outbound
Date        Area      District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/24/2020 Western   Central Plains          35       68.57%       77.14%       80.00%        80.00%

                      Colorado/Wyo
 10/24/2020 Western   ming                  2104       66.44%       79.66%       94.15%        94.30%
 10/24/2020 Western   Dakotas                 54       29.63%       79.63%       81.48%        81.48%
 10/24/2020 Western   Hawkeye                 44       47.73%       90.91%      100.00%       100.00%

 10/24/2020 Western   Mid-Americas           165       69.09%       70.91%       72.73%         73.94%

 10/24/2020 Western   Nevada Sierra          658       67.93%       75.99%       77.20%         77.51%

 10/24/2020 Western   Northland              406       15.76%       79.31%       87.44%         87.44%
 10/24/2020 Western   Portland               104       15.38%       29.81%       33.65%         33.65%

 10/24/2020 Western   Salt Lake City        3850       96.65%       96.70%       96.83%        97.43%
 10/24/2020 Western   Seattle                426        6.10%       11.97%       12.91%        16.20%
            Capital
 10/26/2020 Metro     Atlanta               5410        1.66%        1.81%        2.09%         27.08%
            Capital
 10/26/2020 Metro     Baltimore            41934       90.56%       91.85%       91.88%        91.88%
            Capital
 10/26/2020 Metro     Capital              14440       99.74%       99.84%       99.91%        99.92%
            Capital   Greater S
 10/26/2020 Metro     Carolina               163       56.44%       64.42%       82.82%         84.66%
            Capital
 10/26/2020 Metro     Greensboro            1633       97.49%       98.16%       99.14%        99.45%
            Capital
 10/26/2020 Metro     Mid-Carolinas          748       97.46%       97.99%       99.33%       100.00%
            Capital   Norther
 10/26/2020 Metro     Virginia               146       85.62%       89.73%       99.32%         99.32%
            Capital
 10/26/2020 Metro     Richmond               280       34.64%       37.14%       38.21%         98.93%

 10/26/2020 Eastern   Appalachian             57       66.67%       71.93%       89.47%        92.98%

                      Central
 10/26/2020 Eastern   Pennsylvania           706        7.65%       14.87%       97.31%         97.31%
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                                                                    Processing   Processing
                                           Measured    Processing   Score Plus   Score Plus   Processing
                                           Volume:     Score:       1:           2:           Score Plus 3:
                                           Outbound    Outbound     Outbound     Outbound     Outbound
Date         Area         District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/26/2020 Eastern       Kentuckiana             74       78.38%       78.38%       95.95%        97.30%

 10/26/2020 Eastern       Norther Ohio          2487       35.79%       62.69%       86.29%        86.33%

 10/26/2020 Eastern       Ohio Valley            763       22.15%       97.38%       97.51%         97.51%

                          Philadelphia
 10/26/2020 Eastern       Metropo              18341       95.05%       95.30%       99.42%        99.45%

 10/26/2020 Eastern       South Jersey        340245       99.96%       99.98%       99.98%         99.98%

 10/26/2020 Eastern       Tennessee              191       79.06%       85.86%       93.19%         96.86%

                          Western New
 10/26/2020 Eastern       York                    47       95.74%       95.74%      100.00%       100.00%

                          Western
 10/26/2020 Eastern       Pennsylvania          2307       25.27%       91.72%       93.93%        96.14%

 10/26/2020 Great Lakes Central Illinois        4449       78.17%       78.17%       95.39%        99.93%

 10/26/2020 Great Lakes Chicago                  136       76.47%       83.09%       92.65%         97.79%

 10/26/2020 Great Lakes Detroit                   95       47.37%       58.95%       74.74%        74.74%

 10/26/2020 Great Lakes Gateway                 7120       98.79%       98.88%       99.26%        99.44%
                        Greater
 10/26/2020 Great Lakes Indiana                  210       92.38%       93.81%       97.14%         98.57%
                        Greater
 10/26/2020 Great Lakes Michigan                1653        7.26%       27.95%       48.22%         98.85%

 10/26/2020 Great Lakes Lakeland                 593       12.82%       14.67%       16.53%         96.80%

 10/26/2020 Northeast     Albany                 135       93.33%       94.07%      100.00%       100.00%

 10/26/2020 Northeast     Caribbean               31       32.26%       32.26%       32.26%        32.26%
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

                         Connecticut
 10/26/2020 Northeast    Valley                 417       98.08%       98.08%      100.00%       100.00%
                         Greater
 10/26/2020 Northeast    Boston                 268       88.06%       88.06%       98.51%         99.25%

 10/26/2020 Northeast    Long Island             42       90.48%       90.48%       92.86%       100.00%

 10/26/2020 Northeast    New York               390       94.10%       96.92%       99.23%       100.00%

                         Northern New
 10/26/2020 Northeast    England                 94       91.49%       95.74%      100.00%       100.00%

                         Northern New
 10/26/2020 Northeast    Jersey              559874       97.49%       99.99%       99.99%         99.99%

 10/26/2020 Northeast    Triboro                217       94.01%       95.85%       97.70%         98.62%

 10/26/2020 Northeast    Westchester             70       97.14%       98.57%      100.00%       100.00%

 10/26/2020 Pacific      Bay-Valley             155       43.23%       45.81%       50.97%         51.61%
 10/26/2020 Pacific      Honolulu                76       63.16%       67.11%       72.37%         72.37%

 10/26/2020 Pacific      Los Angeles            139       73.38%       73.38%       82.01%         82.01%

 10/26/2020 Pacific      Sacramento            3643       95.69%       96.10%       96.49%        97.01%

 10/26/2020 Pacific      San Diego              259       81.85%       84.56%       85.33%         86.87%

 10/26/2020 Pacific      San Francisco           59       77.97%       77.97%       79.66%        79.66%

 10/26/2020 Pacific      Santa Ana            10083       98.78%       98.95%       99.02%        99.05%

 10/26/2020   Pacific    Sierra Coastal        5452       87.07%       99.08%       99.32%        99.32%
 10/26/2020   Southern   Alabama                124       58.06%       61.29%       91.94%        97.58%
 10/26/2020   Southern   Arkansas                48       87.50%       89.58%       97.92%        97.92%
 10/26/2020   Southern   Dallas                 105       84.76%       91.43%       97.14%        98.10%

 10/26/2020 Southern     Ft. Worth              333       15.02%       96.10%       97.90%         98.80%
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/26/2020 Southern     Gulf Atlantic         1191       10.24%       12.17%       20.07%        88.75%
 10/26/2020 Southern     Houston                 89       84.27%       91.01%       98.88%        98.88%

 10/26/2020 Southern     Louisiana              102       55.88%       60.78%       72.55%         72.55%

 10/26/2020 Southern     Mississippi             43       67.44%       74.42%       90.70%        93.02%

 10/26/2020 Southern     Oklahoma                77       89.61%       96.10%      100.00%       100.00%

 10/26/2020 Southern     Rio Grande             114       85.09%       87.72%       92.98%         99.12%

 10/26/2020   Southern   South Florida           75       80.00%       85.33%       92.00%        92.00%
 10/26/2020   Southern   Suncoast             20099       72.16%       75.60%       76.08%        76.45%
 10/26/2020   Western    Alaska                  16       62.50%       81.25%       87.50%        87.50%
 10/26/2020   Western    Arizona              44682       83.69%       88.45%       92.53%        97.61%

 10/26/2020 Western      Central Plains         179       28.49%       28.49%       32.40%         34.08%

                         Colorado/Wyo
 10/26/2020 Western      ming                  2860       48.01%       82.17%       92.24%        93.01%
 10/26/2020 Western      Dakotas                 60       55.00%       56.67%       71.67%        73.33%
 10/26/2020 Western      Hawkeye                 59       81.36%       84.75%       94.92%        96.61%

 10/26/2020 Western      Mid-Americas           109       81.65%       84.40%       89.91%         92.66%

 10/26/2020 Western      Nevada Sierra         1020       60.98%       78.43%       80.39%        81.76%

 10/26/2020 Western      Northland              838       85.44%       86.87%       95.58%         96.90%
 10/26/2020 Western      Portland               164       63.41%       65.85%       70.73%         72.56%

 10/26/2020 Western      Salt Lake City        2928       89.11%       89.48%       95.42%        96.24%
 10/26/2020 Western      Seattle                735       12.79%       13.61%       18.10%        35.92%
            Capital
 10/27/2020 Metro        Atlanta              15371        0.36%        0.39%        0.40%          0.42%
            Capital
 10/27/2020 Metro        Baltimore            42960       66.10%       66.11%       66.79%        66.79%
            Capital
 10/27/2020 Metro        Capital              24777       99.95%       99.98%       99.98%        99.98%
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                                                                    Processing   Processing
                                           Measured    Processing   Score Plus   Score Plus   Processing
                                           Volume:     Score:       1:           2:           Score Plus 3:
                                           Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area        District         Ballot      Ballot       Ballot       Ballot       Ballot
              Capital     Greater S
 10/27/2020   Metro       Carolina               106       64.15%       86.79%       89.62%         96.23%
              Capital
 10/27/2020   Metro       Greensboro            1736       98.44%       98.91%       98.96%        99.31%
              Capital
 10/27/2020   Metro       Mid-Carolinas         2244       88.68%       99.33%       99.42%        99.78%
              Capital     Norther
 10/27/2020   Metro       Virginia                28       60.71%       92.86%       96.43%        96.43%
              Capital
 10/27/2020   Metro       Richmond                93       86.02%       98.92%       98.92%        98.92%

 10/27/2020 Eastern       Appalachian             69       36.23%       44.93%       44.93%        44.93%

                          Central
 10/27/2020 Eastern       Pennsylvania           366       21.86%       26.78%       32.51%         99.73%

 10/27/2020 Eastern       Kentuckiana             47        8.51%       21.28%       21.28%        95.74%

 10/27/2020 Eastern       Norther Ohio           368        3.80%       10.33%       25.27%         94.02%

 10/27/2020 Eastern       Ohio Valley             61       34.43%       65.57%       81.97%        90.16%

                          Philadelphia
 10/27/2020 Eastern       Metropo                470       85.74%       90.85%       96.17%         99.36%

 10/27/2020 Eastern       South Jersey          4583       99.76%       99.83%       99.87%        99.87%

 10/27/2020 Eastern       Tennessee               27       55.56%       92.59%       96.30%       100.00%

                          Western New
 10/27/2020 Eastern       York                    52       94.23%       96.15%       96.15%        98.08%

                          Western
 10/27/2020 Eastern       Pennsylvania          7131       97.41%       99.50%       99.69%        99.85%

 10/27/2020 Great Lakes Central Illinois         303        7.26%       11.55%       11.55%         98.68%

 10/27/2020 Great Lakes Chicago                   45       64.44%       77.78%       80.00%        82.22%
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                                                                Processing   Processing
                                       Measured    Processing   Score Plus   Score Plus   Processing
                                       Volume:     Score:       1:           2:           Score Plus 3:
                                       Outbound    Outbound     Outbound     Outbound     Outbound
Date         Area       District       Ballot      Ballot       Ballot       Ballot       Ballot

 10/27/2020 Great Lakes Detroit               28       32.14%       85.71%       85.71%        92.86%

 10/27/2020 Great Lakes Gateway              142       38.03%       87.32%       88.73%         88.73%
                        Greater
 10/27/2020 Great Lakes Indiana               80       62.50%       90.00%       92.50%        95.00%
                        Greater
 10/27/2020 Great Lakes Michigan            1166        0.86%       13.12%       99.66%         99.83%

 10/27/2020 Great Lakes Lakeland              40       82.50%       85.00%       85.00%        85.00%

 10/27/2020 Northeast   Albany                 6       50.00%       66.67%       66.67%         66.67%

 10/27/2020 Northeast   Caribbean             64       26.56%       26.56%       26.56%        26.56%

                        Connecticut
 10/27/2020 Northeast   Valley                25       56.00%       80.00%       80.00%        80.00%
                        Greater
 10/27/2020 Northeast   Boston               193       91.19%       94.82%       94.82%         96.37%

 10/27/2020 Northeast   Long Island           36       80.56%       83.33%       86.11%        86.11%

 10/27/2020 Northeast   New York              31       19.35%       70.97%       74.19%        74.19%

                        Northern New
 10/27/2020 Northeast   England               15       66.67%       73.33%       73.33%        80.00%

                        Northern New
 10/27/2020 Northeast   Jersey            370235       99.96%       99.98%       99.99%       100.00%

 10/27/2020 Northeast   Triboro               50       32.00%       34.00%       34.00%        86.00%

 10/27/2020 Northeast   Westchester           12       83.33%      100.00%      100.00%       100.00%

 10/27/2020 Pacific     Bay-Valley            29       51.72%       58.62%       58.62%        58.62%
 10/27/2020 Pacific     Honolulu              23       91.30%      100.00%      100.00%       100.00%

 10/27/2020 Pacific     Los Angeles          250       16.40%       18.80%       96.80%         96.80%
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/27/2020 Pacific      Sacramento              21       42.86%       57.14%       66.67%        76.19%

 10/27/2020 Pacific      San Diego              396       10.86%       13.89%       76.26%         76.52%

 10/27/2020 Pacific      San Francisco           26       84.62%      100.00%      100.00%       100.00%

 10/27/2020 Pacific      Santa Ana              495       24.44%       27.27%       99.60%         99.60%

 10/27/2020   Pacific    Sierra Coastal        1520       98.55%       99.54%       99.61%        99.67%
 10/27/2020   Southern   Alabama                 14       42.86%       57.14%       57.14%        64.29%
 10/27/2020   Southern   Arkansas                 5       80.00%       80.00%       80.00%        80.00%
 10/27/2020   Southern   Dallas                  26       61.54%       65.38%       69.23%        69.23%

 10/27/2020 Southern     Ft. Worth               51       27.45%       39.22%       78.43%       100.00%

 10/27/2020 Southern     Gulf Atlantic          288       14.93%       22.92%       24.65%         25.69%
 10/27/2020 Southern     Houston                 40       70.00%       85.00%       87.50%         90.00%

 10/27/2020 Southern     Louisiana               24       79.17%       91.67%       91.67%        91.67%

 10/27/2020 Southern     Mississippi              6      100.00%      100.00%      100.00%       100.00%

 10/27/2020 Southern     Oklahoma                44       27.27%       31.82%       31.82%        88.64%

 10/27/2020 Southern     Rio Grande              61       45.90%       55.74%       55.74%        77.05%

 10/27/2020   Southern   South Florida           73       83.56%      100.00%      100.00%       100.00%
 10/27/2020   Southern   Suncoast              5919       90.93%       94.46%       94.85%        97.25%
 10/27/2020   Western    Alaska                   5       20.00%       60.00%      100.00%       100.00%
 10/27/2020   Western    Arizona               4614       18.66%       49.26%       55.07%        64.54%

 10/27/2020 Western      Central Plains          17       52.94%       70.59%       70.59%        70.59%

                         Colorado/Wyo
 10/27/2020 Western      ming                  1747        1.32%       62.39%       78.31%        86.61%
 10/27/2020 Western      Dakotas                 50       20.00%       34.00%       38.00%        40.00%
 10/27/2020 Western      Hawkeye                 11       72.73%      100.00%      100.00%       100.00%
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                                                                Processing   Processing
                                       Measured    Processing   Score Plus   Score Plus   Processing
                                       Volume:     Score:       1:           2:           Score Plus 3:
                                       Outbound    Outbound     Outbound     Outbound     Outbound
Date        Area      District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/27/2020 Western   Mid-Americas            17       41.18%       76.47%       76.47%        76.47%

 10/27/2020 Western   Nevada Sierra           92       25.00%       26.09%       31.52%        31.52%

 10/27/2020 Western   Northland             1873       86.87%       98.93%       98.93%        99.79%
 10/27/2020 Western   Portland               233        6.44%        9.01%       96.57%        96.57%

 10/27/2020 Western   Salt Lake City          98        8.16%       39.80%       45.92%        47.96%
 10/27/2020 Western   Seattle                502        6.57%       34.46%       34.46%        35.66%
            Capital
 10/28/2020 Metro     Atlanta                718        3.76%        5.29%        6.82%          7.52%
            Capital
 10/28/2020 Metro     Baltimore            14852       54.75%       96.24%       96.28%        96.49%
            Capital
 10/28/2020 Metro     Capital                202        8.42%       62.38%       67.33%         67.33%
            Capital   Greater S
 10/28/2020 Metro     Carolina               150        8.00%       36.00%       40.00%         40.67%
            Capital
 10/28/2020 Metro     Greensboro             888       66.22%       90.20%       90.99%         91.22%
            Capital
 10/28/2020 Metro     Mid-Carolinas         1097       56.97%       98.72%       99.73%        99.73%
            Capital   Norther
 10/28/2020 Metro     Virginia                80       23.75%       23.75%       25.00%        25.00%
            Capital
 10/28/2020 Metro     Richmond                30        3.33%       16.67%       26.67%        26.67%

 10/28/2020 Eastern   Appalachian             32       31.25%       31.25%       31.25%        34.38%

                      Central
 10/28/2020 Eastern   Pennsylvania           236       16.10%       16.53%       18.64%         19.92%

 10/28/2020 Eastern   Kentuckiana             13       46.15%       61.54%       61.54%        61.54%

 10/28/2020 Eastern   Norther Ohio           120       20.00%       20.83%       25.83%         29.17%

 10/28/2020 Eastern   Ohio Valley            123       22.76%       22.76%       30.08%         33.33%
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                                                                    Processing   Processing
                                           Measured    Processing   Score Plus   Score Plus   Processing
                                           Volume:     Score:       1:           2:           Score Plus 3:
                                           Outbound    Outbound     Outbound     Outbound     Outbound
Date         Area         District         Ballot      Ballot       Ballot       Ballot       Ballot

                          Philadelphia
 10/28/2020 Eastern       Metropo                197       42.64%       50.76%       55.33%         56.85%

 10/28/2020 Eastern       South Jersey         37417       98.26%       99.69%       99.70%        99.79%

 10/28/2020 Eastern       Tennessee               24       58.33%       70.83%       79.17%        79.17%

                          Western New
 10/28/2020 Eastern       York                   120        6.67%        6.67%        6.67%          6.67%

                          Western
 10/28/2020 Eastern       Pennsylvania          7547       97.67%       97.67%       97.92%        98.21%

 10/28/2020 Great Lakes Central Illinois          98        3.06%        4.08%       27.55%         27.55%

 10/28/2020 Great Lakes Chicago                    6       66.67%       83.33%      100.00%       100.00%

 10/28/2020 Great Lakes Detroit                   47       63.83%       70.21%       95.74%        97.87%

 10/28/2020 Great Lakes Gateway                   91       56.04%       69.23%       82.42%        82.42%
                        Greater
 10/28/2020 Great Lakes Indiana                   75       74.67%       80.00%       81.33%        82.67%
                        Greater
 10/28/2020 Great Lakes Michigan                 713        1.82%        2.38%       17.53%         94.53%

 10/28/2020 Great Lakes Lakeland                  48       14.58%       16.67%       16.67%        16.67%

 10/28/2020 Northeast     Albany                   9       66.67%       66.67%       66.67%         77.78%

 10/28/2020 Northeast     Caribbean                0

                          Connecticut
 10/28/2020 Northeast     Valley                  34       41.18%       41.18%       41.18%        41.18%
                          Greater
 10/28/2020 Northeast     Boston                  62       27.42%       27.42%       32.26%        32.26%

 10/28/2020 Northeast     Long Island              3      100.00%      100.00%      100.00%       100.00%
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/28/2020 Northeast    New York                42       83.33%       83.33%      100.00%       100.00%

                         Northern New
 10/28/2020 Northeast    England                 51        3.92%        5.88%        5.88%          5.88%

                         Northern New
 10/28/2020 Northeast    Jersey              659597       99.37%       99.37%       99.96%         99.99%

 10/28/2020 Northeast    Triboro                 33       90.91%       90.91%       93.94%        93.94%

 10/28/2020 Northeast    Westchester             32       25.00%       25.00%       28.13%        31.25%

 10/28/2020 Pacific      Bay-Valley               8       12.50%       25.00%       25.00%        25.00%
 10/28/2020 Pacific      Honolulu                 4       50.00%       75.00%      100.00%       100.00%

 10/28/2020 Pacific      Los Angeles            694       16.43%       16.86%       20.46%         99.42%

 10/28/2020 Pacific      Sacramento             106       85.85%       85.85%       94.34%         95.28%

 10/28/2020 Pacific      San Diego            11408       99.88%       99.89%       99.95%        99.95%

 10/28/2020 Pacific      San Francisco            5        0.00%       20.00%       80.00%         80.00%

 10/28/2020 Pacific      Santa Ana             3901       99.15%       99.21%       99.49%        99.62%

 10/28/2020   Pacific    Sierra Coastal        1352       99.11%       99.19%       99.26%        99.41%
 10/28/2020   Southern   Alabama                 64       18.75%       23.44%       23.44%        23.44%
 10/28/2020   Southern   Arkansas                 4        0.00%        0.00%        0.00%        25.00%
 10/28/2020   Southern   Dallas                  58        6.90%        6.90%       13.79%        13.79%

 10/28/2020 Southern     Ft. Worth               54        0.00%        0.00%        1.85%          1.85%

 10/28/2020 Southern     Gulf Atlantic          409       15.89%       16.87%       17.60%         18.83%
 10/28/2020 Southern     Houston                  7       14.29%       28.57%       85.71%         85.71%

 10/28/2020 Southern     Louisiana                5      100.00%      100.00%      100.00%       100.00%

 10/28/2020 Southern     Mississippi              4       50.00%       75.00%      100.00%       100.00%
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/28/2020 Southern     Oklahoma                 2       50.00%       50.00%      100.00%       100.00%

 10/28/2020 Southern     Rio Grande             142        4.23%        5.63%        8.45%         14.08%

 10/28/2020   Southern   South Florida          147       24.49%       24.49%       25.17%        25.85%
 10/28/2020   Southern   Suncoast             14527       89.55%       89.81%       90.00%        90.18%
 10/28/2020   Western    Alaska                   4       50.00%       50.00%       75.00%       100.00%
 10/28/2020   Western    Arizona              21294       88.64%       88.98%       95.74%        96.39%

 10/28/2020 Western      Central Plains          17       17.65%       17.65%       41.18%        41.18%

                         Colorado/Wyo
 10/28/2020 Western      ming                  1518        0.40%        0.72%       82.21%         86.82%
 10/28/2020 Western      Dakotas                 22        4.55%        9.09%       22.73%         27.27%
 10/28/2020 Western      Hawkeye                  5       40.00%       40.00%       40.00%         40.00%

 10/28/2020 Western      Mid-Americas            26       69.23%       69.23%       84.62%        84.62%

 10/28/2020 Western      Nevada Sierra          104       18.27%       19.23%       25.00%         29.81%

 10/28/2020 Western      Northland              559        0.36%       93.74%       95.53%         95.71%
 10/28/2020 Western      Portland                53       15.09%       15.09%       32.08%         33.96%

 10/28/2020 Western      Salt Lake City        3767       97.61%       97.64%       98.19%        98.30%
 10/28/2020 Western      Seattle                321        0.62%        1.87%       36.14%        37.07%
            Capital
 10/29/2020 Metro        Atlanta               2233        2.24%        2.24%        2.55%          2.73%
            Capital
 10/29/2020 Metro        Baltimore             1981       46.09%       46.09%       97.78%        97.78%
            Capital
 10/29/2020 Metro        Capital                 91       36.26%       36.26%       52.75%        56.04%
            Capital      Greater S
 10/29/2020 Metro        Carolina                45       62.22%       62.22%       82.22%        91.11%
            Capital
 10/29/2020 Metro        Greensboro             967       88.93%       88.93%       96.69%         96.90%
            Capital
 10/29/2020 Metro        Mid-Carolinas          290       14.83%       14.83%       22.07%         22.41%
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                                                                    Processing   Processing
                                           Measured    Processing   Score Plus   Score Plus   Processing
                                           Volume:     Score:       1:           2:           Score Plus 3:
                                           Outbound    Outbound     Outbound     Outbound     Outbound
Date        Area          District         Ballot      Ballot       Ballot       Ballot       Ballot
            Capital       Norther
 10/29/2020 Metro         Virginia               119       19.33%       19.33%       19.33%         21.85%
            Capital
 10/29/2020 Metro         Richmond                30       83.33%       83.33%       86.67%        90.00%

 10/29/2020 Eastern       Appalachian             24       79.17%       83.33%       83.33%        83.33%

                          Central
 10/29/2020 Eastern       Pennsylvania            39       46.15%       53.85%       56.41%        64.10%

 10/29/2020 Eastern       Kentuckiana             68       22.06%       23.53%       26.47%        26.47%

 10/29/2020 Eastern       Norther Ohio           566       86.57%       87.81%       88.34%         90.11%

 10/29/2020 Eastern       Ohio Valley           1821       95.44%       95.44%       95.55%        96.21%

                          Philadelphia
 10/29/2020 Eastern       Metropo               2352       99.19%       99.32%       99.57%        99.83%

 10/29/2020 Eastern       South Jersey        296941       99.71%       99.71%       99.97%         99.97%

 10/29/2020 Eastern       Tennessee              173       23.70%       23.70%       25.43%         26.01%

                          Western New
 10/29/2020 Eastern       York                    27       66.67%       70.37%       70.37%        70.37%

                          Western
 10/29/2020 Eastern       Pennsylvania          8433       99.41%       99.57%       99.58%        99.64%

 10/29/2020 Great Lakes Central Illinois        1301       98.92%       98.92%       98.92%        99.31%

 10/29/2020 Great Lakes Chicago                   60       80.00%       85.00%       86.67%        90.00%

 10/29/2020 Great Lakes Detroit                   95       95.79%       95.79%       98.95%        98.95%

 10/29/2020 Great Lakes Gateway                  177       60.45%       71.19%       73.45%         89.27%
                        Greater
 10/29/2020 Great Lakes Indiana                   61       75.41%       80.33%       93.44%        96.72%
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                                                                 Processing   Processing
                                        Measured    Processing   Score Plus   Score Plus   Processing
                                        Volume:     Score:       1:           2:           Score Plus 3:
                                        Outbound    Outbound     Outbound     Outbound     Outbound
Date         Area       District        Ballot      Ballot       Ballot       Ballot       Ballot
                        Greater
 10/29/2020 Great Lakes Michigan             1864       97.64%       97.64%       97.64%        97.96%

 10/29/2020 Great Lakes Lakeland               61       90.16%       90.16%       93.44%        96.72%

 10/29/2020 Northeast   Albany                 14       78.57%       78.57%       78.57%        78.57%

 10/29/2020 Northeast   Caribbean

                        Connecticut
 10/29/2020 Northeast   Valley                 47       42.55%       42.55%       51.06%        55.32%
                        Greater
 10/29/2020 Northeast   Boston                199       22.61%       22.61%       24.12%         24.62%

 10/29/2020 Northeast   Long Island            23       95.65%       95.65%      100.00%       100.00%

 10/29/2020 Northeast   New York               68       79.41%       80.88%       89.71%        89.71%

                        Northern New
 10/29/2020 Northeast   England                34       64.71%       64.71%       79.41%        79.41%

                        Northern New
 10/29/2020 Northeast   Jersey             101853       86.30%       99.49%       99.49%         99.95%

 10/29/2020 Northeast   Triboro                25       92.00%       92.00%       92.00%        96.00%

 10/29/2020 Northeast   Westchester            23       82.61%       82.61%       82.61%        82.61%

 10/29/2020 Pacific     Bay-Valley             37       59.46%       59.46%       70.27%        94.59%
 10/29/2020 Pacific     Honolulu               31       64.52%       87.10%       90.32%        96.77%

 10/29/2020 Pacific     Los Angeles            92       54.35%       56.52%       57.61%        59.78%

 10/29/2020 Pacific     Sacramento            434       97.00%       97.00%       97.00%         98.39%

 10/29/2020 Pacific     San Diego             869       98.50%       98.50%       98.73%         99.19%

 10/29/2020 Pacific     San Francisco          38       65.79%       65.79%       78.95%        89.47%
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/29/2020 Pacific      Santa Ana             3480       99.22%       99.28%       99.54%        99.83%

 10/29/2020   Pacific    Sierra Coastal         100       35.00%       35.00%       39.00%         46.00%
 10/29/2020   Southern   Alabama                 39       66.67%       66.67%       66.67%         66.67%
 10/29/2020   Southern   Arkansas                35       85.71%       85.71%       94.29%         94.29%
 10/29/2020   Southern   Dallas                  29       55.17%       65.52%       75.86%         75.86%

 10/29/2020 Southern     Ft. Worth             1056       99.34%       99.43%       99.43%        99.62%

 10/29/2020 Southern     Gulf Atlantic           99       33.33%       33.33%       34.34%        37.37%
 10/29/2020 Southern     Houston                 52       84.62%       84.62%       96.15%       100.00%

 10/29/2020 Southern     Louisiana               10       90.00%       90.00%       90.00%        90.00%

 10/29/2020 Southern     Mississippi              5       80.00%       80.00%       80.00%         80.00%

 10/29/2020 Southern     Oklahoma                12       75.00%       91.67%       91.67%       100.00%

 10/29/2020 Southern     Rio Grande              63       90.48%       90.48%       93.65%        95.24%

 10/29/2020   Southern   South Florida           30       56.67%       66.67%       70.00%        76.67%
 10/29/2020   Southern   Suncoast              1969       25.90%       38.45%       39.36%        41.04%
 10/29/2020   Western    Alaska                   5       80.00%       80.00%       80.00%       100.00%
 10/29/2020   Western    Arizona              18240       88.14%       90.77%       95.26%        96.47%

 10/29/2020 Western      Central Plains          57       29.82%       29.82%       35.09%        40.35%

                         Colorado/Wyo
 10/29/2020 Western      ming                  1126       53.73%       53.91%       54.53%        62.43%
 10/29/2020 Western      Dakotas                 31       35.48%       45.16%       70.97%        80.65%
 10/29/2020 Western      Hawkeye                 15       60.00%       73.33%       73.33%        86.67%

 10/29/2020 Western      Mid-Americas            19       68.42%       73.68%       73.68%        89.47%

 10/29/2020 Western      Nevada Sierra          117       25.64%       27.35%       35.04%         49.57%

 10/29/2020 Western      Northland               55       45.45%       47.27%       76.36%        80.00%
 10/29/2020 Western      Portland                74       28.38%       28.38%       31.08%        37.84%
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                                                                Processing   Processing
                                       Measured    Processing   Score Plus   Score Plus   Processing
                                       Volume:     Score:       1:           2:           Score Plus 3:
                                       Outbound    Outbound     Outbound     Outbound     Outbound
Date        Area      District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/29/2020 Western   Salt Lake City        8549       98.54%       98.58%       98.78%        98.87%
 10/29/2020 Western   Seattle                203       11.82%       11.82%       11.82%        13.79%
            Capital
 10/30/2020 Metro     Atlanta                673        3.42%        3.42%        3.42%          3.86%
            Capital
 10/30/2020 Metro     Baltimore              288        2.43%       11.11%       11.11%         88.19%
            Capital
 10/30/2020 Metro     Capital                 43       23.26%       37.21%       37.21%        51.16%
            Capital   Greater S
 10/30/2020 Metro     Carolina                79       17.72%       24.05%       24.05%        34.18%
            Capital
 10/30/2020 Metro     Greensboro            3148        0.83%       96.86%       96.89%         97.14%
            Capital
 10/30/2020 Metro     Mid-Carolinas           65       15.38%       21.54%       21.54%        29.23%
            Capital   Norther
 10/30/2020 Metro     Virginia                17       88.24%       88.24%       88.24%        88.24%
            Capital
 10/30/2020 Metro     Richmond                36       88.89%       94.44%       94.44%        94.44%

 10/30/2020 Eastern   Appalachian             57       21.05%       24.56%       24.56%        24.56%

                      Central
 10/30/2020 Eastern   Pennsylvania          2945        0.85%       99.63%       99.63%         99.63%

 10/30/2020 Eastern   Kentuckiana             18       66.67%       72.22%       72.22%        72.22%

 10/30/2020 Eastern   Norther Ohio          3678       16.48%       99.10%       99.54%        99.56%

 10/30/2020 Eastern   Ohio Valley            151       27.81%       78.81%       78.81%         78.81%

                      Philadelphia
 10/30/2020 Eastern   Metropo               4629       98.88%       99.40%       99.40%        99.65%

 10/30/2020 Eastern   South Jersey           258       35.27%       50.39%       50.39%         99.22%

 10/30/2020 Eastern   Tennessee               62       79.03%       85.48%       87.10%        87.10%
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                                                                    Processing   Processing
                                           Measured    Processing   Score Plus   Score Plus   Processing
                                           Volume:     Score:       1:           2:           Score Plus 3:
                                           Outbound    Outbound     Outbound     Outbound     Outbound
Date         Area         District         Ballot      Ballot       Ballot       Ballot       Ballot

                          Western New
 10/30/2020 Eastern       York                    14      100.00%      100.00%      100.00%       100.00%

                          Western
 10/30/2020 Eastern       Pennsylvania         14446       99.22%       99.29%       99.46%        99.46%

 10/30/2020 Great Lakes Central Illinois        1000       73.70%       97.20%       97.20%        97.40%

 10/30/2020 Great Lakes Chicago                   21       85.71%       95.24%       95.24%        95.24%

 10/30/2020 Great Lakes Detroit                   59       77.97%       88.14%       88.14%        93.22%

 10/30/2020 Great Lakes Gateway                  549       93.26%       95.45%       95.81%         95.99%
                        Greater
 10/30/2020 Great Lakes Indiana                   62       20.97%       20.97%       20.97%        24.19%
                        Greater
 10/30/2020 Great Lakes Michigan                 588       97.28%       98.64%       98.64%         98.64%

 10/30/2020 Great Lakes Lakeland                  19       73.68%       73.68%       73.68%        73.68%

 10/30/2020 Northeast     Albany                  25       88.00%       96.00%       96.00%        96.00%

 10/30/2020 Northeast     Caribbean                7       85.71%       85.71%       85.71%         85.71%

                          Connecticut
 10/30/2020 Northeast     Valley                  20       85.00%      100.00%      100.00%       100.00%
                          Greater
 10/30/2020 Northeast     Boston                  42       78.57%       88.10%       88.10%        88.10%

 10/30/2020 Northeast     Long Island              6      100.00%      100.00%      100.00%       100.00%

 10/30/2020 Northeast     New York                37       94.59%       97.30%       97.30%        97.30%

                          Northern New
 10/30/2020 Northeast     England                 25       44.00%       48.00%       48.00%        48.00%

                          Northern New
 10/30/2020 Northeast     Jersey              167939       95.65%       96.40%       97.19%         97.19%
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/30/2020 Northeast    Triboro                 27       70.37%       74.07%       74.07%        74.07%

 10/30/2020 Northeast    Westchester             14       78.57%       85.71%       85.71%        85.71%

 10/30/2020 Pacific      Bay-Valley              74       90.54%       90.54%       90.54%        90.54%
 10/30/2020 Pacific      Honolulu                19       94.74%       94.74%       94.74%       100.00%

 10/30/2020 Pacific      Los Angeles            100       93.00%       93.00%       93.00%         93.00%

 10/30/2020 Pacific      Sacramento              57       31.58%       31.58%       31.58%        31.58%

 10/30/2020 Pacific      San Diego             4477       99.17%       99.31%       99.31%        99.31%

 10/30/2020 Pacific      San Francisco           35       97.14%       97.14%       97.14%       100.00%

 10/30/2020 Pacific      Santa Ana             2860       98.32%       98.53%       98.53%        98.53%

 10/30/2020   Pacific    Sierra Coastal          61       42.62%       42.62%       45.90%        47.54%
 10/30/2020   Southern   Alabama                 48       18.75%       18.75%       18.75%        18.75%
 10/30/2020   Southern   Arkansas                 7       85.71%       85.71%       85.71%        85.71%
 10/30/2020   Southern   Dallas                  16       87.50%       93.75%       93.75%        93.75%

 10/30/2020 Southern     Ft. Worth               22       77.27%       86.36%       86.36%        90.91%

 10/30/2020 Southern     Gulf Atlantic           78       34.62%       42.31%       42.31%        42.31%
 10/30/2020 Southern     Houston                 45       35.56%       37.78%       37.78%        37.78%

 10/30/2020 Southern     Louisiana               20       70.00%       80.00%       80.00%       100.00%

 10/30/2020 Southern     Mississippi              3       66.67%       66.67%       66.67%         66.67%

 10/30/2020 Southern     Oklahoma                32       90.63%       93.75%       93.75%        96.88%

 10/30/2020 Southern     Rio Grande              32       84.38%       87.50%       87.50%        87.50%

 10/30/2020 Southern     South Florida           10       60.00%       90.00%       90.00%        90.00%
 10/30/2020 Southern     Suncoast              6688       89.98%       90.25%       90.43%        90.61%
 10/30/2020 Western      Alaska                  13       38.46%       38.46%       69.23%        84.62%
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                                                                  Processing    Processing
                                       Measured     Processing    Score Plus    Score Plus    Processing
                                       Volume:      Score:        1:            2:            Score Plus 3:
                                       Outbound     Outbound      Outbound      Outbound      Outbound
Date        Area      District         Ballot       Ballot        Ballot        Ballot        Ballot
 10/30/2020 Western   Arizona               10571        89.84%        93.17%        93.40%          95.03%

 10/30/2020 Western   Central Plains          37        70.27%        70.27%        70.27%         70.27%

                      Colorado/Wyo
 10/30/2020 Western   ming                  2967        92.35%        94.78%        94.81%         95.18%
 10/30/2020 Western   Dakotas                 25        84.00%        84.00%        84.00%         92.00%
 10/30/2020 Western   Hawkeye                 26        96.15%       100.00%       100.00%        100.00%

 10/30/2020 Western   Mid-Americas            59        94.92%        96.61%        96.61%         98.31%

 10/30/2020 Western   Nevada Sierra          133        32.33%        36.09%        36.84%         39.85%

 10/30/2020 Western   Northland               37        37.84%        40.54%        40.54%         72.97%
 10/30/2020 Western   Portland                57        78.95%        85.96%        85.96%         85.96%

 10/30/2020 Western   Salt Lake City         615        85.85%        86.34%        86.67%         86.67%
 10/30/2020 Western   Seattle                189        34.39%        35.45%        36.51%         38.10%
            Capital
 10/31/2020 Metro     Atlanta               1393         0.79%         1.36%         1.44%           1.44%
            Capital
 10/31/2020 Metro     Baltimore               51         5.88%        13.73%        37.25%         37.25%
            Capital
 10/31/2020 Metro     Capital                 27        40.74%        59.26%        59.26%         59.26%
            Capital   Greater S
 10/31/2020 Metro     Carolina                36        25.00%        30.56%        58.33%         58.33%
            Capital
 10/31/2020 Metro     Greensboro            1277         0.55%         1.57%        98.83%         98.83%
            Capital
 10/31/2020 Metro     Mid-Carolinas           16        56.25%        62.50%        68.75%         68.75%
            Capital   Norther
 10/31/2020 Metro     Virginia                28        57.14%        85.71%        92.86%         92.86%
            Capital
 10/31/2020 Metro     Richmond               145         6.90%        13.79%        13.79%         13.79%

 10/31/2020 Eastern   Appalachian             11        81.82%        90.91%        90.91%         90.91%

                      Central
 10/31/2020 Eastern   Pennsylvania           190         3.16%         9.47%        97.37%         97.37%
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                                                                    Processing   Processing
                                           Measured    Processing   Score Plus   Score Plus   Processing
                                           Volume:     Score:       1:           2:           Score Plus 3:
                                           Outbound    Outbound     Outbound     Outbound     Outbound
Date         Area         District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/31/2020 Eastern       Kentuckiana              9       66.67%       77.78%       77.78%         77.78%

 10/31/2020 Eastern       Norther Ohio           310        6.45%       15.81%       85.16%         85.16%

 10/31/2020 Eastern       Ohio Valley             31       61.29%       93.55%       96.77%        96.77%

                          Philadelphia
 10/31/2020 Eastern       Metropo                 69       49.28%       60.87%       78.26%        82.61%

 10/31/2020 Eastern       South Jersey         24304       98.23%       98.25%       99.82%        99.82%

 10/31/2020 Eastern       Tennessee               15       26.67%       53.33%       53.33%        53.33%

                          Western New
 10/31/2020 Eastern       York                     1      100.00%      100.00%      100.00%       100.00%

                          Western
 10/31/2020 Eastern       Pennsylvania          3206       97.16%       98.13%       98.69%        98.69%

 10/31/2020 Great Lakes Central Illinois          72        0.00%       81.94%       98.61%        98.61%

 10/31/2020 Great Lakes Chicago                   20       95.00%       95.00%       95.00%        95.00%

 10/31/2020 Great Lakes Detroit                   76       67.11%       72.37%       75.00%        76.32%

 10/31/2020 Great Lakes Gateway                   27       11.11%       37.04%       62.96%        74.07%
                        Greater
 10/31/2020 Great Lakes Indiana                   38       76.32%       92.11%       92.11%        92.11%
                        Greater
 10/31/2020 Great Lakes Michigan                 854       77.75%       93.79%       94.03%         94.03%

 10/31/2020 Great Lakes Lakeland                  14       71.43%       85.71%       92.86%        92.86%

 10/31/2020 Northeast     Albany                  82        6.10%        6.10%        7.32%          7.32%

 10/31/2020 Northeast     Caribbean
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

                         Connecticut
 10/31/2020 Northeast    Valley                  11       63.64%       81.82%      100.00%       100.00%
                         Greater
 10/31/2020 Northeast    Boston                  40       35.00%       50.00%       52.50%        52.50%

 10/31/2020 Northeast    Long Island             52        1.92%        1.92%        7.69%          7.69%

 10/31/2020 Northeast    New York                13       61.54%       92.31%      100.00%       100.00%

                         Northern New
 10/31/2020 Northeast    England                 16        6.25%        6.25%        6.25%          6.25%

                         Northern New
 10/31/2020 Northeast    Jersey                1046       13.77%       15.11%       39.48%        74.67%

 10/31/2020 Northeast    Triboro                 23       69.57%       82.61%       95.65%        95.65%

 10/31/2020 Northeast    Westchester             28       21.43%       25.00%       25.00%        25.00%

 10/31/2020 Pacific      Bay-Valley              16       68.75%       81.25%       81.25%        81.25%
 10/31/2020 Pacific      Honolulu                23       95.65%      100.00%      100.00%       100.00%

 10/31/2020 Pacific      Los Angeles             14       64.29%       78.57%       78.57%        78.57%

 10/31/2020 Pacific      Sacramento              38       18.42%       55.26%       55.26%        55.26%

 10/31/2020 Pacific      San Diego             1258       98.41%       99.28%       99.60%        99.60%

 10/31/2020 Pacific      San Francisco           14       85.71%       85.71%       92.86%        92.86%

 10/31/2020 Pacific      Santa Ana             4800       99.56%       99.73%       99.83%        99.83%

 10/31/2020   Pacific    Sierra Coastal           8       37.50%       62.50%       62.50%         87.50%
 10/31/2020   Southern   Alabama                129        5.43%        7.75%        7.75%          7.75%
 10/31/2020   Southern   Arkansas                 9       33.33%       55.56%       55.56%         55.56%
 10/31/2020   Southern   Dallas                  88        6.82%       62.50%       63.64%         63.64%

 10/31/2020 Southern     Ft. Worth               29       62.07%      100.00%      100.00%       100.00%
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

 10/31/2020 Southern     Gulf Atlantic           44       50.00%       59.09%       61.36%        61.36%
 10/31/2020 Southern     Houston                 58        3.45%        8.62%        8.62%         8.62%

 10/31/2020 Southern     Louisiana               21       14.29%       14.29%       14.29%        14.29%

 10/31/2020 Southern     Mississippi             35        0.00%        2.86%        2.86%          2.86%

 10/31/2020 Southern     Oklahoma                44       13.64%       15.91%       18.18%        18.18%

 10/31/2020 Southern     Rio Grande              20       60.00%       85.00%       95.00%        95.00%

 10/31/2020   Southern   South Florida           18       66.67%       77.78%       83.33%        83.33%
 10/31/2020   Southern   Suncoast              1056       15.53%       18.66%       20.64%        21.02%
 10/31/2020   Western    Alaska                   4        0.00%       50.00%       75.00%       100.00%
 10/31/2020   Western    Arizona               3648       63.90%       86.60%       89.50%        89.53%

 10/31/2020 Western      Central Plains          19       31.58%       47.37%       47.37%        47.37%

                         Colorado/Wyo
 10/31/2020 Western      ming                   768       11.07%       85.55%       92.84%        92.84%
 10/31/2020 Western      Dakotas                  7       57.14%      100.00%      100.00%       100.00%
 10/31/2020 Western      Hawkeye                  4       75.00%      100.00%      100.00%       100.00%

 10/31/2020 Western      Mid-Americas             9       33.33%       55.56%       55.56%         55.56%

 10/31/2020 Western      Nevada Sierra           29       27.59%       41.38%       41.38%        41.38%

 10/31/2020 Western      Northland               16       12.50%       43.75%       56.25%        56.25%
 10/31/2020 Western      Portland                58       20.69%       27.59%       27.59%        27.59%

 10/31/2020 Western      Salt Lake City         139       19.42%       30.94%       41.01%         41.01%
 10/31/2020 Western      Seattle                118       12.71%       21.19%       22.03%         22.88%
            Capital
  11/2/2020 Metro        Atlanta                106       10.38%       12.26%       17.92%         17.92%
            Capital
  11/2/2020 Metro        Baltimore              474        1.90%        5.06%        5.91%         71.73%
            Capital
  11/2/2020 Metro        Capital                 47        6.38%       42.55%       68.09%        68.09%
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                                                                    Processing   Processing
                                           Measured    Processing   Score Plus   Score Plus   Processing
                                           Volume:     Score:       1:           2:           Score Plus 3:
                                           Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area        District         Ballot      Ballot       Ballot       Ballot       Ballot
              Capital     Greater S
  11/2/2020   Metro       Carolina                46       41.30%       50.00%       67.39%        73.91%
              Capital
  11/2/2020   Metro       Greensboro             127        6.30%       14.96%       23.62%         77.17%
              Capital
  11/2/2020   Metro       Mid-Carolinas           36       33.33%       52.78%       63.89%        63.89%
              Capital     Norther
  11/2/2020   Metro       Virginia                25       24.00%       80.00%       92.00%        92.00%
              Capital
  11/2/2020   Metro       Richmond               144       22.22%       22.22%       25.69%         29.17%

  11/2/2020 Eastern       Appalachian             30       20.00%       26.67%       90.00%        90.00%

                          Central
  11/2/2020 Eastern       Pennsylvania          1529       96.93%       98.50%       98.63%        99.41%

  11/2/2020 Eastern       Kentuckiana             27       25.93%       33.33%       33.33%        33.33%

  11/2/2020 Eastern       Norther Ohio          1786       86.51%       88.35%       89.98%        92.33%

  11/2/2020 Eastern       Ohio Valley             51        3.92%       68.63%       70.59%        96.08%

                          Philadelphia
  11/2/2020 Eastern       Metropo               1046        5.54%        9.56%       98.37%         98.47%

  11/2/2020 Eastern       South Jersey          9664       97.44%       99.11%       99.17%        99.21%

  11/2/2020 Eastern       Tennessee              123       18.70%       21.95%       26.83%         27.64%

                          Western New
  11/2/2020 Eastern       York                    16       43.75%       87.50%       87.50%        87.50%

                          Western
  11/2/2020 Eastern       Pennsylvania           996       33.94%       70.08%       86.85%         87.25%

  11/2/2020 Great Lakes Central Illinois         389        0.00%        0.00%       81.49%         86.12%

  11/2/2020 Great Lakes Chicago                   42       19.05%       40.48%       45.24%        45.24%
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                                                                Processing   Processing
                                       Measured    Processing   Score Plus   Score Plus   Processing
                                       Volume:     Score:       1:           2:           Score Plus 3:
                                       Outbound    Outbound     Outbound     Outbound     Outbound
Date        Area        District       Ballot      Ballot       Ballot       Ballot       Ballot

  11/2/2020 Great Lakes Detroit              310        2.26%        4.19%        4.84%          4.84%

  11/2/2020 Great Lakes Gateway               54       14.81%       18.52%       38.89%        42.59%
                        Greater
  11/2/2020 Great Lakes Indiana               42       40.48%       45.24%       47.62%        47.62%
                        Greater
  11/2/2020 Great Lakes Michigan            1199        2.17%        2.50%        2.75%          2.75%

  11/2/2020 Great Lakes Lakeland             110        0.91%        1.82%        2.73%          4.55%

  11/2/2020 Northeast   Albany                43       18.60%       23.26%       25.58%        25.58%

  11/2/2020 Northeast   Caribbean            140        0.71%        1.43%        1.43%          3.57%

                        Connecticut
  11/2/2020 Northeast   Valley                16       62.50%       62.50%       68.75%        68.75%
                        Greater
  11/2/2020 Northeast   Boston                29       62.07%       75.86%       82.76%        96.55%

  11/2/2020 Northeast   Long Island           11       54.55%       63.64%       63.64%        63.64%

  11/2/2020 Northeast   New York             215       13.02%       13.95%       13.95%         14.42%

                        Northern New
  11/2/2020 Northeast   England               54        9.26%       11.11%       11.11%        11.11%

                        Northern New
  11/2/2020 Northeast   Jersey             29908       98.07%       98.08%       98.12%        98.46%

  11/2/2020 Northeast   Triboro               66       21.21%       21.21%       21.21%        21.21%

  11/2/2020 Northeast   Westchester           25        8.00%        8.00%        8.00%          8.00%

  11/2/2020 Pacific     Bay-Valley            44       20.45%       22.73%       22.73%        25.00%
  11/2/2020 Pacific     Honolulu              48       16.67%       18.75%       18.75%        27.08%

  11/2/2020 Pacific     Los Angeles           14       42.86%       64.29%       71.43%        71.43%
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

  11/2/2020 Pacific      Sacramento              75       12.00%       14.67%       80.00%        81.33%

  11/2/2020 Pacific      San Diego               91        9.89%       12.09%       14.29%        19.78%

  11/2/2020 Pacific      San Francisco           29       37.93%       37.93%       37.93%        37.93%

  11/2/2020 Pacific      Santa Ana              362       42.27%       43.65%       44.20%         44.48%

  11/2/2020   Pacific    Sierra Coastal          13        7.69%       15.38%       38.46%        38.46%
  11/2/2020   Southern   Alabama                973        0.21%       97.94%       98.77%        98.87%
  11/2/2020   Southern   Arkansas                 6       16.67%       33.33%       66.67%        66.67%
  11/2/2020   Southern   Dallas                  16       25.00%       37.50%       75.00%        75.00%

  11/2/2020 Southern     Ft. Worth                4       75.00%      100.00%      100.00%       100.00%

  11/2/2020 Southern     Gulf Atlantic           38       31.58%       42.11%       55.26%        57.89%
  11/2/2020 Southern     Houston                  9        0.00%       11.11%       22.22%        33.33%

  11/2/2020 Southern     Louisiana               29       20.69%       24.14%       55.17%        55.17%

  11/2/2020 Southern     Mississippi             26        3.85%       11.54%       23.08%        23.08%

  11/2/2020 Southern     Oklahoma                11       54.55%       72.73%      100.00%       100.00%

  11/2/2020 Southern     Rio Grande              23       47.83%       60.87%       91.30%        91.30%

  11/2/2020   Southern   South Florida          149       15.44%       17.45%       18.12%        19.46%
  11/2/2020   Southern   Suncoast              1723       26.70%       27.16%       27.80%        28.15%
  11/2/2020   Western    Alaska                   6       66.67%       66.67%      100.00%       100.00%
  11/2/2020   Western    Arizona               1636       13.88%       44.56%       85.88%        87.78%

  11/2/2020 Western      Central Plains           4        0.00%        0.00%       25.00%         25.00%

                         Colorado/Wyo
  11/2/2020 Western      ming                   741        2.43%       58.16%       85.96%         86.10%
  11/2/2020 Western      Dakotas                 10       40.00%       50.00%       80.00%         80.00%
  11/2/2020 Western      Hawkeye                  7       57.14%       57.14%       85.71%         85.71%
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                                                                Processing   Processing
                                       Measured    Processing   Score Plus   Score Plus   Processing
                                       Volume:     Score:       1:           2:           Score Plus 3:
                                       Outbound    Outbound     Outbound     Outbound     Outbound
Date        Area      District         Ballot      Ballot       Ballot       Ballot       Ballot

  11/2/2020 Western   Mid-Americas           974        0.62%       98.46%       98.87%         98.97%

  11/2/2020 Western   Nevada Sierra           36        5.56%       16.67%       16.67%        19.44%

  11/2/2020 Western   Northland               21        9.52%       19.05%       28.57%        28.57%
  11/2/2020 Western   Portland                85        9.41%       12.94%       17.65%        17.65%

  11/2/2020 Western   Salt Lake City          96        4.17%        4.17%        7.29%          9.38%
  11/2/2020 Western   Seattle                169       10.65%       13.61%       20.71%         23.08%
            Capital
  11/3/2020 Metro     Atlanta                  4        0.00%      100.00%      100.00%       100.00%
            Capital
  11/3/2020 Metro     Baltimore               17        0.00%        5.88%       47.06%         64.71%
            Capital
  11/3/2020 Metro     Capital                  1        0.00%        0.00%      100.00%       100.00%
            Capital   Greater S
  11/3/2020 Metro     Carolina                12        8.33%       91.67%       91.67%       100.00%
            Capital
  11/3/2020 Metro     Greensboro              16        0.00%       25.00%       25.00%        25.00%
            Capital
  11/3/2020 Metro     Mid-Carolinas           12        0.00%       75.00%      100.00%       100.00%
            Capital   Norther
  11/3/2020 Metro     Virginia                 1        0.00%      100.00%      100.00%       100.00%
            Capital
  11/3/2020 Metro     Richmond                 4       25.00%       50.00%       50.00%       100.00%

  11/3/2020 Eastern   Appalachian              5        0.00%       80.00%      100.00%       100.00%

                      Central
  11/3/2020 Eastern   Pennsylvania            19        0.00%       63.16%      100.00%       100.00%

  11/3/2020 Eastern   Kentuckiana              2        0.00%      100.00%      100.00%       100.00%

  11/3/2020 Eastern   Norther Ohio            25        0.00%       68.00%       84.00%        88.00%

  11/3/2020 Eastern   Ohio Valley              4        0.00%       25.00%       50.00%         50.00%
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                                                                    Processing   Processing
                                           Measured    Processing   Score Plus   Score Plus   Processing
                                           Volume:     Score:       1:           2:           Score Plus 3:
                                           Outbound    Outbound     Outbound     Outbound     Outbound
Date         Area         District         Ballot      Ballot       Ballot       Ballot       Ballot

                          Philadelphia
  11/3/2020 Eastern       Metropo                 16        0.00%       68.75%       68.75%       100.00%

  11/3/2020 Eastern       South Jersey             8       75.00%      100.00%      100.00%       100.00%

  11/3/2020 Eastern       Tennessee                2        0.00%      100.00%      100.00%       100.00%

                          Western New
  11/3/2020 Eastern       York

                          Western
  11/3/2020 Eastern       Pennsylvania           135        0.00%       75.56%       88.15%         95.56%

  11/3/2020 Great Lakes Central Illinois           7        0.00%       14.29%       28.57%       100.00%

  11/3/2020 Great Lakes Chicago                    5        0.00%        0.00%      100.00%       100.00%

  11/3/2020 Great Lakes Detroit                    7        0.00%       71.43%      100.00%       100.00%

  11/3/2020 Great Lakes Gateway                    1        0.00%      100.00%      100.00%       100.00%
                        Greater
  11/3/2020 Great Lakes Indiana                    5       80.00%      100.00%      100.00%       100.00%
                        Greater
  11/3/2020 Great Lakes Michigan                   3        0.00%      100.00%      100.00%       100.00%

  11/3/2020 Great Lakes Lakeland                   0

  11/3/2020 Northeast     Albany

  11/3/2020 Northeast     Caribbean

                          Connecticut
  11/3/2020 Northeast     Valley
                          Greater
  11/3/2020 Northeast     Boston                   2        0.00%       50.00%      100.00%       100.00%

  11/3/2020 Northeast     Long Island
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                                                                  Processing   Processing
                                          Measured   Processing   Score Plus   Score Plus   Processing
                                          Volume:    Score:       1:           2:           Score Plus 3:
                                          Outbound   Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot     Ballot       Ballot       Ballot       Ballot

  11/3/2020 Northeast    New York

                         Northern New
  11/3/2020 Northeast    England

                         Northern New
  11/3/2020 Northeast    Jersey                 73       16.44%       72.60%       72.60%        75.34%

  11/3/2020 Northeast    Triboro

  11/3/2020 Northeast    Westchester             0

  11/3/2020 Pacific      Bay-Valley              0
  11/3/2020 Pacific      Honolulu

  11/3/2020 Pacific      Los Angeles             0

  11/3/2020 Pacific      Sacramento             64        0.00%        0.00%        0.00%       100.00%

  11/3/2020 Pacific      San Diego               4        0.00%       25.00%       75.00%         75.00%

  11/3/2020 Pacific      San Francisco           0

  11/3/2020 Pacific      Santa Ana               4       75.00%       75.00%       75.00%       100.00%

  11/3/2020   Pacific    Sierra Coastal          0
  11/3/2020   Southern   Alabama                12        0.00%       16.67%       83.33%       100.00%
  11/3/2020   Southern   Arkansas
  11/3/2020   Southern   Dallas                  8        0.00%      100.00%      100.00%       100.00%

  11/3/2020 Southern     Ft. Worth               2        0.00%      100.00%      100.00%       100.00%

  11/3/2020 Southern     Gulf Atlantic          17        5.88%       76.47%      100.00%       100.00%
  11/3/2020 Southern     Houston                12        0.00%       91.67%       91.67%        91.67%

  11/3/2020 Southern     Louisiana               7        0.00%       85.71%      100.00%       100.00%

  11/3/2020 Southern     Mississippi             2        0.00%        0.00%       50.00%       100.00%
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                                                                   Processing   Processing
                                          Measured    Processing   Score Plus   Score Plus   Processing
                                          Volume:     Score:       1:           2:           Score Plus 3:
                                          Outbound    Outbound     Outbound     Outbound     Outbound
Date          Area       District         Ballot      Ballot       Ballot       Ballot       Ballot

  11/3/2020 Southern     Oklahoma

  11/3/2020 Southern     Rio Grande               2        0.00%      100.00%      100.00%       100.00%

  11/3/2020   Southern   South Florida            8       50.00%      100.00%      100.00%       100.00%
  11/3/2020   Southern   Suncoast                11       27.27%       63.64%       72.73%       100.00%
  11/3/2020   Western    Alaska
  11/3/2020   Western    Arizona                132        0.00%        7.58%       31.82%         97.73%

  11/3/2020 Western      Central Plains

                         Colorado/Wyo
  11/3/2020 Western      ming                    26       11.54%       38.46%       61.54%       100.00%
  11/3/2020 Western      Dakotas
  11/3/2020 Western      Hawkeye

  11/3/2020 Western      Mid-Americas             9       11.11%       11.11%      100.00%       100.00%

  11/3/2020 Western      Nevada Sierra

  11/3/2020 Western      Northland                0
  11/3/2020 Western      Portland                 1        0.00%        0.00%      100.00%       100.00%

  11/3/2020 Western      Salt Lake City           9        0.00%       44.44%       44.44%        77.78%
  11/3/2020 Western      Seattle                  2       50.00%      100.00%      100.00%       100.00%
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                                                                    Processing   Processing
                                        Measured      Processing    Score Plus   Score Plus   Processing
                                        Volume:       Score:        1:           2:           Score Plus 3:
                                        Outbound      Outbound      Outbound     Outbound     Outbound
                                        Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                        Election      Election      Election     Election     Election
Date          Area      District        Mail          Mail          Mail         Mail         Mail
              Capital
 10/24/2020   Metro     Atlanta                 250       24.40%        48.40%       50.00%        58.40%
              Capital
 10/24/2020   Metro     Baltimore              1047       70.58%        71.25%       71.54%        81.95%
              Capital
 10/24/2020   Metro     Capital                1182       91.03%        93.49%       93.99%        94.16%
              Capital   Greater S
 10/24/2020   Metro     Carolina                311       12.54%        21.54%       21.54%        70.42%
              Capital
 10/24/2020   Metro     Greensboro             4995       89.51%        95.28%       95.84%        96.16%
              Capital
 10/24/2020   Metro     Mid-Carolinas          5016       61.96%        94.14%       95.59%        98.50%
              Capital   Norther
 10/24/2020   Metro     Virginia                584       95.03%        95.38%       96.23%        96.23%
              Capital
 10/24/2020   Metro     Richmond                142       92.25%        93.66%       94.37%        95.77%

 10/24/2020 Eastern     Appalachian             107       68.22%        69.16%       69.16%        97.20%

                        Central
 10/24/2020 Eastern     Pennsylvania         34954          0.77%       76.54%       99.83%        99.89%

 10/24/2020 Eastern     Kentuckiana          97348        99.89%        99.89%       99.90%        99.94%

 10/24/2020 Eastern     Norther Ohio         79622        71.23%        75.08%       97.46%        97.61%

 10/24/2020 Eastern     Ohio Valley         168990        89.40%        92.36%       99.78%        99.86%

                        Philadelphia
 10/24/2020 Eastern     Metropo                5692         4.64%        7.36%       92.71%        95.45%

 10/24/2020 Eastern     South Jersey         49733        47.19%        99.84%       99.84%        99.95%

 10/24/2020 Eastern     Tennessee               522       12.64%        14.94%       16.67%        22.80%

                        Western New
 10/24/2020 Eastern     York                     63       23.81%        23.81%       23.81%        74.60%
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                                                                          Processing   Processing
                                           Measured         Processing    Score Plus   Score Plus   Processing
                                           Volume:          Score:        1:           2:           Score Plus 3:
                                           Outbound         Outbound      Outbound     Outbound     Outbound
                                           Non-Ballot       Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                           Election         Election      Election     Election     Election
Date         Area         District         Mail             Mail          Mail         Mail         Mail

                          Western
 10/24/2020 Eastern       Pennsylvania             247          36.03%        39.27%       52.63%        97.17%

 10/24/2020 Great Lakes Central Illinois        49876           99.08%        99.09%       99.87%        99.97%

 10/24/2020 Great Lakes Chicago                    563          10.30%        10.48%       51.69%        54.35%

 10/24/2020 Great Lakes Detroit                 25222             0.09%        5.30%       99.24%        99.24%

 10/24/2020 Great Lakes Gateway                292400           99.99%        99.99%       99.99%        99.99%
                        Greater
 10/24/2020 Great Lakes Indiana                106015           96.32%        97.35%       98.40%        98.41%
                        Greater
 10/24/2020 Great Lakes Michigan                10062           97.25%        97.27%       97.40%        97.99%

 10/24/2020 Great Lakes Lakeland               107975           99.08%        99.09%       99.54%        99.61%

 10/24/2020 Northeast     Albany                   306          79.41%        79.74%       80.07%        95.75%

 10/24/2020 Northeast     Caribbean                     5       80.00%        80.00%      100.00%       100.00%

                          Connecticut
 10/24/2020 Northeast     Valley                   694          79.54%        81.56%       81.56%        81.56%
                          Greater
 10/24/2020 Northeast     Boston                  3835          99.45%        99.79%       99.92%        99.92%

 10/24/2020 Northeast     Long Island              146          92.47%        93.84%       95.21%        95.21%

 10/24/2020 Northeast     New York                  86          34.88%        60.47%       77.91%        77.91%

                          Northern New
 10/24/2020 Northeast     England                 2806          98.93%        99.39%       99.39%        99.82%

                          Northern New
 10/24/2020 Northeast     Jersey                14511           99.85%        99.92%       99.94%        99.97%

 10/24/2020 Northeast     Triboro                  668          11.38%        11.68%       11.68%        31.74%
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                                                                      Processing   Processing
                                          Measured      Processing    Score Plus   Score Plus   Processing
                                          Volume:       Score:        1:           2:           Score Plus 3:
                                          Outbound      Outbound      Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election      Election     Election     Election
Date          Area       District         Mail          Mail          Mail         Mail         Mail

 10/24/2020 Northeast    Westchester              266       93.98%        94.36%       94.36%        95.11%

 10/24/2020 Pacific      Bay-Valley               146       91.10%        91.78%       91.78%        91.78%
 10/24/2020 Pacific      Honolulu                  98       62.24%        63.27%       95.92%        95.92%

 10/24/2020 Pacific      Los Angeles         1217722        99.89%        99.92%      100.00%       100.00%

 10/24/2020 Pacific      Sacramento            43150        97.92%        97.95%       98.27%        98.35%

 10/24/2020 Pacific      San Diego               9788       98.30%        98.39%       99.04%        99.38%

 10/24/2020 Pacific      San Francisco           4604       98.31%        98.59%       98.78%        98.85%

 10/24/2020 Pacific      Santa Ana            248920        99.97%        99.97%       99.97%        99.97%

 10/24/2020   Pacific    Sierra Coastal       690227        99.99%        99.99%       99.99%        99.99%
 10/24/2020   Southern   Alabama                  58        51.72%        79.31%       84.48%        84.48%
 10/24/2020   Southern   Arkansas                 25        68.00%        84.00%       84.00%        92.00%
 10/24/2020   Southern   Dallas                  579        36.10%        84.46%       96.55%        99.14%

 10/24/2020 Southern     Ft. Worth                189       31.22%        50.79%       93.12%        99.47%

 10/24/2020 Southern     Gulf Atlantic         60586        99.10%        99.13%       99.26%        99.32%
 10/24/2020 Southern     Houston                 355         5.63%        98.03%       98.03%        98.59%

 10/24/2020 Southern     Louisiana                385         8.05%       70.91%       77.14%        86.23%

 10/24/2020 Southern     Mississippi              264         9.85%       97.35%       97.73%        97.73%

 10/24/2020 Southern     Oklahoma              89247        99.94%        99.94%       99.97%       100.00%

 10/24/2020 Southern     Rio Grande            22199        99.55%        99.72%       99.83%        99.92%

 10/24/2020   Southern   South Florida          8346        51.99%        98.00%       99.32%        99.39%
 10/24/2020   Southern   Suncoast              21658        85.74%        86.65%       89.68%        97.27%
 10/24/2020   Western    Alaska                   59        64.41%        66.10%       66.10%        66.10%
 10/24/2020   Western    Arizona              169358        99.86%        99.93%       99.94%        99.97%
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                                                                   Processing   Processing
                                       Measured      Processing    Score Plus   Score Plus   Processing
                                       Volume:       Score:        1:           2:           Score Plus 3:
                                       Outbound      Outbound      Outbound     Outbound     Outbound
                                       Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                       Election      Election      Election     Election     Election
Date        Area      District         Mail          Mail          Mail         Mail         Mail

 10/24/2020 Western   Central Plains        55946        99.99%        99.99%       99.99%        99.99%

                      Colorado/Wyo
 10/24/2020 Western   ming                   1124        91.90%        92.62%       94.75%        97.33%
 10/24/2020 Western   Dakotas               17020        99.75%        99.88%       99.93%        99.99%
 10/24/2020 Western   Hawkeye               14585        99.46%        99.54%       99.86%        99.86%

 10/24/2020 Western   Mid-Americas         123102        99.99%        99.99%       99.99%        99.99%

 10/24/2020 Western   Nevada Sierra         49827        99.78%        99.80%       99.97%        99.99%

 10/24/2020 Western   Northland            122783        96.61%        99.02%       99.82%        99.86%
 10/24/2020 Western   Portland               3526        62.20%        62.79%       62.82%        63.19%

 10/24/2020 Western   Salt Lake City          1113       94.79%        95.15%       95.51%        98.56%
 10/24/2020 Western   Seattle                  380       32.89%        38.95%       41.84%        43.68%
            Capital
 10/26/2020 Metro     Atlanta                 4691       42.25%        98.47%       98.70%        98.89%
            Capital
 10/26/2020 Metro     Baltimore               1968       38.16%        50.41%       95.07%        95.07%
            Capital
 10/26/2020 Metro     Capital                  351       89.46%        95.44%       98.29%        98.29%
            Capital   Greater S
 10/26/2020 Metro     Carolina                1379       83.47%        84.26%       86.51%        86.73%
            Capital
 10/26/2020 Metro     Greensboro              8166       74.90%        96.56%       97.93%        98.30%
            Capital
 10/26/2020 Metro     Mid-Carolinas           9803       35.10%        98.00%       99.12%        99.50%
            Capital   Norther
 10/26/2020 Metro     Virginia                 509       77.21%        81.14%       82.71%        82.71%
            Capital
 10/26/2020 Metro     Richmond                1010       96.83%        99.01%       99.11%        99.21%

 10/26/2020 Eastern   Appalachian             1094       96.71%        98.35%       98.35%        98.54%

                      Central
 10/26/2020 Eastern   Pennsylvania          19952          1.61%        5.48%       92.21%        99.22%
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                                                                       Processing   Processing
                                           Measured      Processing    Score Plus   Score Plus   Processing
                                           Volume:       Score:        1:           2:           Score Plus 3:
                                           Outbound      Outbound      Outbound     Outbound     Outbound
                                           Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                           Election      Election      Election     Election     Election
Date         Area         District         Mail          Mail          Mail         Mail         Mail

 10/26/2020 Eastern       Kentuckiana           27025        99.77%        99.81%       99.82%        99.82%

 10/26/2020 Eastern       Norther Ohio          16013        40.15%        69.83%       71.36%        95.06%

 10/26/2020 Eastern       Ohio Valley          116617        52.91%        88.45%       88.60%        99.81%

                          Philadelphia
 10/26/2020 Eastern       Metropo              405104          0.07%       99.09%       99.16%        99.98%

 10/26/2020 Eastern       South Jersey         435304          3.25%       95.95%      100.00%       100.00%

 10/26/2020 Eastern       Tennessee             14826        96.77%        96.99%       97.03%        97.50%

                          Western New
 10/26/2020 Eastern       York                     577       84.23%        85.96%       85.96%        86.31%

                          Western
 10/26/2020 Eastern       Pennsylvania            1714       83.43%        83.96%       98.83%        99.30%

 10/26/2020 Great Lakes Central Illinois        55350        99.80%        99.86%       99.87%        99.97%

 10/26/2020 Great Lakes Chicago                   1676       79.30%        79.53%       79.77%        82.22%

 10/26/2020 Great Lakes Detroit                   4095       24.35%        24.79%       25.57%        96.95%

 10/26/2020 Great Lakes Gateway                164195        99.90%        99.92%       99.92%        99.97%
                        Greater
 10/26/2020 Great Lakes Indiana                 75057        94.74%        94.93%       99.05%        99.29%
                        Greater
 10/26/2020 Great Lakes Michigan               134125        99.88%        99.89%       99.91%        99.97%

 10/26/2020 Great Lakes Lakeland                30948        90.89%        99.68%       99.71%        99.90%

 10/26/2020 Northeast     Albany                   236       64.83%        77.97%       77.97%        78.81%

 10/26/2020 Northeast     Caribbean                301       98.67%        98.67%       98.67%        98.67%
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                                                                     Processing   Processing
                                          Measured      Processing   Score Plus   Score Plus   Processing
                                          Volume:       Score:       1:           2:           Score Plus 3:
                                          Outbound      Outbound     Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election     Election     Election     Election
Date          Area       District         Mail          Mail         Mail         Mail         Mail

                         Connecticut
 10/26/2020 Northeast    Valley                  1034       76.79%       83.27%       83.37%        83.37%
                         Greater
 10/26/2020 Northeast    Boston                  1498       78.30%       80.91%       81.11%        84.05%

 10/26/2020 Northeast    Long Island              384       77.86%       83.33%       84.38%        84.38%

 10/26/2020 Northeast    New York                1216       27.30%       98.11%       98.60%        98.60%

                         Northern New
 10/26/2020 Northeast    England                 1804       94.40%       95.95%       96.01%        96.06%

                         Northern New
 10/26/2020 Northeast    Jersey                  1692       11.17%       15.43%       99.11%        99.17%

 10/26/2020 Northeast    Triboro                 2662       14.31%       40.05%       40.20%        40.53%

 10/26/2020 Northeast    Westchester              252       80.16%       85.71%       86.11%        97.22%

 10/26/2020 Pacific      Bay-Valley              3425       98.01%       98.63%       98.69%        98.80%
 10/26/2020 Pacific      Honolulu                1174       99.49%       99.83%       99.91%        99.91%

 10/26/2020 Pacific      Los Angeles           26764        92.45%       92.55%       95.77%        99.62%

 10/26/2020 Pacific      Sacramento            11734        82.15%       82.80%       82.93%        87.22%

 10/26/2020 Pacific      San Diego             21624        99.34%       99.46%       99.59%        99.83%

 10/26/2020 Pacific      San Francisco         32917        99.54%       99.59%       99.62%        99.77%

 10/26/2020 Pacific      Santa Ana             23518        99.34%       99.38%       99.49%        99.92%

 10/26/2020   Pacific    Sierra Coastal        25779        94.81%       94.98%       95.00%        95.02%
 10/26/2020   Southern   Alabama                 853        85.35%       86.52%       86.87%        86.87%
 10/26/2020   Southern   Arkansas                756        98.28%       99.21%       99.21%        99.34%
 10/26/2020   Southern   Dallas                 1676        85.98%       86.93%       87.59%        94.15%

 10/26/2020 Southern     Ft. Worth               2416       47.56%       48.26%       97.85%        97.89%
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                                                                      Processing   Processing
                                          Measured      Processing    Score Plus   Score Plus   Processing
                                          Volume:       Score:        1:           2:           Score Plus 3:
                                          Outbound      Outbound      Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election      Election     Election     Election
Date          Area       District         Mail          Mail          Mail         Mail         Mail

 10/26/2020 Southern     Gulf Atlantic         10702        27.37%        81.96%       83.90%        84.92%
 10/26/2020 Southern     Houston                2430        97.45%        98.11%       99.88%        99.88%

 10/26/2020 Southern     Louisiana               1199       98.33%        99.17%       99.17%        99.33%

 10/26/2020 Southern     Mississippi              582       82.13%        84.02%       90.03%        90.55%

 10/26/2020 Southern     Oklahoma                5796       99.74%        99.93%       99.93%        99.93%

 10/26/2020 Southern     Rio Grande              2948       92.88%        94.03%       94.81%        99.42%

 10/26/2020   Southern   South Florida         20858        87.23%        92.40%       99.43%        99.69%
 10/26/2020   Southern   Suncoast              59821        92.89%        93.97%       94.30%        96.61%
 10/26/2020   Western    Alaska                   21        66.67%        66.67%       80.95%        80.95%
 10/26/2020   Western    Arizona               22566        92.14%        92.39%       92.74%        93.42%

 10/26/2020 Western      Central Plains        38476        99.69%        99.73%       99.73%        99.86%

                         Colorado/Wyo
 10/26/2020 Western      ming                   2162        67.95%        96.76%       97.27%        97.64%
 10/26/2020 Western      Dakotas                 924        93.61%        96.97%       96.97%        97.08%
 10/26/2020 Western      Hawkeye               31978        99.83%        99.89%       99.90%        99.99%

 10/26/2020 Western      Mid-Americas         154189        99.88%        99.89%       99.89%        99.94%

 10/26/2020 Western      Nevada Sierra           4869       98.58%        98.69%       99.40%        99.42%

 10/26/2020 Western      Northland            202124        97.58%        99.46%       99.85%        99.98%
 10/26/2020 Western      Portland               7773        61.84%        73.68%       73.94%        74.96%

 10/26/2020 Western      Salt Lake City          3087       94.56%        95.43%       95.50%        96.83%
 10/26/2020 Western      Seattle                 3711       97.17%        97.98%       97.98%        98.84%
            Capital
 10/27/2020 Metro        Atlanta                  497         9.26%       83.70%       92.35%        92.96%
            Capital
 10/27/2020 Metro        Baltimore               2670         2.62%        7.12%       13.71%        98.31%
            Capital
 10/27/2020 Metro        Capital                  380       11.05%        95.26%       95.79%        95.79%
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                                                                       Processing   Processing
                                           Measured      Processing    Score Plus   Score Plus   Processing
                                           Volume:       Score:        1:           2:           Score Plus 3:
                                           Outbound      Outbound      Outbound     Outbound     Outbound
                                           Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                           Election      Election      Election     Election     Election
Date          Area        District         Mail          Mail          Mail         Mail         Mail
              Capital     Greater S
 10/27/2020   Metro       Carolina                 220       10.91%        81.36%       81.82%        81.82%
              Capital
 10/27/2020   Metro       Greensboro              1533       42.92%        58.25%       89.43%        91.39%
              Capital
 10/27/2020   Metro       Mid-Carolinas           3678       77.13%        87.66%       91.90%        99.67%
              Capital     Norther
 10/27/2020   Metro       Virginia                 961       83.14%        98.86%       98.86%        98.86%
              Capital
 10/27/2020   Metro       Richmond                 404       88.61%        99.75%       99.75%        99.75%

 10/27/2020 Eastern       Appalachian               72       44.44%        95.83%       98.61%        98.61%

                          Central
 10/27/2020 Eastern       Pennsylvania            1063         1.79%       75.92%       82.69%        88.52%

 10/27/2020 Eastern       Kentuckiana             6567       86.97%        99.98%       99.98%       100.00%

 10/27/2020 Eastern       Norther Ohio          60024          0.34%       95.29%       96.69%        96.91%

 10/27/2020 Eastern       Ohio Valley             2107       26.86%        30.09%       75.46%        92.55%

                          Philadelphia
 10/27/2020 Eastern       Metropo              135644          0.00%        1.83%       99.47%        99.47%

 10/27/2020 Eastern       South Jersey         134256          0.12%        1.12%       99.93%        99.95%

 10/27/2020 Eastern       Tennessee               2617       72.33%        98.93%       98.93%        98.93%

                          Western New
 10/27/2020 Eastern       York                      31       77.42%       100.00%      100.00%       100.00%

                          Western
 10/27/2020 Eastern       Pennsylvania             247       95.14%        99.19%       99.60%        99.60%

 10/27/2020 Great Lakes Central Illinois        12197        98.67%        99.79%       99.79%        99.79%

 10/27/2020 Great Lakes Chicago                    121       16.53%        41.32%       42.15%        42.15%
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                                                                      Processing   Processing
                                       Measured         Processing    Score Plus   Score Plus   Processing
                                       Volume:          Score:        1:           2:           Score Plus 3:
                                       Outbound         Outbound      Outbound     Outbound     Outbound
                                       Non-Ballot       Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                       Election         Election      Election     Election     Election
Date         Area       District       Mail             Mail          Mail         Mail         Mail

 10/27/2020 Great Lakes Detroit                874            0.80%       62.47%       62.81%        63.50%

 10/27/2020 Great Lakes Gateway               1394          22.88%        96.63%       96.84%        99.07%
                        Greater
 10/27/2020 Great Lakes Indiana               8906          14.42%        92.56%       92.56%        98.66%
                        Greater
 10/27/2020 Great Lakes Michigan            16923             0.10%       99.89%       99.89%        99.89%

 10/27/2020 Great Lakes Lakeland              1350            3.04%       85.70%       96.81%        96.81%

 10/27/2020 Northeast   Albany                  38          47.37%       100.00%      100.00%       100.00%

 10/27/2020 Northeast   Caribbean                   3       66.67%       100.00%      100.00%       100.00%

                        Connecticut
 10/27/2020 Northeast   Valley                 225            8.00%       52.44%       56.44%        57.78%
                        Greater
 10/27/2020 Northeast   Boston                1700          92.18%        99.12%       99.12%        99.82%

 10/27/2020 Northeast   Long Island            174            5.75%       98.28%       98.28%        98.28%

 10/27/2020 Northeast   New York              1985          98.24%        99.65%       99.75%        99.75%

                        Northern New
 10/27/2020 Northeast   England                806            1.99%       62.78%       62.90%        99.88%

                        Northern New
 10/27/2020 Northeast   Jersey                1618            0.62%       98.89%       98.95%        99.88%

 10/27/2020 Northeast   Triboro               1457          86.55%        87.44%       87.85%        87.92%

 10/27/2020 Northeast   Westchester            112          81.25%        98.21%      100.00%       100.00%

 10/27/2020 Pacific     Bay-Valley            1020          94.31%        94.90%       95.00%       100.00%
 10/27/2020 Pacific     Honolulu               100          97.00%        98.00%       98.00%        98.00%

 10/27/2020 Pacific     Los Angeles         15724           73.42%        98.16%       98.17%        98.31%
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                                                                      Processing   Processing
                                          Measured      Processing    Score Plus   Score Plus   Processing
                                          Volume:       Score:        1:           2:           Score Plus 3:
                                          Outbound      Outbound      Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election      Election     Election     Election
Date          Area       District         Mail          Mail          Mail         Mail         Mail

 10/27/2020 Pacific      Sacramento              6421       34.68%        73.32%       73.32%        74.13%

 10/27/2020 Pacific      San Diego             40972        98.05%        99.51%       99.51%        99.82%

 10/27/2020 Pacific      San Francisco           3281       96.37%        97.93%       98.05%        99.21%

 10/27/2020 Pacific      Santa Ana             18786        96.49%        99.78%       99.81%        99.87%

 10/27/2020   Pacific    Sierra Coastal          4970       93.36%        98.69%       98.73%        99.40%
 10/27/2020   Southern   Alabama                  414        3.86%        96.38%       96.38%        96.38%
 10/27/2020   Southern   Arkansas                 132        1.52%        48.48%       48.48%        48.48%
 10/27/2020   Southern   Dallas                  1033        0.87%        98.16%       98.26%        98.26%

 10/27/2020 Southern     Ft. Worth                436         2.52%       98.17%       98.17%        99.08%

 10/27/2020 Southern     Gulf Atlantic         15984        87.22%        90.69%       99.25%        99.32%
 10/27/2020 Southern     Houston                  75         9.33%        81.33%       84.00%        92.00%

 10/27/2020 Southern     Louisiana                118       11.02%        50.85%       51.69%        51.69%

 10/27/2020 Southern     Mississippi              111         3.60%       72.97%       73.87%        73.87%

 10/27/2020 Southern     Oklahoma                  65         4.62%       92.31%       93.85%        93.85%

 10/27/2020 Southern     Rio Grande               643         5.75%       93.00%       93.16%        93.62%

 10/27/2020   Southern   South Florida         17458        95.13%        96.98%       97.57%        99.75%
 10/27/2020   Southern   Suncoast               2758         8.59%        54.21%       55.15%        70.38%
 10/27/2020   Western    Alaska                   87        49.43%        79.31%       88.51%        97.70%
 10/27/2020   Western    Arizona                1085        46.18%        88.57%       89.59%        90.23%

 10/27/2020 Western      Central Plains        12057        96.92%        99.93%       99.93%        99.93%

                         Colorado/Wyo
 10/27/2020 Western      ming                   1499          1.67%       68.31%       95.26%        96.13%
 10/27/2020 Western      Dakotas                1516          2.77%       98.02%       98.22%        98.22%
 10/27/2020 Western      Hawkeye               29832          0.09%      100.00%      100.00%       100.00%
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                                                                   Processing   Processing
                                       Measured      Processing    Score Plus   Score Plus   Processing
                                       Volume:       Score:        1:           2:           Score Plus 3:
                                       Outbound      Outbound      Outbound     Outbound     Outbound
                                       Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                       Election      Election      Election     Election     Election
Date        Area      District         Mail          Mail          Mail         Mail         Mail

 10/27/2020 Western   Mid-Americas          31761          0.08%       99.94%       99.94%        99.94%

 10/27/2020 Western   Nevada Sierra            381       33.07%        59.32%       59.58%        66.67%

 10/27/2020 Western   Northland            114634        82.91%        99.78%       99.90%        99.93%
 10/27/2020 Western   Portland               3564        44.36%        78.11%       78.23%        78.79%

 10/27/2020 Western   Salt Lake City           157       47.13%        56.05%       56.69%        68.79%
 10/27/2020 Western   Seattle                  432       28.47%        93.52%       94.21%        94.68%
            Capital
 10/28/2020 Metro     Atlanta                 1008       21.43%        28.17%       39.09%        90.08%
            Capital
 10/28/2020 Metro     Baltimore                909         2.42%       54.13%       54.68%        58.42%
            Capital
 10/28/2020 Metro     Capital                  623       41.89%        74.00%       75.60%        75.76%
            Capital   Greater S
 10/28/2020 Metro     Carolina                 325         6.77%       35.08%       91.38%        91.69%
            Capital
 10/28/2020 Metro     Greensboro            32780        97.46%        97.64%       98.97%        99.44%
            Capital
 10/28/2020 Metro     Mid-Carolinas           4045       12.39%        85.36%       91.94%        95.01%
            Capital   Norther
 10/28/2020 Metro     Virginia                  55       27.27%        41.82%       43.64%        43.64%
            Capital
 10/28/2020 Metro     Richmond                 344         6.40%       94.19%       96.22%        96.80%

 10/28/2020 Eastern   Appalachian               53       22.64%        30.19%       69.81%        69.81%

                      Central
 10/28/2020 Eastern   Pennsylvania            5152       82.01%        82.05%       89.52%        91.67%

 10/28/2020 Eastern   Kentuckiana             8951       28.41%        97.72%       99.90%        99.90%

 10/28/2020 Eastern   Norther Ohio          62354          1.41%        1.56%       97.74%        97.79%

 10/28/2020 Eastern   Ohio Valley             3305       87.62%        90.20%       90.89%        94.58%
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                                                                          Processing   Processing
                                           Measured         Processing    Score Plus   Score Plus    Processing
                                           Volume:          Score:        1:           2:            Score Plus 3:
                                           Outbound         Outbound      Outbound     Outbound      Outbound
                                           Non-Ballot       Non-Ballot    Non-Ballot   Non-Ballot    Non-Ballot
                                           Election         Election      Election     Election      Election
Date         Area         District         Mail             Mail          Mail         Mail          Mail

                          Philadelphia
 10/28/2020 Eastern       Metropo                 5936            0.29%        0.44%         4.01%        99.83%

 10/28/2020 Eastern       South Jersey            7304            0.18%        0.33%       21.99%         99.58%

 10/28/2020 Eastern       Tennessee               6914            7.41%       96.75%       99.83%         99.91%

                          Western New
 10/28/2020 Eastern       York                     261            1.15%       92.72%       96.17%         96.17%

                          Western
 10/28/2020 Eastern       Pennsylvania              34          23.53%        70.59%       82.35%         85.29%

 10/28/2020 Great Lakes Central Illinois          2347          76.10%        89.77%       99.62%         99.66%

 10/28/2020 Great Lakes Chicago                   1984          42.84%        90.02%       92.19%         92.19%

 10/28/2020 Great Lakes Detroit                251881           99.89%        99.90%       99.93%         99.93%

 10/28/2020 Great Lakes Gateway                   2824          39.59%        43.59%       99.15%         99.15%
                        Greater
 10/28/2020 Great Lakes Indiana                 56994           92.00%        92.73%       99.26%         99.27%
                        Greater
 10/28/2020 Great Lakes Michigan                  1737          43.75%        43.87%       97.70%         98.68%

 10/28/2020 Great Lakes Lakeland                  2630          69.47%        86.69%       97.11%         99.54%

 10/28/2020 Northeast     Albany                   181            1.66%       96.13%       97.24%         97.24%

 10/28/2020 Northeast     Caribbean                     3         0.00%        0.00%       33.33%         33.33%

                          Connecticut
 10/28/2020 Northeast     Valley                   789          71.99%        91.51%       91.51%         91.76%
                          Greater
 10/28/2020 Northeast     Boston                    83          28.92%        73.49%       78.31%         81.93%

 10/28/2020 Northeast     Long Island                   8       12.50%        12.50%       37.50%         37.50%
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                                                                      Processing   Processing
                                          Measured      Processing    Score Plus   Score Plus   Processing
                                          Volume:       Score:        1:           2:           Score Plus 3:
                                          Outbound      Outbound      Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election      Election     Election     Election
Date          Area       District         Mail          Mail          Mail         Mail         Mail

 10/28/2020 Northeast    New York                  41         7.32%        9.76%       34.15%        36.59%

                         Northern New
 10/28/2020 Northeast    England                  205         5.37%        5.37%       93.66%        95.61%

                         Northern New
 10/28/2020 Northeast    Jersey                  1681         0.06%       22.13%       98.27%        98.69%

 10/28/2020 Northeast    Triboro                  377         2.65%       50.40%       54.11%        54.64%

 10/28/2020 Northeast    Westchester              443       16.48%        73.36%       98.42%        98.65%

 10/28/2020 Pacific      Bay-Valley               156       93.59%        96.79%       96.79%        96.79%
 10/28/2020 Pacific      Honolulu                  55       92.73%        96.36%       98.18%        98.18%

 10/28/2020 Pacific      Los Angeles           47317        81.18%        93.54%       98.19%        98.19%

 10/28/2020 Pacific      Sacramento               726       46.83%        48.07%       86.91%        87.60%

 10/28/2020 Pacific      San Diego               6663       98.44%        98.68%       99.95%        99.95%

 10/28/2020 Pacific      San Francisco           8237       98.58%        99.20%       99.59%        99.62%

 10/28/2020 Pacific      Santa Ana               6354       93.30%        97.83%       99.91%        99.95%

 10/28/2020   Pacific    Sierra Coastal        31578        98.93%        99.69%       99.86%        99.88%
 10/28/2020   Southern   Alabama                 104         7.69%         9.62%       77.88%        77.88%
 10/28/2020   Southern   Arkansas                 11        72.73%        72.73%       90.91%        90.91%
 10/28/2020   Southern   Dallas                   29        27.59%        37.93%       48.28%        79.31%

 10/28/2020 Southern     Ft. Worth                 86         8.14%       10.47%       62.79%        68.60%

 10/28/2020 Southern     Gulf Atlantic         18090        97.16%        98.41%       98.72%        99.30%
 10/28/2020 Southern     Houston                  37        45.95%        54.05%       67.57%        70.27%

 10/28/2020 Southern     Louisiana                 34       38.24%        55.88%       67.65%        73.53%

 10/28/2020 Southern     Mississippi               55         0.00%        1.82%       83.64%        83.64%
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                                                                      Processing   Processing
                                          Measured      Processing    Score Plus   Score Plus   Processing
                                          Volume:       Score:        1:           2:           Score Plus 3:
                                          Outbound      Outbound      Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election      Election     Election     Election
Date          Area       District         Mail          Mail          Mail         Mail         Mail

 10/28/2020 Southern     Oklahoma                  36       19.44%        19.44%       91.67%        91.67%

 10/28/2020 Southern     Rio Grande               186         8.60%       14.52%       83.87%        85.48%

 10/28/2020   Southern   South Florida         24496        97.47%        97.60%       99.62%        99.64%
 10/28/2020   Southern   Suncoast              23820        90.26%        93.58%       96.90%        97.37%
 10/28/2020   Western    Alaska                12343        99.89%        99.97%      100.00%       100.00%
 10/28/2020   Western    Arizona                1483         1.15%        68.17%       85.03%        92.99%

 10/28/2020 Western      Central Plains          5170       51.51%        98.70%       99.48%        99.54%

                         Colorado/Wyo
 10/28/2020 Western      ming                   2250        43.82%        44.49%       98.89%        99.16%
 10/28/2020 Western      Dakotas                 770        74.29%        80.65%       98.83%        98.83%
 10/28/2020 Western      Hawkeye               20909         0.28%         0.32%       99.98%        99.99%

 10/28/2020 Western      Mid-Americas            3661         3.58%        3.58%       98.61%        98.61%

 10/28/2020 Western      Nevada Sierra            507       64.10%        65.68%       96.65%        97.04%

 10/28/2020 Western      Northland             32327        62.46%        97.77%       99.49%        99.87%
 10/28/2020 Western      Portland               4019        69.64%        69.64%       72.41%        72.75%

 10/28/2020 Western      Salt Lake City            31       48.39%        48.39%       90.32%        93.55%
 10/28/2020 Western      Seattle                  139       31.65%        33.09%       41.73%        41.73%
            Capital
 10/29/2020 Metro        Atlanta                 1391       10.35%        10.57%       44.28%        49.68%
            Capital
 10/29/2020 Metro        Baltimore                434         8.53%        8.53%       12.90%        14.75%
            Capital
 10/29/2020 Metro        Capital                  149       87.25%        87.92%       89.93%        91.28%
            Capital      Greater S
 10/29/2020 Metro        Carolina                 257       24.12%        25.29%       56.03%        95.72%
            Capital
 10/29/2020 Metro        Greensboro            16924        78.99%        96.99%       98.81%        99.61%
            Capital
 10/29/2020 Metro        Mid-Carolinas           7781       86.12%        86.20%       98.07%        99.41%
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                                                                       Processing   Processing
                                           Measured      Processing    Score Plus   Score Plus    Processing
                                           Volume:       Score:        1:           2:            Score Plus 3:
                                           Outbound      Outbound      Outbound     Outbound      Outbound
                                           Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot    Non-Ballot
                                           Election      Election      Election     Election      Election
Date        Area          District         Mail          Mail          Mail         Mail          Mail
            Capital       Norther
 10/29/2020 Metro         Virginia                 103       82.52%        82.52%       83.50%         83.50%
            Capital
 10/29/2020 Metro         Richmond                 786       18.45%        18.45%       20.48%         98.09%

 10/29/2020 Eastern       Appalachian             1161       69.77%        69.77%       70.20%         99.05%

                          Central
 10/29/2020 Eastern       Pennsylvania             404       22.03%        33.42%       33.91%         39.11%

 10/29/2020 Eastern       Kentuckiana             1434       77.55%        81.17%       89.12%         99.86%

 10/29/2020 Eastern       Norther Ohio          21084          0.71%        2.28%         3.26%        90.61%

 10/29/2020 Eastern       Ohio Valley             2220       86.71%        86.98%       90.95%         91.98%

                          Philadelphia
 10/29/2020 Eastern       Metropo               33953          0.03%        0.03%         0.03%          3.12%

 10/29/2020 Eastern       South Jersey          33540          0.12%        0.13%         0.13%          1.16%

 10/29/2020 Eastern       Tennessee                630       62.38%        62.38%       79.21%         99.84%

                          Western New
 10/29/2020 Eastern       York                     675       99.11%        99.11%       99.56%        100.00%

                          Western
 10/29/2020 Eastern       Pennsylvania             371       96.77%        96.77%       98.92%        100.00%

 10/29/2020 Great Lakes Central Illinois          1749       79.02%        79.02%       92.80%         98.28%

 10/29/2020 Great Lakes Chicago                   1078       85.81%        85.81%       91.00%         91.47%

 10/29/2020 Great Lakes Detroit                151137        99.83%        99.83%       99.84%         99.89%

 10/29/2020 Great Lakes Gateway                   2092       61.90%        61.90%       90.34%         99.33%
                        Greater
 10/29/2020 Great Lakes Indiana                 25726        83.92%        87.60%       88.17%         98.57%
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                                                                      Processing   Processing
                                        Measured         Processing   Score Plus   Score Plus   Processing
                                        Volume:          Score:       1:           2:           Score Plus 3:
                                        Outbound         Outbound     Outbound     Outbound     Outbound
                                        Non-Ballot       Non-Ballot   Non-Ballot   Non-Ballot   Non-Ballot
                                        Election         Election     Election     Election     Election
Date         Area       District        Mail             Mail         Mail         Mail         Mail
                        Greater
 10/29/2020 Great Lakes Michigan               1017          27.43%       27.43%       27.63%        99.31%

 10/29/2020 Great Lakes Lakeland             94418           94.13%       94.13%       94.20%        99.98%

 10/29/2020 Northeast   Albany                  876          84.02%       97.95%       99.20%        99.54%

 10/29/2020 Northeast   Caribbean                    5       80.00%       80.00%      100.00%       100.00%

                        Connecticut
 10/29/2020 Northeast   Valley                  303          64.03%       67.66%       81.52%        82.84%
                        Greater
 10/29/2020 Northeast   Boston                  509          52.06%       91.16%       97.64%        98.62%

 10/29/2020 Northeast   Long Island             113          60.18%       60.18%       71.68%        73.45%

 10/29/2020 Northeast   New York                266          87.59%       87.59%       92.48%        93.98%

                        Northern New
 10/29/2020 Northeast   England                 547          26.33%       96.53%       98.35%        99.27%

                        Northern New
 10/29/2020 Northeast   Jersey                  158          49.37%       49.37%       67.09%        96.20%

 10/29/2020 Northeast   Triboro                 582          96.05%       96.05%       96.22%        96.22%

 10/29/2020 Northeast   Westchester             659          96.66%       96.66%       97.88%        99.09%

 10/29/2020 Pacific     Bay-Valley             3600          99.39%       99.58%       99.81%        99.86%
 10/29/2020 Pacific     Honolulu                141          95.74%       96.45%       97.87%       100.00%

 10/29/2020 Pacific     Los Angeles          12951           61.72%       71.55%       86.54%        93.86%

 10/29/2020 Pacific     Sacramento             2537          93.14%       95.47%       96.02%        97.36%

 10/29/2020 Pacific     San Diego              2502          25.14%       63.55%       64.35%        99.72%

 10/29/2020 Pacific     San Francisco          9160          98.89%       99.27%       99.45%        99.74%
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                                                                     Processing   Processing
                                          Measured      Processing   Score Plus   Score Plus   Processing
                                          Volume:       Score:       1:           2:           Score Plus 3:
                                          Outbound      Outbound     Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election     Election     Election     Election
Date          Area       District         Mail          Mail         Mail         Mail         Mail

 10/29/2020 Pacific      Santa Ana               2115       53.52%       54.14%       56.78%        99.62%

 10/29/2020   Pacific    Sierra Coastal          3073       90.66%       94.60%       98.18%        99.67%
 10/29/2020   Southern   Alabama                  275        6.55%        6.55%       78.55%        89.45%
 10/29/2020   Southern   Arkansas                 156       83.33%       83.33%       90.38%        99.36%
 10/29/2020   Southern   Dallas                   122       35.25%       35.25%       95.08%        95.90%

 10/29/2020 Southern     Ft. Worth                363       95.87%       96.14%       97.80%        98.07%

 10/29/2020 Southern     Gulf Atlantic           7546       93.69%       97.68%       97.99%        98.38%
 10/29/2020 Southern     Houston                  129       31.78%       31.78%       46.51%        47.29%

 10/29/2020 Southern     Louisiana                163       93.87%       93.87%       97.55%        97.55%

 10/29/2020 Southern     Mississippi               67       23.88%       23.88%       28.36%        80.60%

 10/29/2020 Southern     Oklahoma                 181       86.19%       86.19%       92.82%       100.00%

 10/29/2020 Southern     Rio Grande              1316       63.22%       63.22%       65.12%        98.86%

 10/29/2020   Southern   South Florida         41816        97.00%       98.81%       98.88%        99.89%
 10/29/2020   Southern   Suncoast               5588        76.36%       83.93%       84.68%        85.18%
 10/29/2020   Western    Alaska                17819        99.80%       99.92%       99.99%        99.99%
 10/29/2020   Western    Arizona                1131        38.46%       38.55%       45.09%        88.51%

 10/29/2020 Western      Central Plains          1591       56.00%       57.26%       62.29%        99.87%

                         Colorado/Wyo
 10/29/2020 Western      ming                    1992       69.18%       95.38%       95.63%        97.84%
 10/29/2020 Western      Dakotas                 1798       96.27%       96.27%       97.66%        99.28%
 10/29/2020 Western      Hawkeye                 1887       31.53%       31.53%       31.53%       100.00%

 10/29/2020 Western      Mid-Americas            1411       16.37%       16.37%       18.28%       100.00%

 10/29/2020 Western      Nevada Sierra         10216        99.08%       99.52%       99.68%        99.98%

 10/29/2020 Western      Northland             17489        52.51%       62.00%       98.95%        99.69%
 10/29/2020 Western      Portland               4000        84.28%       84.43%       84.90%        85.05%
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                                                                  Processing   Processing
                                       Measured      Processing   Score Plus   Score Plus   Processing
                                       Volume:       Score:       1:           2:           Score Plus 3:
                                       Outbound      Outbound     Outbound     Outbound     Outbound
                                       Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot   Non-Ballot
                                       Election      Election     Election     Election     Election
Date        Area      District         Mail          Mail         Mail         Mail         Mail

 10/29/2020 Western   Salt Lake City          1025       94.83%       94.83%       97.46%        99.61%
 10/29/2020 Western   Seattle                  610       86.89%       86.89%       91.64%        92.62%
            Capital
 10/30/2020 Metro     Atlanta                 1195       60.33%       63.60%       66.03%        86.36%
            Capital
 10/30/2020 Metro     Baltimore               1182       10.24%       10.41%       10.49%        12.44%
            Capital
 10/30/2020 Metro     Capital                  440       91.36%       92.95%       94.09%        97.27%
            Capital   Greater S
 10/30/2020 Metro     Carolina                 376       51.86%       55.32%       56.38%        61.97%
            Capital
 10/30/2020 Metro     Greensboro            12055        88.16%       98.41%       98.47%        98.61%
            Capital
 10/30/2020 Metro     Mid-Carolinas           5074       34.31%       98.38%       98.38%        98.78%
            Capital   Norther
 10/30/2020 Metro     Virginia                 326       94.48%       96.32%       96.32%        99.69%
            Capital
 10/30/2020 Metro     Richmond                 453       78.81%       83.44%       83.44%        85.21%

 10/30/2020 Eastern   Appalachian              570       96.49%       96.49%       96.49%        98.25%

                      Central
 10/30/2020 Eastern   Pennsylvania             129       26.36%       48.06%       49.61%        49.61%

 10/30/2020 Eastern   Kentuckiana             1834       68.92%       71.70%       71.81%        73.88%

 10/30/2020 Eastern   Norther Ohio            3345       19.67%       20.60%       22.69%        27.35%

 10/30/2020 Eastern   Ohio Valley              839       77.35%       79.50%       79.74%        88.56%

                      Philadelphia
 10/30/2020 Eastern   Metropo                 1669       13.18%       13.18%       13.18%        13.42%

 10/30/2020 Eastern   South Jersey            1557       39.18%       39.18%       39.18%        39.37%

 10/30/2020 Eastern   Tennessee               2214       74.07%       89.61%       91.64%        99.05%
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                                                                       Processing   Processing
                                           Measured      Processing    Score Plus   Score Plus   Processing
                                           Volume:       Score:        1:           2:           Score Plus 3:
                                           Outbound      Outbound      Outbound     Outbound     Outbound
                                           Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                           Election      Election      Election     Election     Election
Date         Area         District         Mail          Mail          Mail         Mail         Mail

                          Western New
 10/30/2020 Eastern       York                      81       37.04%        38.27%       38.27%        41.98%

                          Western
 10/30/2020 Eastern       Pennsylvania             985       98.68%        98.78%       98.78%        99.09%

 10/30/2020 Great Lakes Central Illinois           519       39.11%        40.08%       40.08%        87.28%

 10/30/2020 Great Lakes Chicago                    384       69.01%        69.27%       69.27%        69.53%

 10/30/2020 Great Lakes Detroit                 40857          9.27%       99.38%       99.38%        99.65%

 10/30/2020 Great Lakes Gateway                    895       41.56%        41.79%       41.79%        51.40%
                        Greater
 10/30/2020 Great Lakes Indiana                 37096        93.08%        94.24%       94.43%        94.63%
                        Greater
 10/30/2020 Great Lakes Michigan                  1212       71.95%        72.77%       80.03%        84.98%

 10/30/2020 Great Lakes Lakeland                  1785       77.09%        79.33%       79.33%        91.32%

 10/30/2020 Northeast     Albany                   267       25.09%        25.47%       34.46%        53.56%

 10/30/2020 Northeast     Caribbean                113       99.12%        99.12%       99.12%        99.12%

                          Connecticut
 10/30/2020 Northeast     Valley                    86       70.93%        70.93%       73.26%        73.26%
                          Greater
 10/30/2020 Northeast     Boston                  2895       99.31%        99.48%       99.59%        99.65%

 10/30/2020 Northeast     Long Island              303       42.24%        42.24%       42.24%        74.92%

 10/30/2020 Northeast     New York                1174       99.06%        99.49%       99.49%        99.49%

                          Northern New
 10/30/2020 Northeast     England                 2874       96.90%        96.94%       99.27%        99.65%

                          Northern New
 10/30/2020 Northeast     Jersey                  9061       99.46%        99.46%       99.53%        99.53%
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                                                                     Processing   Processing
                                          Measured      Processing   Score Plus   Score Plus   Processing
                                          Volume:       Score:       1:           2:           Score Plus 3:
                                          Outbound      Outbound     Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election     Election     Election     Election
Date          Area       District         Mail          Mail         Mail         Mail         Mail

 10/30/2020 Northeast    Triboro                 1291       96.75%       96.90%       96.90%        96.98%

 10/30/2020 Northeast    Westchester               74       93.24%       95.95%       97.30%        97.30%

 10/30/2020 Pacific      Bay-Valley               970       97.01%       97.73%       98.04%        99.38%
 10/30/2020 Pacific      Honolulu                  58       96.55%       96.55%       96.55%        98.28%

 10/30/2020 Pacific      Los Angeles             5714       47.16%       47.32%       56.28%        84.70%

 10/30/2020 Pacific      Sacramento              1135       86.96%       87.40%       90.04%        90.75%

 10/30/2020 Pacific      San Diego               1921       93.70%       96.30%       97.97%        98.18%

 10/30/2020 Pacific      San Francisco           5737       98.01%       99.37%       99.60%        99.69%

 10/30/2020 Pacific      Santa Ana                532       65.41%       85.53%       86.28%        90.60%

 10/30/2020   Pacific    Sierra Coastal          2062       86.91%       87.10%       88.65%        92.82%
 10/30/2020   Southern   Alabama                 1019       87.44%       87.44%       87.44%        98.43%
 10/30/2020   Southern   Arkansas                 416       99.04%       99.28%       99.28%        99.28%
 10/30/2020   Southern   Dallas                   137       81.75%       81.75%       81.75%        98.54%

 10/30/2020 Southern     Ft. Worth               9487       99.83%       99.85%       99.85%        99.98%

 10/30/2020 Southern     Gulf Atlantic           4521       55.61%       74.14%       77.97%        81.46%
 10/30/2020 Southern     Houston                   95       84.21%       84.21%       84.21%        84.21%

 10/30/2020 Southern     Louisiana                469       33.48%       34.75%       34.75%        35.39%

 10/30/2020 Southern     Mississippi              495       82.42%       82.63%       92.32%        98.18%

 10/30/2020 Southern     Oklahoma                 789       97.85%       97.97%       97.97%        98.10%

 10/30/2020 Southern     Rio Grande               593       90.56%       92.58%       92.58%        96.29%

 10/30/2020 Southern     South Florida           7942       95.04%       95.56%       96.44%        99.24%
 10/30/2020 Southern     Suncoast                3240       72.50%       74.01%       74.94%        79.54%
 10/30/2020 Western      Alaska                  3538       76.68%       99.97%      100.00%       100.00%
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                                                                 Processing     Processing
                                       Measured Processing Score Plus           Score Plus     Processing
                                       Volume:      Score:       1:             2:             Score Plus 3:
                                       Outbound Outbound Outbound               Outbound       Outbound
                                       Non-Ballot Non-Ballot Non-Ballot         Non-Ballot     Non-Ballot
                                       Election     Election     Election       Election       Election
Date        Area      District         Mail         Mail         Mail           Mail           Mail
 10/30/2020 Western   Arizona                 10807       99.24%       99.29%         99.32%         99.77%

 10/30/2020 Western   Central Plains           615       86.18%      86.67%          87.32%         93.82%

                      Colorado/Wyo
 10/30/2020 Western   ming                    1894       13.62%      48.89%          85.59%         86.54%
 10/30/2020 Western   Dakotas                  509       90.96%      91.94%          92.14%         96.66%
 10/30/2020 Western   Hawkeye                 2564       86.19%      86.54%          86.54%         86.54%

 10/30/2020 Western   Mid-Americas            1378       63.13%      63.13%          63.13%         63.50%

 10/30/2020 Western   Nevada Sierra            817       91.06%      91.19%          95.47%         95.59%

 10/30/2020 Western   Northland              21228       80.16%      94.44%          96.82%         99.67%
 10/30/2020 Western   Portland                1502       80.43%      81.76%          81.82%         82.22%

 10/30/2020 Western   Salt Lake City           188       92.55%      92.55%          93.09%         94.15%
 10/30/2020 Western   Seattle                 3304       98.76%      99.15%          99.15%         99.15%
            Capital
 10/31/2020 Metro     Atlanta                 3570       45.24%      61.65%          62.24%         64.71%
            Capital
 10/31/2020 Metro     Baltimore               1083       71.10%      73.68%          73.96%         73.96%
            Capital
 10/31/2020 Metro     Capital                 1756       87.47%      99.26%          99.26%         99.43%
            Capital   Greater S
 10/31/2020 Metro     Carolina                1925       46.86%      91.95%          92.10%         92.21%
            Capital
 10/31/2020 Metro     Greensboro              7013       84.67%      90.42%          97.02%         97.29%
            Capital
 10/31/2020 Metro     Mid-Carolinas           7436       45.02%      53.42%          94.47%         94.51%
            Capital   Norther
 10/31/2020 Metro     Virginia                 865       82.89%      97.92%          98.03%         98.03%
            Capital
 10/31/2020 Metro     Richmond                2349       95.06%      98.64%          98.64%         98.64%

 10/31/2020 Eastern   Appalachian             1095       81.10%      89.68%          89.68%         89.68%

                      Central
 10/31/2020 Eastern   Pennsylvania            1284       13.01%      89.41%          89.49%         89.49%
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                                                                       Processing   Processing
                                           Measured      Processing    Score Plus   Score Plus   Processing
                                           Volume:       Score:        1:           2:           Score Plus 3:
                                           Outbound      Outbound      Outbound     Outbound     Outbound
                                           Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                           Election      Election      Election     Election     Election
Date         Area         District         Mail          Mail          Mail         Mail         Mail

 10/31/2020 Eastern       Kentuckiana             3296       96.97%        98.67%       98.73%        98.73%

 10/31/2020 Eastern       Norther Ohio            3803       57.67%        81.09%       83.36%        85.83%

 10/31/2020 Eastern       Ohio Valley             3954       96.08%        96.51%       96.61%        96.61%

                          Philadelphia
 10/31/2020 Eastern       Metropo               17286          6.48%       10.86%       10.86%        10.86%

 10/31/2020 Eastern       South Jersey          17982        12.49%        13.55%       13.55%        13.55%

 10/31/2020 Eastern       Tennessee               3593       97.22%        98.00%       99.08%        99.08%

                          Western New
 10/31/2020 Eastern       York                      85       27.06%        84.71%       84.71%        84.71%

                          Western
 10/31/2020 Eastern       Pennsylvania            2166       95.24%        96.49%       96.49%        96.49%

 10/31/2020 Great Lakes Central Illinois          2084       86.52%        86.95%       87.04%        87.04%

 10/31/2020 Great Lakes Chicago                   1755       89.34%        90.09%       90.09%        90.09%

 10/31/2020 Great Lakes Detroit                 51040          2.26%        4.28%       99.21%        99.21%

 10/31/2020 Great Lakes Gateway                   5415       98.08%        98.37%       98.39%        98.43%
                        Greater
 10/31/2020 Great Lakes Indiana                124476        89.70%        99.24%       99.29%        99.67%
                        Greater
 10/31/2020 Great Lakes Michigan                  1619       81.90%        83.88%       84.06%        84.06%

 10/31/2020 Great Lakes Lakeland                  5749       73.00%        79.91%       96.94%        96.94%

 10/31/2020 Northeast     Albany                   168       91.07%        95.24%       95.83%        96.43%

 10/31/2020 Northeast     Caribbean                 15       93.33%       100.00%      100.00%       100.00%
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                                                                     Processing   Processing
                                          Measured      Processing   Score Plus   Score Plus   Processing
                                          Volume:       Score:       1:           2:           Score Plus 3:
                                          Outbound      Outbound     Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election     Election     Election     Election
Date          Area       District         Mail          Mail         Mail         Mail         Mail

                         Connecticut
 10/31/2020 Northeast    Valley                  1463       53.18%       95.22%       95.22%        95.49%
                         Greater
 10/31/2020 Northeast    Boston                  1345       76.88%       96.65%       96.65%        96.95%

 10/31/2020 Northeast    Long Island              785       31.97%       99.87%       99.87%        99.87%

 10/31/2020 Northeast    New York                 876       96.35%       96.46%       96.46%        99.32%

                         Northern New
 10/31/2020 Northeast    England                  999       76.18%       98.30%       98.30%        98.40%

                         Northern New
 10/31/2020 Northeast    Jersey                10831        98.82%       99.00%       99.00%        99.04%

 10/31/2020 Northeast    Triboro                  861       97.33%       98.14%       98.14%        99.19%

 10/31/2020 Northeast    Westchester              378       91.80%       94.18%       94.44%        94.44%

 10/31/2020 Pacific      Bay-Valley               586       96.42%       98.46%       98.81%        99.32%
 10/31/2020 Pacific      Honolulu                 155       70.32%      100.00%      100.00%       100.00%

 10/31/2020 Pacific      Los Angeles             5204       19.87%       24.83%       25.12%        27.42%

 10/31/2020 Pacific      Sacramento               378       67.20%       73.28%       74.60%        78.57%

 10/31/2020 Pacific      San Diego                693       79.94%       96.39%       96.97%        98.41%

 10/31/2020 Pacific      San Francisco           4441       98.51%       99.39%       99.50%        99.62%

 10/31/2020 Pacific      Santa Ana                373       63.81%       77.75%       80.16%        82.84%

 10/31/2020   Pacific    Sierra Coastal           992       11.09%       79.44%       79.44%        83.27%
 10/31/2020   Southern   Alabama                 1313       86.06%       87.81%       87.81%        87.81%
 10/31/2020   Southern   Arkansas                1027       98.44%       99.90%       99.90%        99.90%
 10/31/2020   Southern   Dallas                  1732       49.25%       98.79%       98.79%        98.85%

 10/31/2020 Southern     Ft. Worth                752       50.53%       99.87%       99.87%        99.87%
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                                                                     Processing   Processing
                                          Measured      Processing   Score Plus   Score Plus   Processing
                                          Volume:       Score:       1:           2:           Score Plus 3:
                                          Outbound      Outbound     Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election     Election     Election     Election
Date          Area       District         Mail          Mail         Mail         Mail         Mail

 10/31/2020 Southern     Gulf Atlantic           2911       31.78%       91.41%       94.16%        94.47%
 10/31/2020 Southern     Houston                 1131       61.89%       98.67%       98.67%        98.67%

 10/31/2020 Southern     Louisiana               1633       71.34%       94.06%       94.06%        94.06%

 10/31/2020 Southern     Mississippi             1164       98.02%       99.83%       99.83%        99.91%

 10/31/2020 Southern     Oklahoma                2747       98.94%       99.78%       99.82%        99.82%

 10/31/2020 Southern     Rio Grande               890       65.28%       75.39%       75.84%        76.07%

 10/31/2020   Southern   South Florida           8253       92.43%       98.85%       98.92%        99.38%
 10/31/2020   Southern   Suncoast                7207       75.55%       89.97%       90.05%        90.26%
 10/31/2020   Western    Alaska                   906       90.95%       93.71%       98.79%        99.45%
 10/31/2020   Western    Arizona                 1414       88.61%       90.24%       90.38%        90.74%

 10/31/2020 Western      Central Plains          1069       90.36%       91.86%       91.86%        92.80%

                         Colorado/Wyo
 10/31/2020 Western      ming                    2949        8.34%       11.70%       71.58%        81.15%
 10/31/2020 Western      Dakotas                  871       77.61%       89.55%       89.55%        91.85%
 10/31/2020 Western      Hawkeye                 1817       76.22%       95.76%       95.76%        95.76%

 10/31/2020 Western      Mid-Americas            1941       89.64%       91.55%       91.55%        91.55%

 10/31/2020 Western      Nevada Sierra            805       95.53%       97.27%       97.76%        98.26%

 10/31/2020 Western      Northland             11949        79.25%       94.48%       95.66%        96.78%
 10/31/2020 Western      Portland               1526        84.80%       85.85%       86.11%        86.24%

 10/31/2020 Western      Salt Lake City           175       76.57%       92.00%       92.00%        94.86%
 10/31/2020 Western      Seattle                  630       77.46%       94.13%       95.56%        95.71%
            Capital
  11/2/2020 Metro        Atlanta                 3037       51.73%       77.71%       85.68%        86.50%
            Capital
  11/2/2020 Metro        Baltimore               1319       28.20%       57.54%       95.22%        95.30%
            Capital
  11/2/2020 Metro        Capital                  713       95.23%       96.91%       98.32%        98.32%
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                                                                      Processing   Processing
                                           Measured      Processing   Score Plus   Score Plus   Processing
                                           Volume:       Score:       1:           2:           Score Plus 3:
                                           Outbound      Outbound     Outbound     Outbound     Outbound
                                           Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot   Non-Ballot
                                           Election      Election     Election     Election     Election
Date          Area        District         Mail          Mail         Mail         Mail         Mail
              Capital     Greater S
  11/2/2020   Metro       Carolina                2467       58.41%       87.72%       93.43%        93.51%
              Capital
  11/2/2020   Metro       Greensboro            28091        88.06%       98.22%       98.51%        98.82%
              Capital
  11/2/2020   Metro       Mid-Carolinas         10609        91.04%       95.32%       96.68%        97.29%
              Capital     Norther
  11/2/2020   Metro       Virginia                 669       94.32%       96.11%       97.16%        97.16%
              Capital
  11/2/2020   Metro       Richmond                1370       77.52%       95.40%       99.34%        99.42%

  11/2/2020 Eastern       Appalachian             1008       86.81%       93.95%       98.51%        98.51%

                          Central
  11/2/2020 Eastern       Pennsylvania            3091       41.70%       86.77%       94.79%        94.86%

  11/2/2020 Eastern       Kentuckiana              717       68.06%       70.99%       72.11%        73.08%

  11/2/2020 Eastern       Norther Ohio            3500       42.80%       57.69%       64.26%        64.40%

  11/2/2020 Eastern       Ohio Valley              335       74.93%       88.36%       88.96%        88.96%

                          Philadelphia
  11/2/2020 Eastern       Metropo                 3522       47.70%       73.68%       78.59%        78.65%

  11/2/2020 Eastern       South Jersey            3051       56.70%       74.24%       74.60%        74.60%

  11/2/2020 Eastern       Tennessee               1427       83.32%       94.67%       95.73%        97.13%

                          Western New
  11/2/2020 Eastern       York                     385       78.96%       78.96%       78.96%        78.96%

                          Western
  11/2/2020 Eastern       Pennsylvania            1237       97.66%       98.63%       99.19%        99.19%

  11/2/2020 Great Lakes Central Illinois          1123       27.60%       31.17%       31.70%        31.70%

  11/2/2020 Great Lakes Chicago                 31454        99.41%       99.72%       99.73%        99.74%
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                                                                  Processing   Processing
                                       Measured      Processing   Score Plus   Score Plus   Processing
                                       Volume:       Score:       1:           2:           Score Plus 3:
                                       Outbound      Outbound     Outbound     Outbound     Outbound
                                       Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot   Non-Ballot
                                       Election      Election     Election     Election     Election
Date        Area        District       Mail          Mail         Mail         Mail         Mail

  11/2/2020 Great Lakes Detroit               4388       55.49%       72.04%       89.74%        94.69%

  11/2/2020 Great Lakes Gateway                439       72.89%       76.77%       77.68%        78.13%
                        Greater
  11/2/2020 Great Lakes Indiana             91616        72.22%       93.98%       99.06%        99.10%
                        Greater
  11/2/2020 Great Lakes Michigan              1573       55.18%       87.67%       97.27%        97.27%

  11/2/2020 Great Lakes Lakeland              6327       24.01%       47.04%       47.80%        83.85%

  11/2/2020 Northeast   Albany                 313       92.97%       92.97%       93.93%        93.93%

  11/2/2020 Northeast   Caribbean               95       96.84%       96.84%      100.00%       100.00%

                        Connecticut
  11/2/2020 Northeast   Valley                1736       94.76%       96.43%       97.93%        97.98%
                        Greater
  11/2/2020 Northeast   Boston                1908       81.92%       84.22%       97.48%        97.64%

  11/2/2020 Northeast   Long Island            446       87.89%       95.07%       97.98%        97.98%

  11/2/2020 Northeast   New York               587       88.25%       91.65%       97.61%        97.61%

                        Northern New
  11/2/2020 Northeast   England               2446       64.76%       93.13%       99.39%        99.39%

                        Northern New
  11/2/2020 Northeast   Jersey                4568       98.56%       99.17%       99.52%        99.54%

  11/2/2020 Northeast   Triboro                533       90.24%       91.74%       96.25%        96.25%

  11/2/2020 Northeast   Westchester            275       93.45%       95.64%       96.73%        96.73%

  11/2/2020 Pacific     Bay-Valley            1296       99.15%       99.23%       99.23%        99.31%
  11/2/2020 Pacific     Honolulu               505       95.84%       96.63%       97.62%        97.62%

  11/2/2020 Pacific     Los Angeles           4441       29.99%       30.29%       44.72%        44.79%
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                                                                     Processing   Processing
                                          Measured      Processing   Score Plus   Score Plus   Processing
                                          Volume:       Score:       1:           2:           Score Plus 3:
                                          Outbound      Outbound     Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election     Election     Election     Election
Date          Area       District         Mail          Mail         Mail         Mail         Mail

  11/2/2020 Pacific      Sacramento            23215        99.07%       99.24%       99.26%        99.30%

  11/2/2020 Pacific      San Diego             21143        99.75%       99.83%       99.88%        99.89%

  11/2/2020 Pacific      San Francisco         16198        97.60%       98.03%       98.29%        99.57%

  11/2/2020 Pacific      Santa Ana             30064        99.63%       99.69%       99.79%        99.81%

  11/2/2020   Pacific    Sierra Coastal          1510       93.31%       93.77%       94.24%        94.44%
  11/2/2020   Southern   Alabama                 1268       48.50%       98.66%       99.29%        99.29%
  11/2/2020   Southern   Arkansas                 619       95.15%       98.06%       98.06%        98.06%
  11/2/2020   Southern   Dallas                  2100       38.76%       94.71%       95.52%        95.52%

  11/2/2020 Southern     Ft. Worth               1087       71.94%       97.88%       99.17%        99.17%

  11/2/2020 Southern     Gulf Atlantic           3118       54.43%       92.85%       96.63%        97.69%
  11/2/2020 Southern     Houston                 2819       40.97%       87.51%       99.68%        99.72%

  11/2/2020 Southern     Louisiana               1672       66.27%       90.07%       92.88%        92.94%

  11/2/2020 Southern     Mississippi              601       90.02%       95.51%       95.84%        95.84%

  11/2/2020 Southern     Oklahoma                1095       84.66%       97.81%       98.17%        98.17%

  11/2/2020 Southern     Rio Grande              2364       92.98%       95.69%       96.11%        96.11%

  11/2/2020   Southern   South Florida         10701        69.85%       92.03%       98.72%        98.98%
  11/2/2020   Southern   Suncoast              34304        96.11%       98.11%       98.23%        98.28%
  11/2/2020   Western    Alaska                 2467         2.84%        9.16%       97.61%        99.96%
  11/2/2020   Western    Arizona                2136        90.26%       93.02%       94.52%        94.62%

  11/2/2020 Western      Central Plains          1606       97.76%       98.75%       99.13%        99.13%

                         Colorado/Wyo
  11/2/2020 Western      ming                    3152       43.02%       67.54%       86.36%        92.07%
  11/2/2020 Western      Dakotas                 2694       94.88%       95.43%       95.99%        95.99%
  11/2/2020 Western      Hawkeye                 1094       71.57%       73.86%       77.33%        77.33%
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                                                                   Processing   Processing
                                       Measured      Processing    Score Plus   Score Plus   Processing
                                       Volume:       Score:        1:           2:           Score Plus 3:
                                       Outbound      Outbound      Outbound     Outbound     Outbound
                                       Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                       Election      Election      Election     Election     Election
Date        Area      District         Mail          Mail          Mail         Mail         Mail

  11/2/2020 Western   Mid-Americas            1130       91.24%        94.07%       94.96%        94.96%

  11/2/2020 Western   Nevada Sierra            749       80.91%        97.33%       97.60%        98.13%

  11/2/2020 Western   Northland             18449        83.47%        93.73%       98.44%        98.47%
  11/2/2020 Western   Portland               3612        69.24%        69.52%       69.60%        72.48%

  11/2/2020 Western   Salt Lake City          1846       66.41%        67.01%       67.17%        67.17%
  11/2/2020 Western   Seattle                 1334       85.68%        90.10%       91.83%        98.58%
            Capital
  11/3/2020 Metro     Atlanta                  955       16.13%        92.46%       97.49%       100.00%
            Capital
  11/3/2020 Metro     Baltimore               1769         1.81%       50.48%       96.55%       100.00%
            Capital
  11/3/2020 Metro     Capital                 1061         1.89%       99.72%      100.00%       100.00%
            Capital   Greater S
  11/3/2020 Metro     Carolina                 765       13.20%        88.63%       94.51%        99.87%
            Capital
  11/3/2020 Metro     Greensboro              8607       69.98%        92.13%       99.38%        99.44%
            Capital
  11/3/2020 Metro     Mid-Carolinas           4304       90.01%        98.54%       99.65%        99.79%
            Capital   Norther
  11/3/2020 Metro     Virginia                  44       70.45%       100.00%      100.00%       100.00%
            Capital
  11/3/2020 Metro     Richmond                 575       10.09%        15.30%       15.65%       100.00%

  11/3/2020 Eastern   Appalachian              520         3.46%       95.38%       99.81%        99.81%

                      Central
  11/3/2020 Eastern   Pennsylvania             786         2.67%       68.07%       92.75%        99.87%

  11/3/2020 Eastern   Kentuckiana              118       43.22%        92.37%       99.15%        99.15%

  11/3/2020 Eastern   Norther Ohio            1024         3.13%       89.75%       96.48%        99.51%

  11/3/2020 Eastern   Ohio Valley              198       24.75%        93.94%       96.46%        98.99%
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                                                                       Processing   Processing
                                           Measured      Processing    Score Plus   Score Plus   Processing
                                           Volume:       Score:        1:           2:           Score Plus 3:
                                           Outbound      Outbound      Outbound     Outbound     Outbound
                                           Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                           Election      Election      Election     Election     Election
Date         Area         District         Mail          Mail          Mail         Mail         Mail

                          Philadelphia
  11/3/2020 Eastern       Metropo                 1082         2.77%       98.71%       99.63%       100.00%

  11/3/2020 Eastern       South Jersey             565         3.19%       92.21%       99.65%       100.00%

  11/3/2020 Eastern       Tennessee                220       81.36%        95.91%       98.18%        98.64%

                          Western New
  11/3/2020 Eastern       York                     210         6.19%       99.52%       99.52%        99.52%

                          Western
  11/3/2020 Eastern       Pennsylvania              74       39.19%        83.78%       97.30%       100.00%

  11/3/2020 Great Lakes Central Illinois           177       29.38%        97.74%       99.44%        99.44%

  11/3/2020 Great Lakes Chicago                    844       99.17%        99.88%      100.00%       100.00%

  11/3/2020 Great Lakes Detroit                   1364         2.27%       82.04%       87.10%        93.91%

  11/3/2020 Great Lakes Gateway                   1463       80.79%        99.32%       99.86%       100.00%
                        Greater
  11/3/2020 Great Lakes Indiana                 34894        11.31%        91.30%       96.62%        99.93%
                        Greater
  11/3/2020 Great Lakes Michigan                   387         5.94%       96.64%       98.19%        98.97%

  11/3/2020 Great Lakes Lakeland                   159       46.54%        56.60%       58.49%        58.49%

  11/3/2020 Northeast     Albany                   151       13.25%        99.34%       99.34%       100.00%

  11/3/2020 Northeast     Caribbean                 17       23.53%       100.00%      100.00%       100.00%

                          Connecticut
  11/3/2020 Northeast     Valley                    76       68.42%        98.68%       98.68%       100.00%
                          Greater
  11/3/2020 Northeast     Boston                   376       21.01%        99.20%       99.47%        99.47%

  11/3/2020 Northeast     Long Island               36       27.78%        91.67%       97.22%       100.00%
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                                                                      Processing   Processing
                                          Measured      Processing    Score Plus   Score Plus   Processing
                                          Volume:       Score:        1:           2:           Score Plus 3:
                                          Outbound      Outbound      Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election      Election     Election     Election
Date          Area       District         Mail          Mail          Mail         Mail         Mail

  11/3/2020 Northeast    New York                  35      100.00%       100.00%      100.00%       100.00%

                         Northern New
  11/3/2020 Northeast    England                  356       17.13%        99.44%       99.44%        99.72%

                         Northern New
  11/3/2020 Northeast    Jersey                    42       71.43%        95.24%       97.62%       100.00%

  11/3/2020 Northeast    Triboro                   50       74.00%        92.00%       92.00%       100.00%

  11/3/2020 Northeast    Westchester               25       76.00%        92.00%       96.00%        96.00%

  11/3/2020 Pacific      Bay-Valley               273       23.08%        99.27%       99.27%        99.27%
  11/3/2020 Pacific      Honolulu                 172       75.00%       100.00%      100.00%       100.00%

  11/3/2020 Pacific      Los Angeles              375       12.53%        71.20%       71.47%       100.00%

  11/3/2020 Pacific      Sacramento              1489         9.54%       99.73%      100.00%       100.00%

  11/3/2020 Pacific      San Diego               1635       25.75%        99.88%       99.94%       100.00%

  11/3/2020 Pacific      San Francisco           1807       97.57%        98.45%       99.00%        99.45%

  11/3/2020 Pacific      Santa Ana               4637       70.02%        99.98%      100.00%       100.00%

  11/3/2020   Pacific    Sierra Coastal          1221        2.78%        99.84%       99.84%       100.00%
  11/3/2020   Southern   Alabama                 1000        5.80%        98.90%       99.60%       100.00%
  11/3/2020   Southern   Arkansas                  62       77.42%       100.00%      100.00%       100.00%
  11/3/2020   Southern   Dallas                  1296       14.66%        97.69%       97.76%       100.00%

  11/3/2020 Southern     Ft. Worth                550       18.18%        94.18%      100.00%       100.00%

  11/3/2020 Southern     Gulf Atlantic           1834         5.07%       98.69%       99.24%        99.67%
  11/3/2020 Southern     Houston                 1208         7.45%       97.10%       99.42%       100.00%

  11/3/2020 Southern     Louisiana                700         3.29%       51.86%       53.14%       100.00%

  11/3/2020 Southern     Mississippi              163       11.04%        98.77%       99.39%       100.00%
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                                                                     Processing   Processing
                                          Measured      Processing   Score Plus   Score Plus   Processing
                                          Volume:       Score:       1:           2:           Score Plus 3:
                                          Outbound      Outbound     Outbound     Outbound     Outbound
                                          Non-Ballot    Non-Ballot   Non-Ballot   Non-Ballot   Non-Ballot
                                          Election      Election     Election     Election     Election
Date          Area       District         Mail          Mail         Mail         Mail         Mail

  11/3/2020 Southern     Oklahoma                 102       76.47%       95.10%       99.02%        99.02%

  11/3/2020 Southern     Rio Grande               908       22.36%       98.35%       99.67%       100.00%

  11/3/2020   Southern   South Florida         11191         0.36%       97.76%       99.59%        99.98%
  11/3/2020   Southern   Suncoast                423        55.79%       98.35%       99.53%       100.00%
  11/3/2020   Western    Alaska                  128        39.06%       57.81%       67.19%        93.75%
  11/3/2020   Western    Arizona                 897        44.82%       99.33%       99.78%       100.00%

  11/3/2020 Western      Central Plains            56       69.64%      100.00%      100.00%       100.00%

                         Colorado/Wyo
  11/3/2020 Western      ming                    5309       83.56%       97.83%       99.30%        99.66%
  11/3/2020 Western      Dakotas                  598       17.56%       99.50%       99.83%        99.83%
  11/3/2020 Western      Hawkeye                  453        3.75%       99.34%       99.78%        99.78%

  11/3/2020 Western      Mid-Americas             310       17.74%       96.45%       98.71%       100.00%

  11/3/2020 Western      Nevada Sierra            272       75.00%      100.00%      100.00%       100.00%

  11/3/2020 Western      Northland             10123        83.97%       99.08%       99.67%        99.89%
  11/3/2020 Western      Portland               1056        58.14%      100.00%      100.00%       100.00%

  11/3/2020 Western      Salt Lake City          1278       21.52%       71.67%       71.67%        71.83%
  11/3/2020 Western      Seattle                  775       27.48%       99.74%       99.87%       100.00%
